     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 1 of 227



 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           T uesday , July 25, 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 9:5 7 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS THE PROCEEDINGS AS RECORDED AND
15       REQUESTED.

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




                                                                Page     1
       Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 2 of 227



 1                                 I N D E X

 2                           DIR    CROSS
     Thomas   Eveler         9      153
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22
                                                              Page

23 Reporter's Certificate                                     22 7

24 Concordance                                                22 8

25



                                                                     Page   2
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 3 of 227



 1            THE COURT:      Do we have any preliminary          matter s

 2 before     we call the jury in today ?

 3            MR. WARD:    I'm sorry .      Before   we proceed     with

 4 the witness , Your Honor .

 5            THE COURT:      Yes .

 6            MR. WARD:    Yes , we do .     At least    I do .

 7            THE COURT:      You may proceed .

 8            MR. WARD:    It 's the same issue I raise d before

 9 Your Honor .     This witness        has not been qualifi ed as an

10 ex pert and has been permitted           to offer opinion s, and I

11 object .     I have a continui ng objection          to his being

12 offering     opinion s in , unless      he is qualifi ed , and I

13 would ask the court if he is qualifi ed to give the

14 appropriate     instruction        since he is obvious ly a fact

15 opinion     witness .

16            THE COURT:      Okay .

17            MR. SUSSMAN :     Just along that line .       Judge , even

18 if the officer     is qualifi ed , I think that we have to

19 avoid being cumulative .            We had Sergeant    Sakala    on the

20 stand for about three or four month s giving              opinion s

21 and I think that the notion            that we need another       ex pert

22 to give cumulative      opinion s sun necessary         and I would

23 request     that if Detective        Eveler   is to give any opinion

24 that it be something         different    than we've heard

25 already .




                                                                    Page     3
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 4 of 227



 1            MR. MCKNETT :     Your Honor , on the same topic of

 2 Detective     Eveler .     I just want to be clear on the

 3 record    that we had original ly made a joint objection                  to

 4 Sergeant     Sakala 's testimony        in and the nature     of it

 5 concern ing his opinion s and the foundation               and so

 6 forth .     I would just like to be clear that that

 7 objection     also would apply to Detective           Eveler .

 8            THE COURT:      All right .

 9            MR. MCKNETT :     If we could have a continui ng

10 objection     with regard     to him as well I'd appreciate

11 that .

12            THE COURT:      Okay .     Anything   further   from the

13 defense     before   I hear from the government ?           How 's your

14 ankle do ing ?

15            MR. MONTEMARANO :         Fine , thank you .    Your Honor ,

16 I'd like to add ress that when we are done sort ing out

17 the more serious         matter s.

18            THE COURT:      Okay .

19            MS. JOHNSTON:       Your Honor , our position         is the

20 same as it was last week when we met .               There 's nothing

21 different .      This officer        -- we 've gone through      all of

22 his experience       and train ing so if the court would like

23 we can ask the court to accept             him as an ex pert

24 witness .     Two he is testify ing as a summary            agent which

25 is well within       the scope of the law in the fourth




                                                                     Page     4
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 5 of 227



 1 circuit    and we can cite case s for the court if the

 2 court needs them .          He is going to be introducing

 3 summary    chart s.     His testimony   in large part has

 4 nothing    to do with what Sergeant       Sakala    testifi ed to .

 5 Sergeant     Sakala    testifi ed concern ing call s.     There is

 6 one chart that he made may reference in             his personal

 7 opinion    concern ing -- his ex pert concern ing Mr. Mangual

 8 get ting personal       deliveri es there is nothing      new and

 9 different      from when the court made its ruling         last week

10 counsel    has not raise d any new argument s it 's if same

11 ole old organize        argument   mean file like we're stand ing

12 here beat ago dead horse until court change s its mind .

13 The court has ruled .

14            THE COURT:       Do you want me to have him qualifi ed

15 as an ex pert .

16            MS. JOHNSTON:       If that would make defense

17 counsel    feel better .

18            MR. WARD:     It 's not a question     of maki ng defense

19 counsel    feel better       Your Honor it 's a matter    of

20 adheri ng to the dull t rule s of evidence .            If he is

21 going to testify        as an ex pert he has to be qualifi ed if

22 he 's not qualifi ed he does n't testify          as an ex pert .

23 That 's it .     Simple .     If the government    does n't want to

24 offer him as an ex pert I object         to his testify ing about

25 opinion s.




                                                                  Page   5
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 6 of 227



 1            THE COURT:     If such time as ever the government

 2 asks him opinion        testimony    he will either     be qualifi ed

 3 or he won't be able to --

 4            MR. WARD:     I belie ve they already        have .

 5            MR. MARTIN:     They have .     Your Honor , I've made

 6 objections     under 701 repeat edly .

 7            MR. WARD:     The same "old argument " is the same

 8 argument     we made before    and I think it was a perfect ly

 9 valid and appropriate        argument     then and I think it 's no

10 less now .

11            THE COURT:     Mr. Montemarano .

12            MR. MONTEMARANO :        Thank you , Y our Honor .

13 Initial ly I'd like to thank the court for the

14 accommodation s it permitted           me last week .     I can advise

15 the court that my ankle is fine not in an objective

16 sent sense but subject ive ly for the purpose              of our

17 trial .    I'm in a I guess they call an air cast , walk ing

18 boot y bear weight       so I will be able to cart myself           I

19 won't be complain ing about being on crutch es so I'm a

20 perfect ly adequate       lawyer    this way although      I'd much

21 rather    be shod on both feet .

22            THE COURT:     I will also thank all counsel          for

23 their cooperation        in my difficulti es .     I had long ,

24 awful surgery     and I'm taking        pain pill s and put ting ice

25 on my shoulder     and everything        else , but -- so if I look




                                                                    Page   6
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 7 of 227



 1 like I'm in pain it 's not because             of your argument s.

 2           Ms. Johnston , -- in order          to address     the defense

 3 objection , why don't you just ask him a few more

 4 question s about his background             and experience    and ask

 5 if he can give opinion s in the field that you --

 6           MS. JOHNSTON:     Your Honor I think I've gone

 7 through    all of those question s I don't want to be

 8 repetitive .

 9           THE COURT:    I think you've         gone through     it .

10 He 's clear ly a witness     who has extensive        experience       in

11 the drug business      and police     matter s pertain ing there

12 to and can bring to light his experience              in giving

13 opinion s on certain      subject s in that area , but .

14           MR. WARD:    I mean so is any ex pert Your Honor .

15 Any ex pert is clear ly , you know , an ex pert in his

16 field , but he still has to be qualifi ed and the court

17 still has to give appropriate          instruction s with respect

18 to his testimony .      I mean , I'm not object ing to his

19 testify ing as a summary        ex pert .     I recognize    that the

20 fourth    circuit   has said that that 's appropriate .            It 's

21 the approximately      matter    of expertise .

22           THE COURT:    Well , we'll get that clear ed up .

23            Bea, have we got all the juror s here ?

24           THE CLERK:    Yes .

25           THE COURT:    Ready for the jury ?




                                                                    Page       7
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 8 of 227



 1            MS. JOHNSTON:     Yes , Your Honor .

 2            THE COURT:     Bring them in .

 3                          (Jury return s at 10 :04 a.m. )

 4            MR. MONTEMARANO :       For the record    Your Honor , the

 5 defense     filed a response       to the government 's motion        in

 6 limine     regarding    the intercept ed call s on Sunday .

 7            THE COURT:     I'm start ing to look at that and

 8 I'll try to deal with that today at some point .

 9            MS. JOHNSTON:     Your Honor , I for whatever        reason

10 did not receive        the E-mail    over the weekend .     I check ed

11 my E-mail     as late as 10 :30 last night and still hadn't

12 had it .

13            THE COURT:     Do you have it now .

14            MS. JOHNSTON:     I got it from Mr. Montemarano

15 this morn ing .       I understand    Ms. Green berg did get her

16 version     of it but I don't know        if there was some

17 mess -up in    the way it went through .

18            MR. MONTEMARANO :       My typ o, Your Honor .

19            THE COURT:     I have     special   spi es who told me

20 where you were this weekend .

21            MS. JOHNSTON:     I understand       you probably   do .

22            (Witness    resume s the stand at 10 :05 a.m. )

23            (Jury return s at 10 :05 a.m. )

24            THE COURT:     Good morn ing , ladies and gentlemen         .

25 I hope you all had        a nice weekend .      I did not , but I'm




                                                                  Page        8
        Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 9 of 227



 1 back , I'm here , I'm in a bit of pain , pop ping pill s

 2 here and there , and I look like I'm expect ing a baby

 3 because     I've got a great big sling underneath            here with

 4 a balloon      on it or something      so I only have one arm in

 5 this robe and I have         an ice pack on my shoulder , so if

 6 you bear with me , I'll get you through             the end of this

 7 trial .

 8            Ms. Johnston , you may proceed .

 9            MS. JOHNSTON:       Thank you , Your Honor .

10                      FURTHER DIRECT EXAMINATION

11            BY MS . JOHNSTON:

12 Q.         Detective    Eveler , in term s of your testimony

13 here , would it be fair        to say we could divide        it into

14 several     different    categori es ; is that correct ?

15 A.         Yes .

16 Q.         In preparation      for your testimony      here , have you

17 analyze d voluminous        records   that you intend     to present

18 to this jury via some summary           chart s; is that correct ?

19 A.         That 's correct .

20 Q.         In addition     to that , have you summarize d on

21 chart s some of the evidence          as it relate s to different

22 event s; is that correct ?

23 A.         That 's correct .

24 Q.         In addition     to that , have you form ed an opinion

25 based upon your train ing and experience             concern ing drug




                                                                   Page     9
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 10 of 227



 1 activities     that occurred         during    the investigation

 2 relative     to these defendant s that are on trial ?

 3 A.         Yes , I have .

 4 Q.         In term s of those opinion s that you're             going to

 5 give , are those based on your train ing and experience ?

 6 A.         Yes, ma'am .

 7 Q.         Although    we did this last week for the benefit

 8 of defense     counsel , would you brief ly summarize              your

 9 train ing and experience ?

10            MR. MCKNETT:       Objection .

11            MR. WARD:      Objection , Your Honor .

12            I think it 's for the benefit            of the   jury , also .

13            THE COURT:       Pardon    me ?

14            MR. WARD:      I think this question is of benefit

15 for the jury , also .

16            THE COURT:       Sustained        to the form of the

17 question .

18            MR. MONTEMARANO :         The Court did order it .

19            BY MS. JOHNSTON:

20 Q.         If you could please         repeat     for the ladies and

21 gentlemen of the jury        , as well as everyone           else in the

22 courtroom , what your train ing and experience                 has been

23 in the narcotic s area .

24 A.         Yes, ma'am .

25            I received     basic narcotic s train ing as part of




                                                                      Page 10
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 11 of 227



 1 the Prince     George's    County    Police Academy .     Upon

 2 completion     of the academy       and my role as a patrol

 3 officer    at Hyattsville , I made numerous           narcotics

 4 arrests    in patrols from      Hyattsville's       District 1

 5 station.

 6            I was then transferred        to the Street Narcotic s

 7 Section    in 19 91 , where I conduct ed controlled         buy s,

 8 direct    buy s, numerous    search    warrant s, assisted       other s

 9 in numerous     search    warrant s; also participate d in

10 wiretap s.

11            After that , I was transfer red to         the Major

12 Narcotic s Section       in 19 92 , where I continued      conduct ing

13 controlled     buy s, direct    buy s, search   warrant s, assisted

14 other agenc ie s in wiretap s.         We conduct ed our own

15 wiretap s as the Prince        George's    County    Police Major

16 Narcotics     Section , conduct ed joint investigation s with

17 the DEA and the FBI, as well as Custom s at the time .

18            I received    train ing from the Drug Enforcement

19 Administration     in identification        and trends    involving

20 narcotic s.     I received     train ing from the Maryland         State

21 Police and Finance        in financial     investigation , received

22 train ing from the Maryland S tate Police in conspiracy

23 investigation , received        training    from the Drug

24 Enforcement     Administration       in conspiracy

25 investigation s, was -- received           train ing in cocaine




                                                                    Page 11
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 12 of 227



 1 synthesis     by the Prince       George's   County   Police Drug

 2 Laboratory , received       training    from the Drug Enforcement

 3 Administration        in clandestine    lab investigation s and

 4 synthesis     of methamphetamine       and phencyclidine ,

 5 conduct ed numerous       inter view s of drug trafficker s and

 6 cooperator s, who would then provide            me in sight s into

 7 trends   and the method s that drug trafficker s use and

 8 received     train ing on going .

 9            I've been to many seminars         and school s --

10 Q.         Is it safe to say that since 19 91 you have spent

11 your law enforcement        time extensively investigating

12 narcotic s trafficker s as well as their money laundering

13 activities ?

14 A.         Almost    exclusive ly except     that as to where it

15 would -- the drug trafficking           would impact     some other

16 crime as homicides , frauds , other thing s like that .

17 Q.         Would those be related       to your drug

18 investigation s?

19 A.         Yes .

20 Q.         In addition    to that , is it important       to you when

21 you're   conduct ing under cover purchase s or you're

22 cooperating        the use of informant s to purchase       drug s,

23 that you become        familiar    with the language     and the

24 term s that    are use d during      the course   of those drug

25 transactions ?




                                                                   Page 12
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 13 of 227



 1 A.         Yes .

 2 Q.         As well as becomi ng -- why is that important ?

 3 A.         When we're conduct ing an investigation , I need

 4 -- if I'm maki ng a direct        buy , I need to understand        the

 5 language     and the method s, or else I cannot         make a

 6 direct    buy myself     or I cannot    -- sometimes    you're    with

 7 a -- with an informant         at the time , and you need to

 8 understand     what is going on , you need to be able to

 9 participate        if asked or spoken    to by the target .       You

10 need to know what's        going on and not blow the case , so.

11 Q.         Similar ly , in regards     to the price s of -- the

12 current     price s of drug s, you need to be familiar           with

13 that as well ?

14 A.         Yes .

15 Q.         Now , have you had occasion       to be qualifi ed as an

16 ex pert in the area of drug trafficking in             any court s?

17 A.         Yes, ma'am .

18 Q.         And what court s are those ?

19 A.         Numerous    time s in the Circuit    Court for Prince

20 George's     County , Maryland,     and also in the US District

21 Court for Greenbelt .

22 Q.         In deed , before    this member   of the    bench ; is that

23 correct ?

24 A.         That 's correct .

25            MS. JOHNSTON:       Your Honor , we would proffer       this




                                                                 Page 13
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 14 of 227



 1 witness   as an ex pert in the area of drug trafficking ,

 2 including   the methods      and mean s use d by drug

 3 trafficker s, as well as the          language s and price s use d

 4 dur ing the course      of their engagi ng in drug trafficking

 5 or -- drug transactions , however          --

 6           MR. MONTEMARANO :        Your Honor , objection .

 7           THE COURT:      Do you wish to inquire ?

 8           MR. MONTEMARANO :        May we be heard at the bench ?

 9           MR. MCKNETT :     Your Honor , may I ask -- are we

10 comi ng to the bench ?

11           THE COURT:      Yeah .

12                    (At the bar of the Court.)

13           MS. JOHNSTON:      Your Honor , could we get on with

14 the objection    here so we don't hold up the jury ?

15           THE COURT:      What's    the objection ?

16           MR. WARD:     I was just inquiring        as to the

17 judge 's health .

18           MR. MONTEMARANO :        I was double    checking    with

19 counsel , because      if I'm maki ng an object ion on behalf

20 of other counsel , I want to make sure we're on the same

21 page .

22           We would be object ing as to the lack of notice

23 of this person      as an ex pert .     We would object       to the

24 lack of a summary       of his expertise        and opinion s and the

25 base s therefore      provided     in advance    of his testimony .




                                                                   Page 14
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 15 of 227



 1 The government     apparent ly resolve d to call this

 2 individual     as an ex pert only after the defense          object ed

 3 last -- guess we're talk ing Wednesday            of last week ,

 4 which would be the 19th .

 5            THE COURT:    We were out of session        on Thursday .

 6            MR. MONTEMARANO :      No .    Wednesday , the 19th .

 7 Thursday , I was get ting fit ted for my danci ng shoe .               It

 8 is the day before       surgery , and you were --

 9            THE COURT:    That 's right .      We had medical       week .

10            MR. MONTEMARANO :      And you were downtown      with

11 Congress .

12            THE COURT:    Yes .

13            MR. MONTEMARANO :      I hope an enjoy able lunch .

14            THE COURT:    Oh , yes .

15            MR. MONTEMARANO :      It is what it is .     For that

16 reason , we would object         to his being qualifi ed as an

17 ex pert at this time .       If the Court is not persuaded            by

18 counsel 's argument , I then have a second            argument

19 concern ing the breadth       and scope of his testimony , but

20 I'm not going to bore you with that until that become s

21 an issue , because      as a threshold       issue , you would have

22 to rule him able to testify           as an ex pert before     I

23 complain     about how he should         or should n't testify .

24 That 's the initial     --

25            MS. JOHNSTON:     Your Honor , notice      was given to




                                                                  Page 15
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 16 of 227



 1 them well in advance          of the   trial .     They received

 2 copies    of the   notice .     That was file d in the very first

 3 trial last fall designati ng him as an ex pert witness .

 4 Copies    of that correspondence         was sent to them , I

 5 believe     in May of this year , advisi ng them that he

 6 would be call ed as an ex pert and explain ing to them

 7 that his opinion s were set forth in the affidavit s in

 8 term s of the wiretap s in the ten -day report s that were

 9 provided     to them where they summarize d call s and

10 interpret ed call s, and that material              has been provided

11 to them well in advance          of the start of this trial .

12            In term s of the opinion s that he 's going to

13 give .    That 's why I laid -- sort of laid it out .               He is

14 going to be testify ing in term s of evidence              in place of

15 voluminous     records .      He 's going to be introducing

16 summary     chart s; those are not a question           of real ex pert

17 opinion .     He 's going to be offering           some ex pert opinion

18 concern ing when drug transactions               took place , but by

19 and large , he is going to be testify ing to summary

20 chart s of item s already        in evidence , summary      charts     of

21 voluminous     records     having   to do with , really , pin

22 register     data , and then some minimal           opinion s that he 's

23 going to be offering .                     Counsel     has gotten

24 notice    of his opinion s, we could n't set it forth any

25 more clear than what's          set out in the ten -day report s




                                                                   Page 16
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 17 of 227



 1 and the affidavits     .

 2          THE COURT:        The objection     is over ruled .   I think

 3 he 's capable    of giving     opinion s.     I think there 's been

 4 notice   given , and a substantial          part of his testimony

 5 won't be ex pert testimony , in any event , on the summary

 6 matter s.

 7          Do you want to give me a second           opinion ?

 8          MR. MONTEMARANO :       I would point out to the Court

 9 that in the view of the defense , notice            to other

10 counsel in     a separate     trial was provided     to us as a

11 courtesy .     I do not see how it operate s as notice               to us

12 with regard     to their intention       to call this person          in

13 this trial .     Thing s change .    If we were to hold them to

14 something    from last November      and the government        then

15 respond ed , well , Mr. Montemarano , it 's been seven

16 month s since then --

17          THE COURT:        Mr. Montemarano , they've       given you

18 notice , both prior to the earlier            trial , as well as

19 prior to this trial , and he 's been on the witness                  list .

20 You know what he 's going to testify            about .

21          MR. MONTEMARANO :       Not as an ex pert .       Ex pert

22 versus   fact is a complete ly separate          issue .   I'll leave

23 that alone .     Your Honor has ruled .

24          THE COURT:        All right .

25          MR. MONTEMARANO :       As to the question        of the




                                                                  Page 17
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 18 of 227



 1 breadth    of his testimony .       Once again , absent     a preview

 2 of what he will testify       about and the conclusion s he

 3 will draw , and going back to the -- I would simply

 4 adopt all of the objections          the defense   has made at any

 5 point during     this trial concern ing Sergeant        Sakala ,

 6 concern ing over ly broad testimony         based upon the fact s

 7 of this matter     versus   the fact s in advance      of the

 8 matter , because    once again I think what we run into is

 9 a very , very dangerous      slippery    slope about which I may

10 have some expertise       regard ing roll ing fact and opinion

11 witness es together , about over -- what's          the right

12 word ?    Over emphasizi ng the fact portion       of a witness '

13 testimony     because   he is also able to provide         opinion

14 testimony .

15           We hash ed this without      Sergeant    Sakala , and now

16 we are obligate d to raise the very same objections                here

17 --

18           THE COURT:     Let me cut you off slight ly .

19           MR. MONTEMARANO :       I'm done .

20           THE COURT:     I will    over rule your objection      for

21 the same reason s I gave with respect           to Sergeant

22 Sakala , and I will give all counsel           a continui ng

23 objection     on all those grounds      to all the testimony         of

24 this officer .

25           MR. MONTEMARANO :       That 's fine , Judge .    Thank you




                                                                  Page 18
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 19 of 227



 1 very much .

 2           MR. WARD:      Your Honor , with respect       to notice .

 3 I was n't around      when the first case went to trial .              I

 4 got into the case late .          I honest ly am not able to

 5 recall --

 6           THE COURT:      Do you want to get closer           to the

 7 mike?

 8           MR. WARD:      -- whether   or not I actual ly received

 9 any written     notice    that he -- of his intent       to be

10 call ed as an ex pert .      Perhaps , to make the record

11 complete , it would be advisable         for the government         to

12 put that document        in the record   so that it 's clear ,

13 because   I frankly      have no recollection       of it .

14           THE COURT:      Well , the problem    is , your client

15 has had several       counsel .    I mean , the government       did

16 give notice     to her counsel      at the time .

17           MR. WARD:      Your Honor , I'm not blami ng that on

18 the government .       I'm say ing , I got in late and I --

19           THE COURT:      Understood .

20           MR. WARD:      I just don't recollect       see ing that .

21           MR. MCKNETT :     I rose to object     on a somewhat

22 different     ground , and I'd like to put it on the record .

23           Your Honor , it 's my understand ing there 's a

24 difference     between    a case agent who 's testify ing as a

25 summary   witness     and a case agent who 's testify ing as an




                                                                   Page 19
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 20 of 227



 1 ex pert witness .       Ms. Johnston , to para phrase , said he

 2 will testify     as an ex pert on the inter action s -- I may

 3 not get the exact language            that Ms. Johnston   use d, but

 4 the inter action s between       the defendant s in this case .

 5            My concern    there is that in a previous       trial

 6 before    Your Honor , the John Martin        trial , this witness

 7 testifi ed under oath that at least           in so far as his

 8 opinion     concern ing the content       of the wiretap ped

 9 conversation s was based on , among other thing s,

10 informant     information     and on inter view s that he 's done .

11 That bring s us back to my original           challenge   as

12 hearsay .     What he 's do ing now is elevati ng information

13 received     during   the inter view of in form ants and other

14 people    involve d in this case .

15            THE COURT:      That 's why I've not heard any

16 question s that would call upon him to use that kind of

17 information .     If we get to that kind of a question ,

18 raise the objection .

19            MR. MCKNETT :     Okay .    I will do that , Your Honor ,

20 but I want ed to put the Court on notice           that I will be ,

21 if appropriate , raisi ng that objection .

22            THE COURT:      All right .    Thank you .

23                   (Back in open court .)

24            MS. JOHNSTON:      Your Honor , we had proffered        the

25 witness     as an ex pert -- we had proffered       the witness     as




                                                                  Page 20
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 21 of 227



 1 an ex pert in the area of drug trafficking             and codes and

 2 language    use d by individuals .

 3            THE COURT:       There was an objection .        Does

 4 anybody    wish to inquire          on his qualification s in those

 5 areas?

 6            MR. WARD:       I have    no question s, Your Honor .       I

 7 would simply     ask for a cautionary         instruction    that the

 8 Court usually         give s.

 9            THE COURT:       Al l right .   He will be accept ed as

10 an ex pert in those fields .

11            MS. JOHNSTON:        Thank you , Y our Honor .

12            BY MS. JOHNSTON;

13 Q.         Detective     Eveler , before    I ask you any question s

14 of your opinion , let 's go into some of the other area s

15 that you've     been call ed to testify .        First of all , we

16 end ed last Wednesday , I believe           it was , look ing at this

17 map .    Are you familiar        with this map , Government 's

18 Exhibit    CH -11 ?

19 A.         Yes, ma'am , I am .

20 Q.         I believe     you wrote on it here in reference            to

21 where Mr. Encarnacion           was when you did your

22 surveillance     back in June of 2001 ; is that correct ?

23 A.         That 's correct .

24 Q.         In addition      to that , are you familiar       with the

25 testimony     that took place here concern ing the Takoma




                                                                      Page 21
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 22 of 227



1 Park police       stop of John Martin , Jr . and the seizure           of

2 approximately       25 empty kilogram       wrapper s?

3 A.        Yes , I am .

4 Q.        Can you tell us whether          or not the location       of

5 that stop is depict ed on this map ?

6 A.        Yes .    The at the bottom       of the map , there 's a

7 red dot .      I believe    it may be -- it 's hard for me to

8 see it , may be a push pin right there next to the red

9 square   on the bottom       of the map .     That was the Takoma

10 Park stop .

11 Q.       Are you familiar      with the roads in that area ?

12 A.       Yes .

13 Q.       Does that accurate ly depict the            location    as was

14 testifi ed to by the       detective s?

15 A.       Yes , it does .

16 Q.       What is the approximate          distance    from Ms.

17 Martin 's residence       on Bexhill   Court to the location         of

18 that stop ?

19 A.       Approximately      two and a half miles .

20 Q.       You were present      when Michael     Thurman    testifi ed ;

21 is that correct ?

22 A.       That 's correct .

23 Q.       When did you have your first contact             with Mr.

24 Thurman , approximately ?

25 A.       April of '05.




                                                                    Page 22
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 23 of 227



1 Q.         So we're talking       about April of 2005 ?

2 A.         Yes, ma'am .

3 Q.         After the individuals       in this case were

4 arrested ?

5 A.         Yes .

6 Q.         Who were you look ing for back around          the spring

7 of 2005 ?

8 A.         I was try ing to locate      Tiffany     Vessel s.

9 Q.         Where did you go in an effort           to locate    her ?

10 A.        1323 Anacostia    Road , Southeast , Apartment         4.

11 Q.        Do you know who was the owner or principal              of

12 that location , that build ing ?

13 A.        Yes , Mr. Goodwin .

14 Q.        Who was that ?

15 A.        Mr. Goodwin .

16 Q.        Prior to actual ly meet ing with Mr. Thurman            in

17 the spring    of 2005 , had you identifi ed him during            your

18 investigation ?

19 A.        Mr. Thurman ?

20 Q.        Yeah , Mr. Thurman .      I'm sorry .

21 A.        Yes .

22 Q.        If you could explain       to the ladies and gentlemen

23 of the jury       how it was that you had identifi ed Mr.

24 Thurman    before    you met with him in the spring           of 2005 .

25 A.        Southwest    Airline    records   that I had obtain ed




                                                                   Page 23
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 24 of 227



1 via subpoena         show ed that Mr. Goodwin     and Mr. Thurman

2 traveled      to Texas via S outhwest       Airline s together .

3 Q.          Are those the Southwest         Airline s records     that

4 were introduced          to the custodian     many week s ago ?

5 A.          Yes .

6 Q.          If you could , explain       to the jury what led you

7 to get the South west A irline s records .

8 A.          Mr. Goodwin 's -- I believe        they're   Chevy Chase

9 bank account         records .

10 Q.         I want to show you what's         been introduced

11 already     as R-1 and ask you if you recognize          that

12 exhibit .

13 A.         Yes , I do .

14 Q.         Do you recall        how you obtain ed these records ?

15 Was it by subpoena         or something    that was re covered

16 during    a search      warrant ?

17 A.         No .     This would have been via subpoena .

18 Q.         Do you recall        when you obtain ed these records ,

19 whether     it was before        or after Mr. Goodwin   had been

20 arrested     in June of 2004 ?

21 A.         Oh , no .     This was before .

22 Q.         Okay .      As when you -- could you explain        to the

23 ladies and gentlemen            why it is that you would subpoena

24 one of your target 's bank records ?

25 A.         We subpoena ed bank records        in an attempt      to




                                                                    Page 24
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 25 of 227



1 understand        what is going on with that defendant , if

2 they are -- what kind of bank activity               they have .   In

3 this case , the purchase           of Southwest    Airline   ticket s

4 would indicate        travel , and in other case s -- and in

5 this case , travel       to certain     location s such as the

6 southwest      border   of the United     States    and California

7 could be indicative        of drug trafficking .

8 Q.         So that 's something       based on your train ing and

9 experience        you look for ?

10 A.        Yes .

11 Q.        As a result     of get ting these bank records , you

12 obtain ed the Southwest       Airline    records ; is that

13 correct ?

14 A.        That 's correct .

15 Q.        Which reflect ed travel       for both Mr. Goodwin        and

16 Mr. Thurman ?

17 A.        Yes .

18 Q.        Prior to the spring        of 2005 , had you had any

19 contact     with Mr. Thurman ?

20 A.        No .

21 Q.        Had you obtain ed a warrant       for him or anything

22 of that nature ?

23 A.        No , I didn't    really    know who he was .

24 Q.        You mention ed that you got Chevy Chase bank

25 records .     Let me also show you what's          been mark ed as




                                                                  Page 25
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 26 of 227



1 R-7 .     Do you recognize     these records ?

2 A.          Yes .

3 Q.          What are these ?

4 A.          These are Net Spend account         records   that I

5 obtain ed .

6 Q.          Those are the records      you've    subpoena ed during

7 the investigation ?

8 A.          Yes, ma'am .

9 Q.          These have to do with what individual ?

10 A.         Alton McKenzie .

11 Q.         When did you receive      these records ?

12 A.         April 21st 2005 .

13 Q.         Was that as a result      of your re view ing various

14 document s that had been seize d during          the different

15 search    warrant s --

16 A.         Yes .

17 Q.         -- in term s of Mr. Thurman .        You were look ing

18 for Ms. Vessel s; is that correct ?

19 A.         Yes .

20 Q.         Where did you meet with Mr. Thurman ?

21 A.         I met with him at his mother 's address          in Prince

22 George's     County , Maryland .

23 Q.         Prior to going to meet with him , had you done --

24 taken any action      in term s of investigati ng him and his

25 present    status   at that time ?




                                                                Page 26
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 27 of 227



 1 A.        Yes , I did .

 2 Q.        What did you learn about Mr. Thurman          before    you

 3 went to meet with him ?

 4 A.        That at the time that I was planning          to meet

 5 him , he had two open warrant s.          One from Louisiana ; one

 6 from Texas .

 7 Q.        Do you have a -- do you or Custom s, who you were

 8 working    with at that time , have any polic ie s that

 9 govern    what you have to do if you meet with somebody

10 who 's got outstanding       warrant s?

11 A.        If it 's extraditable , he is to be arrested .

12 Q.        When you went to meet with Mr. Thurman , did you

13 have a warrant      to arrest   him as a result      of this

14 conspiracy ?

15 A.        No , I did not .

16 Q.        Why not ?

17 A.        At the time , I don't think        I had -- we were

18 still learn ing about Mr. Thurman          at the time .    I had

19 not complete d the investigation          enough   to arrest   him at

20 that moment .

21 Q.        When you met with Mr. Thurman , was it at his

22 mother 's house ?

23 A.        Yes .

24 Q.        Was another     agent with you ?

25 A.        Yes .




                                                                  Page 27
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 28 of 227



 1 Q.         Prior to speak ing to Mr. Thurman , what advice

 2 did you give him ?

 3 A.         I advise d him of his constitutional        right s, his

 4 -- you know what's        call ed his Miranda   right s.

 5 Q.         Did he waive those right s?

 6 A.         Yes , he did .

 7 Q.         At that time , did you conduct       a preliminary

 8 inter view of Mr. Thurman ?

 9 A.         Yes .

10 Q.         Based upon the information       he provided    at that

11 time , what did you do with Mr. Thurman ?

12 A.         He was place d under arrest      and charge d in this

13 court .

14 Q.         Once you place d him under arrest       and charge d him

15 in this court , did you take any investigative             step s in

16 relation     to the information      that he provided ?

17 A.         Yes .

18 Q.         De scribe   the investigative    step s you took

19 general ly .

20 A.         I obtain ed police    report s from his arrests       from

21 Louisiana      and Texas ; I then went back through        the

22 evidence     that we had seize d during      the search    warrant s

23 and in an attempt        to corroborate    anything   -- any

24 information        I had received   and also obtain ed other

25 records    such as the Houston       Police Department     report




                                                                  Page 28
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 29 of 227



 1 for his traffic        accident    and his carjacking        in Texas ,

 2 and just subpoena ed and obtain ed -- police                department

 3 records     do not need to be subpoena ed , but use d a

 4 subpoena     for those records           that I could not get that

 5 were not public        record    and just obtain ed as many

 6 records     as I could regard ing his trip s to Texas .

 7 Q.         Why is it important           for you as an investigator ,

 8 once you've        gotten   a statement      or a confession     from

 9 someone     like Mr. Thurman , to go back in and obtain

10 document s and records ?

11            MR. WARD:        Objection , Your Honor , to the lead ing

12 nature    of the question .

13            THE COURT:        Re phrase    the question .

14            BY MS. JOHNSTON:

15 Q.         What was your purpose           in obtain ing those

16 records ?

17 A.         In particular , I didn't          know the full scope of

18 Mr. Thurman 's involve ment , so this would show me what

19 the involve ment was and what his relationship                 was with

20 Mr. Goodwin        and other s in the investigation .

21 Q.         As a result       of that , is that how you obtain ed

22 these other records ?

23 A.         Yes .

24 Q.         In addition       to that -- strike     that .

25            Have you prepared        a chart for this jury




                                                                     Page 29
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 30 of 227



 1 summarizing       the records   that you've     obtain ed during     the

 2 course    of this investigation        that you re view ed from

 3 search    warrant s that relate       to the testimony    of Mr.

 4 Thurman ?

 5 A.        Yes .

 6           MS. JOHNSTON:      If I could , Your Honor , have the

 7 witness     step down to the chart --

 8           THE COURT:      You may .

 9           MS. JOHNSTON:      -- to the easel ?       Thank you .

10           MR. HALL:     Your Honor , may we move so we can see

11 the chart ?

12           THE COURT:      Certain ly .    Yeah .

13           BY MS. JOHNSTON:

14 Q.        Let me show you what's         been mark ed as CH -5 .     How

15 many boards       does CH -5 consist     of ?

16 A.        Three .

17 Q.        If we could start with the very first one and if

18 we move the easel over in front of the              jury so that

19 they can see it .       I'm going to give you this laser

20 point er and ask if you if you could de scribe            what is

21 depict ed on the chart beginning           with the caption    and

22 what you've       summarize d here for the jury .

23 A.        The first section , December , 2001 , relate s to

24 the trip that Mr. Thurman         testifi ed about that he and

25 Mr. Goodwin       took to Texas in December        of 2001 .




                                                                  Page 30
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 31 of 227



 1 Q.        Let me interrupt      you for a second .

 2           Agent Snyder , may I have R-9 please , the records

 3 from Southwest     Airlines ?

 4           You may continue      while he 's look ing for that .

 5 A.        The first column      just note s the date of the

 6 event , second    is a summary     of the event , and the third

 7 is the source     where I obtain ed that information .           In

 8 this case , R-9 are the records .

 9 Q.        Court 's indulgence     one moment .

10           Show ing you what's     been mark ed as Government 's

11 Exhibit   R-9 .   Is that the exhibit      in question ?

12 A.        Yes, ma'am .

13 Q.        How does that relate      to the information      on the

14 chart ?

15 A.        This is the source      for this information .

16 Q.        And then what do you have after that ?

17 A.        This R-1 is the record      that you just show ed me a

18 few minute s ago , the check card transaction           on Mr.

19 Goodwin 's account     where he purchase d the ticket s.

20 Q.        Continue .

21 A.        R-9 is , again , the Southwest      Airline   records ,

22 which indicate     the travel    and the bill ing for that trip

23 which was covered      by the custodian     of records     for

24 Southwest    Airlines , as well as Miscellaneous 5 , which

25 is the chart that the representative           from Southwest




                                                                Page 31
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 32 of 227



 1 Airlines     did on the easel right there .

 2 Q.         Okay .    This chart here , show ing you date s and

 3 the time s of the trip s?

 4 A.         Yes, ma'am .

 5 Q.         Continue    with what else   is on the     chart .

 6 A.         Next , it show s the -- this is the departure           from

 7 BWI to Houston .        The next is Mr. Goodwin 's return         trip

 8 from Houston        to BWI -- I believe   BNA is Nashville        --

 9 via Nashville , which is also indicated             on R-9 .

10 Then on December        31st , we have the check card

11 transaction , which was covered         in R-1 which you saw

12 previous ly .       January   2 was the grand opening     of a

13 restaurant        which Mr. Goodwin   was associate d with , The

14 New DC's Finest , which Mr. Thurman         spoke about .        That 's

15 why he need ed to return         early from his trip .

16 Q.         This would be Goodwin 9 , then , the document           that

17 was re covered ?

18 A.         Yes .    A nd this is -- this indicate s -- this

19 document     indicate s that they opened      the restaurant       on

20 January     2nd , 2002 .

21 Q.         Now , these document s that you're        referring    to ,

22 did any of these document s come from Mr. Thurman ?

23 A.         No .

24            Then on January      5th , Mr. Thurman    return ed from

25 Houston     to BWI, which is also based on the Southwest




                                                                   Page 32
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 33 of 227



 1 Airline s records .

 2 Q.        What is the next category         that you've   listed     on

 3 the chart ?

 4 A.        The next is a bill ing charge          to Mr. Goodwin 's

 5 Chevy Chase account        for a Fed Ex ship ment in February

 6 of 2000 .

 7 Q.        Again , is that reference d in Government 's

 8 Exhibit     R-1 ?

 9 A.        Yes, ma'am , it is .

10 Q.        Continue .

11 A.        Then in January       through   March is a list of

12 event s surround ing Mr. Thurman          and Mr. Green 's trip to

13 Texas in 2002 .        The first , in the end of January        2002 ,

14 is a telephone        record   which is Government 's E xhibit

15 Goodwin     31 .    That show s that    telephone   contact   with

16 this phone number , which was reference d in Goodwin 8 , I

17 believe , and this telephone           number   in which we have --

18 and this telephone        numb er , which has -- which we have

19 another     document    show ing this telephone      number   link ed

20 to Steve Campbell .

21 Q.        Court 's indulgence      one moment .

22           You 've mention ed Hayward       8 there ?

23 A.        I believe     it was Hayward     8, not Goodwin 8 .

24 Q.        Do you have note s that would re fresh your

25 recollection ?




                                                                  Page 33
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 34 of 227



 1 A.         Yes, ma'am .

 2 Q.         If you could obtain        those please .

 3 A.         Hayward 8    is the telephone     number    with the

 4 notation    Goody and this , the 28 1 telephone         number    was

 5 reference d in Goodwin       11 .

 6 Q.         Show ing you what's       been mark ed as Goodwin      11 , if

 7 you could show the ladies and gentlemen of the jury

 8 where that number       is reference d in Goodwin       11 .

 9 A.         It is on the back of a business         card .      It says

10 Steve with telephone        number    (28 1) 630 -6498 and the

11 notation    Texas next to that number .

12 Q.         Again , that item was not re covered         from Mr.

13 Thurman ; was it ?

14 A.         No , it was not .

15 Q.         Continue    with the next entry .

16 A.         The next entry is March 12 , 2002 .          The car that

17 Mr. Thurman     took to Texas was rent ed by Julio Martinez ,

18 which is    reference d in R-4 .

19 Q.         Show ing you R-4 .       Are those the Budget

20 Rent -A- Car records      that were introduced ?

21 A.         Yes, ma'am .

22 Q.         If you could go to the next entry .

23 A.         Based on -- on March 17 , 2002 , at 01:39 hour s,

24 Thurman    was robbed     in Houston , Texas , and that 's based

25 on R-11 , which is the Houston           Police Department      report .




                                                                   Page 34
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 35 of 227



 1 Q.        The next entry .

 2 A.        On March 18 , 2002 , at 16 :58 hour s, Richard

 3 Willis , also known as Ricardo , wire d money via Western

 4 Union to Rodney       Green , and that 's Exhibit       R-3 , as well

 5 as Goodwin    15 .

 6 Q.        Show ing you R-3 .      Those records       came from where ?

 7 A.        These came from Western           Union .

 8 Q.        And th en Goodwin      15 .    What are those ?

 9 A.        These are the actual          hard copy receipt s that the

10 person    wiri ng money would receive .

11 Q.        Do you recall     where those were re covered         from ?

12 A.        I believe    this was 36 Farragut .

13 Q.        Farragut    Square ?    Place ?

14 A.        Place .

15 Q.        Farragut    Place ?    Is that the location        where Mr.

16 Goodwin    was arrested ?

17 A.        Yes, ma'am .

18 Q.        Continue    with the next entry .

19 A.        March 18 , 2002 , at 17 :20 hour s, Tiffany          Vessels

20 wire d the same amount      of money to Steve Ross in

21 Houston , Texas , and that 's also Exhibit            R-3 -- the same

22 exhibit s we --

23 Q.        The same exhibit s we just show ed the            jury ?

24           What is the next entry ?

25 A.        On March 18 , 2002 , Thurman         obtain ed a new key




                                                                   Page 35
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 36 of 227



 1 for his rental     car , which was lost in the robbery .

 2 That 's Exhibit    R-6 .

 3            MR. MARTIN :     Your H onor , before      he goes any

 4 further , may I approach ?

 5            THE COURT:      You may .

 6                         (At the bar of the Court.)

 7            MR. MARTIN:      As you know , I'm hesitant         to

 8 approach     on any issue , but it appear s to me that this

 9 chart was not prepared         by this witness .       It appear s

10 that this is a chronology         of event s that was prepared

11 by government     trial counsel        to summarize    the document s

12 that have been admitted         into evidence      at this point and

13 the testimony     from other s.

14            I don't know     what the Fourth    Circuit 's position

15 is on this , but there are other circuit s that say that

16 with respect     to this kind of summary        chart , this is

17 really    argument , and as a result , it should          not be

18 brought     in or admitted     through    a witness    in this

19 fashion .     Now , if he prepa red the      chart himself , that 's

20 a different     matter .

21            In short , Your Honor , we object          to the

22 introduction     of this chart at this point .           It 's clear

23 what it is .     It 's summary    argument .

24            THE COURT:      All right .

25            MS. JOHNSTON:      Your Honor , there is a Fourth




                                                                    Page 36
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 37 of 227



 1 Circuit     case on point in which they allow ed the witness

 2 to summarize       testimony , and that would be United           States

 3 v. Johnson     out of the --

 4            MR. MARTIN:     What is the case , ma'am ?

 5            MS. JOHNSTON:     United   States    v. Johnson      out of

 6 the Fourth     Circuit .    The witness      did , in fact , prepare

 7 the chart .     Government    counsel      did not prepare      this

 8 chart .     It was done by the      witness    to show the

 9 correlation     between    the exhibit s.

10            He is not summarizi ng any testimony             of Mr.

11 Thurman .     He is mere ly show ing what document s went with

12 what trip to assist        the jury in put ting those piece s of

13 evidence     together    in a trial that has been quite long

14 with voluminous       evidence    and document s.         I've been very

15 care ful not to ask him what Mr. Thurman              testifi ed to ,

16 rather    having    him just associate       the document s with

17 particular     time periods , and I think that is

18 permissible     under United      States    v. Johnson , which is       at

19 54 , F.3d, 1150 , Page 58 ; United          States   v.     Loaysa , L O

20 A Y S A, at 107 F.3d , 257 , at page note the hear the

21 record ing this , and 130 exhibit s.

22            We are well beyond      that in this case , and I

23 think that what we've done is try to put a sort of

24 happy median       not going to where the case -- the Court

25 allow ed the prosecution         to do in the Johnson         case ,




                                                                    Page 37
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 38 of 227



 1 which was to actual ly summarize            the testimony , but

 2 rather     just having   him show the association        of

 3 document s with particular        trip s.     I think that 's

 4 proper .

 5            MR. MARTIN:      Without    know ing who actual ly

 6 prepar ed the    chart , Your Honor , I felt compelled           to

 7 come up and raise th e issue           and pre serve it for appeal .

 8            THE COURT:      I recognize    that .   That 's your role

 9 to make that objection .

10            I think , based on what Ms. Johnston         has said ,

11 that the objection       is not well taken , but your

12 objection     is so note d, and it 's over ruled .

13            MR. SUSSMAN :     I want to make the point that I

14 don't think     it matter s who make s the chart .           I think

15 it 's the    use the chart is put to .         It 's one thing to

16 summarize     voluminous    document s; it 's another        thing to

17 summarize     voluminous    testimony .      I don't think     that 's

18 the purpose     of a chart .     I think that 's the purpose           of

19 what lawyer s do in closing           argument , and that 's

20 argument     and inference     to come from thing s.         I think

21 what these chart s are do ing is taking            a chronology       of

22 event s and try ing to -- and in the form of summary .                     I

23 mean , that 's the lawyer 's job , that 's not the witness '

24 job .

25            MR. MARTIN:      To the extent     that that 's




                                                                   Page 38
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 39 of 227



 1 happening , I maintain       my objection .

 2           THE COURT:      I don't think    that 's what's

 3 happening , and the objection         is over ruled .

 4                          (Back in open court .)

 5           BY MS. JOHNSTON:

 6 Q.        You may continue .

 7 A.        I believe    we were up to March 21 , 2002 , and

 8 Exhibit   R- 11 and R-5    indicate    Mr. Thurman      was in a

 9 traffic   accident .

10 Q.        Here is R-5 .     Is that one of the exhibit s that

11 corroborate d that testimony ?

12 A.        Yes, ma'am .     R-11 was the police       report    we

13 already   discuss ed .

14           On M arch 22 , 2002 , at 18 :25 hour s -- E xhibit

15 R-10 are the Southwest        Airlines    records   and indicate

16 that Mr. Thurman       and Rodney   Green de part ed Houston        for

17 BWI.

18 Q.        Those were additional       Southwest     Airlines

19 records ; is that correct ?

20 A.        Yes .

21 Q.        Once again , those document s you obtain ed

22 independent       of Mr. Thurman ; is that correct ?

23 A.        That 's correct .

24 Q.        If you could continue       with the September , 2003 ,

25 ship ment .




                                                                  Page 39
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 40 of 227



 1 A.        On August    15 , 2003 , at 08:18 hour s, there was a

 2 traffic     accident   involving    Mr. John Irby in DeRitter ,

 3 Louisiana , which is Exhibit         Oglethorpe    31 .

 4 Q.        Show ing you Oglethorpe      31 .

 5           If you could show that to the jury and de scribe

 6 it for them , please .

 7 A.        It 's a letter    from Bituminous       Insurance    Company ,

 8 address ed to Mr. John Irby , and they wish to discus s

 9 with him his accident       which occurred       on High way 17 1 in

10 DeRitter , Louisiana .

11 Q.        Where was that document       re covered    from ?

12 A.        This was re covered      from Oglethorpe .

13 Q.        Oglethorpe    -- during    the Oglethorpe       search

14 warrant ?

15 A.        That 's right .

16 Q.        Would it be correct , then , that you had -- when

17 did you have this document          in your custody ?

18 A.        June 1st , 2004 .

19 Q.        When did you speak to Mr. Thurman ?

20 A.        April , 2005 .

21 Q.        Did you mention     the Louisiana       car accident     of

22 John Irby to Mr. Thurman ?

23 A.        I didn't know     what this meant in 2005 until

24 after Mr. Thurman       spoke of it and he explained           certain

25 thing s to us .    I didn't know      anything    about Mr. Irby




                                                                   Page 40
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 41 of 227



1 and a traffic        accident .    This document      was un known to

2 us at the time .

3 Q.         If you can continue .

4 A.         August    16 , 2003 , at 19 :09 hour s, receipt        from

5 Jack In The Box .        "O. C. " indicates    the Orange      County

6 document s seize d in Orange         County   during    the arrest       of

7 Thurman .     So all these document s were seize d during

8 that arrest .

9            There 's a receipt       from Randal' s in Houston ,

10 Texas , August      19 ; August 22 , another     receipt     from

11 Randal's .    September    3, 2003 , a receipt        from Ft.

12 Worth , from Capital      Imation .     S eptember    6, 2003 , there

13 were tire s purchase d for a 19 97 Conversion            van at

14 Dis count Tire in Houston , Texas .          September     9, Mr.

15 Thurman    had a bill from the U-H aul center           in Dallas --

16 Dallas    Free way -- of Dallas       Free way in Houston , Texas ;

17 and September       11 , 2003 , at 21 :13 hour s, a receipt          from

18 Denham    Spring s, Louisiana .

19 Q.        When you say , "O.C.," you're          referring    to ?

20 A.        Orange    County .

21 Q.        Texas ?

22 A.        Texas .

23 Q.        Do you recall        when the arrest     of Mr. Thurman

24 took place in Orange       County , Texas ?

25 A.        That would be January        of 2004 .




                                                                    Page 41
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 42 of 227



 1 Q.         When did you obtain these documents from the

 2 Orange     County    law enforcement    officer s?

 3 A.         I received     a photo copy of them sometime        -- May

 4 -- it was after Mr. Thurman 's arrest , because            -- after

 5 I was contact ed by Mr. Thurman , I start ed maki ng these

 6 contact s with law enforcement          agenci es in Louisiana         and

 7 Texas , and at that time , I then start ed requesting

 8 these document s.         I received   a photo copy ; later they

 9 brought     us the hard copy , the actual       document s.

10 Q.         Were these document s seize d by Orange        County

11 from the van operate d by Mr. Thurman           before   or after

12 Mr . Thurman       made his statement    to you ?

13 A.         Oh , no .    These were seize d at the time of his

14 arrest .

15 Q.         January     of 2004 ?

16 A.         Yes .

17 Q.         If we could go to the second        board of this

18 exhibit .     If you could tell the ladies and gentlemen of

19 the jury     what we're look ing at on this chart .

20 A.         This is the October , 2003 , ship ment .       There was

21 a discussion        of -- on the way back , the van struck         a

22 deer in Virginia        on September    30 , 2003 .   Antwon   Jones ,

23 who was discuss ed in testimony , would go on trip s with

24 Mr. Thurman        and here 's a receipt   OC-5 , which indicate s

25 he had this van service d in October           in Houston , Texas .




                                                                  Page 42
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 43 of 227



 1 Then on October        30 , 2003 , the van was tow ed from mile

 2 marker     85 , northbound     81 to Fox Mountain        Inn in

 3 Virginia .

 4 Q.         Again , were these document s provided              by Mr.

 5 Thurman ?

 6 A.         No .     These were all seize d by Orange           County

 7 sheriff s at the time of his arrest .

 8 Q.         The next exhibit       -- the next event that you have

 9 on the chart is what ?

10 A.         Mr. Thurman       and Mr. Xavier    Moore's    arrest       in

11 Orange     County , Texas , January        21 , 2004 , the seizure          of

12 money , marijuana , scale and gun s, and those are

13 exhibit s P-234 through          P-237 .

14 Q.         Referring       to the photograph s that were

15 introduced        during   the officer 's testimony ; is that

16 correct ?

17 A.         Yes, ma'am .

18 Q.         Okay .     Now , if we could go to the next series                of

19 event s.

20 A.         The next series       is the Tiffany     Vessels      and

21 McKenzie     trip to El Paso , Texas , Las Cruces , New Mexico

22 in March , 2004 .

23            On March 5th , there was a Riggs Bank transaction

24 receipt     by Vessels      from 800 H Street , Northeast .

25 That 's Exhibit       R-7 , as well as Oglethorpe         8.




                                                                      Page 43
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 44 of 227



 1 Q.       Let me show you , first of all , R-7 and ask you

 2 how that relate s to the information          on your chart .

 3 A.       These are the net spend account          records   --

 4 Q.       Are those --

 5 A.       -- that we discuss ed earlier .

 6 Q.       Are those referred      to on your chart ?

 7 A.       Yes .

 8 Q.       Whose account     is that ?

 9 A.       Whose account ?

10 Q.       Yeah .    Whose name is that account ?

11 A.       This is Alton McKenzie .

12 Q.       What does that reference        in relation    to this

13 trip ?

14 A.       What does it reference ?

15 Q.       Why is that relevant       in term s of this trip ?

16 A.       Because    this is a pre paid MasterCard       system , and

17 this card was then use d to conduct         other transactions

18 on this trip .     T hese are indicated     on these records .

19 Q.       Okay .    Are they reference d again on the chart ?

20 A.       Yes, ma'am .    R-7 .   This is the opening        of the

21 account .   And they should      have been but they're       not .

22 Q.       Okay .

23 A.       They're    on the records     indicati ng transactions

24 conduct ed in El Paso , Texas .

25 Q.       What are the date s of the transactions            in El




                                                                Page 44
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 45 of 227



 1 Paso , Texas that are on R-7 ?

 2 A.          March 11 , March 12 , March 14 of 2004 .

 3 Q.          Why don't you , next to R-7 on your chart up

 4 there , indicate        El Paso transactions         and put the date

 5 so that the chart is more complete .

 6 A.          (Witness    indicati ng .)

 7 Q.          You could go to , then , the next item that you've

 8 entered      on the chart .

 9 A.          The next item is the pre paid card , Oglethorpe             8,

10 Hayes Check Cash ing .        It's a receipt         from March 5th ,

11 2004 .

12 Q.          Let me show you Oglethorpe          8.

13 A.          There are many receipt s in here that are

14 reflect ed on this chart .

15 Q.          Based on your train ing and experience           as a

16 narcotic s investigator , what do you look for when

17 you're      executing    a search   warrant ?

18 A.          We're look ing for financial         records , ledger s,

19 document s associate d with travel , document s associate d

20 with other people         in the conspiracy , phone records .

21 There so many different          type s of records       that could be

22 use ful .     It 's kind of as a -- as you go , you see

23 there 's a hotel record        from Texas .      We have indication

24 these people      have been traveling to         Texas to obtain

25 cocaine .      I want to seize that document .




                                                                   Page 45
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 46 of 227



1 Q.         Could you explain       the document s that you've

2 listed     that came from the Oglethorpe        Street address ?

3 A.         This is receipt     from Union Station , an Easy Buy

4 gas receipt        from Georgia ; a Shell Mart gas receipt from

5 Athens , Alabama ; a gas purchase          from Louisiana ; a

6 Wal -Mart card charge       receipt     from Louisiana ; a Jack In

7 The Box receipt        from Texas .     These show me , you know ,

8 the steady     march southwest        from the Maryland -DC area to

9 Texas .     A gas receipt    from Texas , and there's a        few

10 more on the second       page of this board also .

11 Q.        Just keep up there .        You mention ed -- I think

12 you skip ped the hotel receipt s.

13 A.        Yes , that 's a different      exhibit .     The hotel

14 receipt s from the Red Roof Inn in El Paso under the

15 name of Tiffany       Vessels .   That 's Oglethorpe 8 -C.         We

16 have records       from March 7, March 8, March 11 .         They

17 switch    to the Comfort    Inn , which is also Oglethorpe

18 8-C, March 13 , March 18 , continui ng on .           It ends -- the

19 last receipt       we have is March 18 .

20 Q.        Going back up the chart there .            After you have

21 Ms. Vessels ' receipt      from the Comfort     Inn at El Paso           on

22 March 11 , 2004 , do you have any other records            that

23 concern    her activity    or that trip to the southwest            in

24 March of 2004 ?

25 A.        Yes .    There 's -- Oglethorpe 8 -B is a tire




                                                                 Page 46
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 47 of 227



1 receipt    from On Sale Tire Store in Las Cruces , New

2 Mexico , which was very close to El Paso , as well as

3 Goodwin    14 are telephone      records .

4 Q.         What's   the significance     of the telephone

5 records , Goodwin      14 , as it relate s to your summary

6 chart ?

7 A.         The telephone     records   show Ms. Vessels     maki ng

8 call s to telephone s in the El Paso area .

9 Q.         Were you able to listen       to the conversation s

10 that took place over those phone s?

11 A.        No, ma'am .    We didn't    have authorization .       We

12 weren't   even aware of --

13 Q.        Aware of what ?

14 A.        Of what she was do ing at that time .

15 Q.        Okay .   Continue .

16 A.        We also have intercept ed Telephone         Call B469 ,

17 which was intercept ed and I believe          was play ed here , as

18 well as A258 .

19 Q.        So those are two call s from the wiretap          that the

20 jury actual ly heard ?

21 A.        Yes, ma'am .

22 Q.        And they're    reference d by their call number ?

23 A.        Yes, ma'am .

24 Q.        Okay .

25 A.        And then Goodwin      14 is the telephone     record    I




                                                                Page 47
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 48 of 227



 1 just reference d a minute        ago with Ms. Vessels .

 2 Q.       Using the phone ?

 3 A.       Yes .

 4 Q.       Okay .    Continue .

 5 A.       That 's it for this board .

 6 Q.       Okay .

 7 A.       Then March 18 , we have the -- also on Oglethorpe

 8 8, which we've discuss ed , is the numerous           receipt s

 9 re covered   from Oglethorpe      are March 18 , more gas

10 purchase s, as Ms. Vessels        return ed , going through       March

11 19 .   March 20 , we have a receipt       from a Hess' Station

12 back here in DC-Maryland         area , and then the car was

13 return ed , Oglethorpe 8 -A, to the Budget , Union Station .

14 Then on March 22 , we had call B-1311 , which was play ed

15 for the jury some week s ago .

16 Q.       Okay .    What's    the last trip that you've

17 summarize d there ?

18 A.       This is Mr. Thurman 's return        of the cocaine       to

19 El Paso , Las Cruces        area in April of 2004 .     He check ed

20 in the -- which is R-8.          Check ed in the Road Runner RV

21 Park in El Paso on April 2nd .         April 2nd, that night at

22 22 :06 hours, we    have Call B2581 , which was play ed for

23 the jury .

24 Q.       Who was involve d in that call ?

25 A.       That was Mr. Goodwin       and Mr. Thurman .




                                                                Page 48
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 49 of 227



 1 Q.        Over whose telephone ?

 2 A.        Using Ms. Martin 's telephone .

 3           On April 8, 2004 , Mr. Thurman        check ed out of the

 4 RV park .

 5 Q.        Those are these records , R-8 ?

 6 A.        Yes, ma'am .      O n April 14 , Exhibit    r-12 are State

 7 Department       Federal   Credit Union records      for Mr. Thurman

 8 show ing his ATM bank card transactions .             April 14 ,

 9 April 15 , April 21 , he was in Richmond          or Houston ,

10 Texas conduct ing transactions           with that card .     April

11 29 , 2004 , there is a call between          Ms. Martin     and Mr.

12 Irby , Call A1415 was play ed the jury on .

13           On April 29 , April 30 , on through         May 6, Mr.

14 Thurman 's still conduct ing bank card transactions                  in

15 Texas .     Then he conduct ed one -- there 's one

16 transaction       in Mississippi   on April 28 , and then on

17 June 16 , Mr. Thurman        and Mr. Weather sby were arrested

18 in Louisiana       with cocaine , which are Exhibit s P-233 A

19 through     E.

20 Q.        Okay .    And the records      that you reference      in

21 term s of his ATM card , are those the records              R-12 ?

22 A.        Yes , they are .

23 Q.        How did you get those records ?

24 A.        Those were subpoena ed .

25 Q.        Did Mr. Thurman      provide    you with any of these




                                                                  Page 49
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 50 of 227



 1 records    that relate    to the travel       that he discuss ed

 2 with this jury in term s of trip s to Texas ?

 3 A.        No .

 4 Q.        So the record     is clear , did you prepare       this

 5 chart -- this series       of records ?

 6 A.        Yes, ma'am .

 7 Q.        I want to show you -- while we're up here -- you

 8 mention ed in your testimony         initial ly about pin

 9 register s and pin register         data .

10           Could you explain     again to the jury what that is

11 and how you utilize       that information ?

12 A.        A pin register     is a de vice which records

13 in comi ng and outgoing     call s made .      It does not record

14 the audio of the call .       It mere ly records       the number s

15 dialed    in and number s dialed      out .

16 Q.        What is the significance           of that to a narcotic s

17 investigator ?

18 A.        It allow s you to identify          par ties and if they

19 associate    with each other , how they associate          with each

20 other .

21 Q.        Back in November     of 2003 , you heard testimony

22 about Mr. Goodwin 's arrest         by Detective     Martini.    Do

23 you recall       that testimony ?

24 A.        Yes , I do .

25 Q.        At that time , were you wire tapping         Ms. Martin 's




                                                                   Page 50
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 51 of 227



 1 phone or Mr. Goodwin 's phone s?

 2 A.         No .

 3 Q.         Did you , during        that time period , have pin

 4 register      activity    and air time records        available        for

 5 phone s associate d with those individuals ?

 6 A.         Yes .

 7 Q.         Could you tell us what CH-4 is ?

 8 A.         This is a chart of pin register             activity        wh ich

 9 occurred      after Mr. Goodwin 's arrest          on November        25 ,

10 2003 .

11 Q.         If you could stand back a little               bit .      And if

12 you could , de scribe       for us what is in each column                and

13 how you put together         the information .

14 A.         This is just based on police            report s that Mr.

15 Goodwin     was arrested     by Corporal        Martini   on November

16 25 , 2003 .       The rest is based on register           DNR activ ity

17 from November        26 through      December    2, 2003 .

18 Q.         When you use the term " pin register               DNR

19 activity ," what 's the           difference    between   a pin register

20 and DNR?

21 A.         It 's more or less        the same thing .        It 's

22 inter changeable        term s.

23 Q.         So it 's one and the same , pin register                  and dial

24 number    record er ?

25 A.         Yes .




                                                                         Page 51
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 52 of 227



 1 Q.         If you could tell us , then , what this chart

 2 summarize s in term s of those records .

 3 A.         In the first column , it 's jus t the date of the

 4 activity ; second       is the time of the contact ; and the

 5 third are the contact s between          the telephone s.      Such as

 6 on November        26 , 2003 , at 00 :46 there was a call

 7 received     on Ms. Mart in's telephone , the hard line , from

 8 the telephone        subscribe d to Constance     Goodwin .

 9 Q.         Who is Constance     Goodwin ?

10 A.         Mr. Learley     Goodwin 's wife .

11 Q.         That telephone , is that the telephone           subscribe d

12 to Constance        Goodwin , (301) 559-5289 , is that land line

13 or hard line ?

14 A.         That 's a land line .

15 Q.         Okay .    What address     was that phone locate d?

16 A.         1302 Chillum     Road .

17 Q.         Is that the same Chillum         Road address    that we

18 heard testimony        from Ms. Feather stone -Buchanan       last

19 week ?

20 A.         Yes .

21 Q.         Continue     with what's    on the next line .

22 A.         November     26 , 2003 , at 00:51 hour s, call from

23 Paulette     Martin 's hard line , the line we later

24 intercept ed , to Mr. Goodwin 's cell phone .

25 Q.         Continue .




                                                                  Page 52
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 53 of 227



 1 A.         Then at 00:53 hour s, a call from Paulette

 2 Martin 's phone to Ms. Goodwin 's phone again .                At 00:06 ,

 3 a call from Paulette           Martin   to a telephone      utilize d by

 4 Reece Whiting .           At 00:59 hour s, a call from Paulette

 5 Martin 's phone to Mr. Goodwin 's cell phone again .                   At

 6 01:00 hour s, a call from Paulette              Martin    to Constance

 7 Goodwin 's phone again .          At 01:47 hour s, a call from

 8 Paulette      Martin to      John Irby 's phone .    At 07:36 hour s,

 9 a call from Paulette           Martin to     John Ford 's telephone .

10 Star 67 indicati ng that she was block ing her number

11 from call er ID so the party could not see who was

12 call ing .

13            At 07:37 hour s, call from Paulette             Martin 's

14 phone to the telephone           at Lobo's     Dis count Car Center

15 also block ed .          There 's a series    of those call s 07:37

16 through      07 :38 .     08:32, a call from Paulette        Martin 's

17 cell phone to Constance           Goodwin 's phone ; 08 :35 , a call

18 from Constance           Goodwin 's telephone    to Paulette     Martin 's

19 cell , and then again at 08 :36 , and at 08 :40 , Paulette

20 Martin 's cell phone call ing Constance             Goodwin 's

21 telephone .       09 :07 , a call from Paulette          Martin 's

22 telephone      to Reece Whiting 's telephone .            09 :27 , a call

23 from Paulette           Martin 's cell phone to Mr. Goodwin 's cell

24 phone .

25            At 09 :55 hours , a call from Paulette            Martin 's




                                                                        Page 53
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 54 of 227



 1 cell phone to Mr. Larry Lane 's cell phone .            At 10 :45 , a

 2 return   call from Mr. Larry Lane 's cell phone to

 3 Paulette    Martin 's cell phone .     Then at 11 :11 hours a

 4 call from Paulette       Martin 's cell phone , the Law Office s

 5 of Victor Houlon and Berman ; at 11 :50 hours , a call

 6 from Michael     Thurman 's telephone     to Paulette    Martin ; at

 7 13 :10 hours , a call from Constance        Goodwin 's telephone

 8 to Paulette     Martin 's cell phone ; at 13 :30 hours , a call

 9 from Paulette     Martin to the L aw O ffice s of Houlon and

10 Berman ; 13 :31 , a call from Martin 's hard line to

11 Constance    Goodwin 's telephone .     13 :43 hours , a call

12 from Paulette     Martin   to the Law Office s of Houlon and

13 Berman ; 13 :45 hours , a call from Paulette Martin to

14 Constance Goodwin      ; 14 :31 hours , a call from Paulette

15 Martin to the Law Offices        of Houlon and Berman .       16 :45

16 and 16 :46 , two call s from Michael       Thurman .

17 Q.         Were those from Mr. Thurman 's cell phone or from

18 a land line associate d with       Mr. Thurman ?

19 A.         I believe   this is a land line .      I'll have to

20 look .

21 Q.         If you could check your note s, please , before             we

22 go any further .

23            The note s you're   check ing , are those a

24 computer ized printout      of the records     that serv ed as a

25 basis for this chart ?




                                                                Page 54
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 55 of 227



 1 A.        Yes, ma'am .      T hat would be a cell phone , I

 2 believe .

 3           Then at 17 :10 -- 17 :01 hour s, a call from -- two

 4 call s from Paulette        Martin 's cell phone to Constance

 5 Goodwin 's telephone , and at 17 :09 hours , a call from

 6 Irby -- John Irby 's phone to Martin 's cell .             17 :10

 7 hour s, seven call s from Paulette         Martin 's cell phone to

 8 John Irby 's telephone .

 9 Q.        During   what time period      did those seven call s

10 take place ?

11 A.        In a ten -minute     time period   from 17:10 to 17 :20

12 hours .

13           At 11 /26 , at 20: 03 hour s, a call from Paulette

14 Martin    to Constance      Goodwin 's phone .     23 :07 , two call s

15 from Paulette      Martin    to Reece Whit ing 's phone .     23 :08 ,

16 a call from Paulette         Martin   to Constance    Goodwin 's

17 phone ; 23 :35 , a call from Constance           Goodwin 's telephone

18 to Paulette    Martin .      23 :38, a call from Paulette       Martin

19 to Bail Bonds Ex press .        23 :39 , a call from Paulette

20 Martin to    Constance      Goodwin 's phone .     23 :39 , another

21 call from Paulette        Martin to    Bail Bonds Express .         23 :41

22 a call from Paulette         Martin   to John Irby 's phone .

23           Then on -- we then switch        to November     27 , 2003 ,

24 at 00:10 hour s, call from Paulette          Martin    -- two call s,

25 00:10 and 00:11 from Paulette           Martin to    Reece Whiting .




                                                                  Page 55
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 56 of 227



 1 00:44 hour s, call from Paulette           Martin to     John Irby .

 2 At 10 :41 hour s, call from Constance            Goodwin    to Paulette

 3 Martin , 13 :59 to 14 :02 , two call s from Michael            Thurman

 4 to Paulette     Martin .

 5 Q.         Again , are those from Mr. Thurman 's cell phone ?

 6 A.         I would need to look at my note s.

 7 Q.         Please   do that .

 8 A.         Yes , that 's the same telephone        as before .

 9 Q.         Continue .

10 A.         At 15: 00 and 15:01      hour s, two call s from

11 Paulette     Martin 's line to Michael       Thurman .      At 15 :06 ,

12 call from Paulette         Martin to   John Irby .     At 16 :11 , a

13 call from Paulette         Martin   to Constance     Goodwin 's phone .

14 November     28 , 00:13 hour s call from Paulette           Martin to

15 Bail Bonds Express .         00:32 hour s, call from Paulette

16 Martin to     Constance     Goodwin 's phone .

17            On November     29 at 12 :06 hour s, call from John

18 Irby to Paulette        Martin 's cell .    At 22:16 hour s, a call

19 from Paulette       Martin to   Constance    Goodwin .      On November

20 30 at 17:10 hour s, four call s from Michael               Thurman   to

21 Paulette     Martin 's cell phone between         17 :10 and 18 :07

22 hour .

23 Q.         Again , is that from Mr. Thurman 's cell phone ?

24 A.         Yeah .   It 's the same .    It's a (301 ) 213 -

25 telephone .




                                                                    Page 56
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 57 of 227



 1 Q.        That 's a cell phone ?

 2 A.        Yes, ma'am .

 3 Q.        On December    1st , 2003 , at 08:39 hour s, 09:00 , at

 4 10 :57 hour s, there were three call s from Paulette

 5 Martin 's cell phone to Mr. Goodwin 's cell .           On December

 6 1st at 13 :22 hour s, there were 12 call s from Michael

 7 Thurman 's phone , at the same one we discus sed earlier ,

 8 to Paulette    Martin 's cell from 13 :22 hours to        15 :29

 9 hour .

10 Q.        Were you able to tell where Mr. Thurman 's phone

11 was when he was maki ng all these call s to Ms. Martin

12 between   November     26 and December    1st of 2003 ?

13 A.        No , I was not .

14           On December    1st, at 20 :44 hour s and at 21 :44 ,

15 there were two call s from John Irby to Paulette             Martin ,

16 and on December      2nd , 09 :38 hour s, a call from Mr.

17 Goodwin 's telephone      to Paul ette Martin 's cell .

18 Q.        Do you know what happened       in terms of Mr.

19 Goodwin   and where he was as of December 2nd , 2003 ?

20 A.        No , I do not .

21 Q.        Do you know whether      or not he was re lease d on

22 bond in terms of --

23           MR. MARTIN:       Objection .

24           Asked and answered .

25           THE COURT:     Over ruled .




                                                                Page 57
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 58 of 227



 1           BY MS. JOHNSTON:

 2 Q.        Do you know whether      or not    he was re lease d on

 3 bond on the charge s that were filed as a result                  of

 4 Corporal    Martini 's arrest ?

 5 A.        I do not know .

 6 Q.        In regards    to the telephone      call s that we heard

 7 here in court , did you prepare          a chart that summarize s

 8 those call s in relation      to the opinion      Sergeant        Sakala

 9 gave as well as your own opinion            relating    to Ms.

10 Martin 's relationship      with Mr. Mangual ?

11 A.        Yes .

12           MR. MONTEMARANO :     Objection .

13           Your Honor , can we approach ?

14                   (At the bar of the Court.)

15           MR. MONTEMARANO :     I would reiterate        the

16 objections    we've already     made regarding     the use of

17 summary    chart s.    This is not the summary         chart .     This

18 is a creation     of evidence     out of whole cloth .           I show

19 the Court the cloth .       I point the Court to the portion

20 highlight ed by the      government     in bold and under line d.

21           For instance , 3/10/04      the very first line .

22 There has been no evidence         during    the trial there was

23 an actual    delivery    of cocaine .     There is certain ly

24 indicia    that such took place .        There is code d language .

25 There is the presence .       There is the duration         of the




                                                                     Page 58
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 59 of 227



 1 visit s, all those thing s, which I'm sure Ms. Johnston

 2 and Ms. Green berg will argue in closi ng that state s

 3 something      that we don't know happened .            There is no

 4 personal      knowledge .

 5            Mr. Mangual      did not testify .       My client    did not

 6 testify .      This is far beyond        the peal .     They want to

 7 say , suspect ed delivery , fine .             That cannot   stand .     If

 8 the Court let s that in , please              note my motion    for a

 9 mis trial .

10            MS. JOHNSTON:       Your Honor , that 's based on the

11 testimony      of -- Sergeant        Sakala    testifi ed in term s of

12 his opinion      that there were deliveri es of cocaine                made

13 by Mr. Mangual      to Ms. Martin , and that these call s took

14 place in relation         to those deliveri es .        Detective

15 Eveler    also has the same opinion             in term s of having

16 re view ed those call s and the surveillance              tape s and the

17 pole camera s, so it is also his opinion                that those

18 deliveri es took place based on the surveillance s and

19 based on the content          of the    telephone     call s surround ing

20 those date s.

21            So , he 's going to testify          like Sergeant    Sakala .

22 I expect      Detective     Eveler    to state that is also his

23 opinion     that those deliveri es took place on that date .

24            MR. HALL:      Your Honor , if I may .        The purpose      of

25 a summary      chart is to summarize           fact s, not opinion s,




                                                                     Page 59
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 60 of 227



 1 and by what counsel         has just said , this is clear ly an

 2 opinion    that the officer         is ex press ing but it 's not a

 3 summary    of factual     evidence .     Each and every fact has

 4 to , in and of itself , be admissible             to go on a summary

 5 chart .    This is an opinion .

 6            MS. JOHNSTON:      Your Honor , there are two

 7 different     summary    chart s.     The chart we just did

 8 summarize s evidence        -- voluminous       evidence.    It was

 9 introduce d in lieu       of all those evidence ; and second ,

10 there is a summary        chart that is introduced          to the jury

11 for their eval uating        and assessing .       That 's what the

12 second    chart does .

13            THE COURT:     That 's the    chart I have       in front of

14 me ?

15            MS . JOHNSTON:    That 's the same chart the Court

16 had last week when we had this discussion               last week .     I

17 can certain ly re cite the case s that I re cit ed to the

18 Court before .     He is summarizi ng what is in evidence

19 before    this jury .     The jury can choose        to take that

20 evidence    or not , and in this case , when you have a

21 trial this long , what that does is summarize                the

22 evidence    in term s of the        different    call s that relate    to

23 the different     date s and time s.

24            MR. MONTEMARANO :        Your Honor , I'm try ing to be

25 circumspect .     I'm an officer        of the court , but this is




                                                                      Page 60
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 61 of 227



 1 just beyond     outrageous .      For all matter s, for the --

 2 within   the four corners        of Ms. Johnston 's argument , she

 3 may as well take the last page and write Paulette

 4 Martin   is guilty .      That 's what that says .        They can't

 5 do that .    They can put on anything         -- I don't care how

 6 bad the evidence        is .   I won't like it .    I got to live

 7 wit h it .

 8          That 's not evidence .         That 's opinion .    There 's a

 9 difference .     There 's no fact s to back that up .             If they

10 had Mr. Mangual 's testimony , if they had seizure s

11 contemporaneous        with as opposed     to month s later , there

12 is just no way of know ing .          There 's way of know ing

13 beyond a reasonable doubt         .   That 's their call , the

14 folk s over there , not our s.          With all due respect , Your

15 Honor , this is rid ic ulous .

16          MS. JOHNSTON:         Just so the record    is clear ,

17 these are the same chart s we present ed to the Court

18 last week that we had the discussion            about .     The

19 government     has n't add ed any chart s.      They're     the same

20 chart s we discuss ed last week .

21          THE COURT:        Well , this is a summary       exhibit    by

22 this witness     --

23          MS. JOHNSTON:         That 's correct .

24          THE COURT:        -- summarizi ng voluminous       testimony

25 that 's already       in the record .     The dispute     here is




                                                                     Page 61
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 62 of 227



 1 whether     it is correct    for this to state Martin          receive s

 2 cocaine     from Mangual    on several   date s.     I think their

 3 objection     is that that 's because       that was not a matter

 4 in evidence     but a matter     of opinion    from Detective

 5 Sakala .     Is that the basic nature        of your objection ?

 6            MR. MONTEMARANO:      Yes , Your Honor .

 7            MR. SUSSMAN:      It 's an extrapolation       of

 8 voluminous     evidence .    It's not a summary       of the

 9 voluminous     evidence .    It 's taking    voluminous    evidence

10 an d taking    particular    item s out of the voluminous

11 evidence     and high light ing them .

12            MS. JOHNSTON:      Your Honor , we're not introducing

13 it as a summary     chart under Rule 10 .          This is under

14 6- something , I'll get my note s and give the Court my

15 cite .     I didn't know    it was going be an issue now ,

16 because     quite frankly , I thought       we had resolve d these

17 issue s last week when the Court asked me to re move the

18 little     cell phone s off the chart because         Mr. McKnett

19 didn't     like that , and the    Court asked me to take thing s

20 off of the drug summary         chart because      the Court didn't

21 think it -- there were no objections            raise d at that

22 time to this language        that was on this chart back then ,

23 and now we're in the middle         of the testimony .         The

24 chart 's here .

25            THE COURT:      I'm going to over rule the objection .




                                                                   Page 62
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 63 of 227



 1 I believe      that this can -- any question         about this can

 2 be address ed by a cautionary          instruction , and I'm not

 3 going to permit      this to , in effect , say Paulette           Mart in

 4 is guilty .      It does n't say that , but I can certain ly

 5 give a caution ary instruction          as to the nature        of this

 6 type of exhibit      and the purpose s for which it can be

 7 considered .

 8           MR. MONTEMARANO :       Ms. Martin    would move for a

 9 mis trial .

10           THE COURT:      Your motion    is deni ed .

11           MR. MONTEMARANO :       Thank you , Your Honor .

12           MR. SUSSMAN :     What instruction      will the Court

13 pro pose .

14           THE COURT:      I'll work on it .

15           MR. MONTEMARANO :       Your Honor , it needs to be

16 reasonably      contemporaneous    of the introduction          of the

17 chart .      It needs to be in advance      of the    chart .

18           THE COURT:      I'm not Super man .

19           MR. MONTEMARANO :       Your Honor , I understand        that .

20 Perhaps      we could take a slight ly long er morn ing break

21 and mull it over .

22           MS. JOHNSTON:      Counsel    had since last week to

23 present      this Court with any objections       they had with

24 the chart .      They are raising      this objection    for the

25 first time .      If they want ed an instruction , they




                                                                    Page 63
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 64 of 227



 1 certain ly had long enough       time to prepare      that .

 2           THE COURT:     Mr. Montemarano , I'm do ing the best

 3 I can , but when you don't raise the          objection      until the

 4 exhibit   is before    the jury already , it 's a little             late .

 5 Let me ask you this :        I need a break .     They need a

 6 break .   Why don't we take a break until 20 of 12 :00 and

 7 I'll take a look at this during           the recess .      Okay ?

 8                        (B ack in open court .)

 9           THE COURT:     Ladies and gentlemen     , this is an

10 appropriate    time for a brief break .         We'll resume         at 20

11 min utes of 12 :00 by that clock .

12                  (Jury excused at 11:20 a.m.)

13                  (Off the record     at 11 :20 a.m. )

14                  (On the record     at 11 :49 a.m. )

15           THE COURT:     Counsel , during    the recess , I took a

16 look at what I think is the applicable            case that 's most

17 direct ly in point unless       somebody    has a better       case

18 which is United     States    v. Roland    Markeith   Johnson ,

19 which is 54 F.3 d 1150 .       And in that case , the Court

20 considered    this whole question      of chart s of this nature

21 being use d in case the Fourth        Circuit    upheld     the

22 prosecution 's use of a chart similar           to this .

23           I'm sure counsel     will tell me it 's not similar

24 to this , but at least       it appear s to be similar         to this ,

25 and in that case , the district        judge gave a cautionary




                                                                     Page 64
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 65 of 227



 1 instruction , which was upheld          on appeal , which reads as

 2 follow s:    Government    Exhibit 19 , the chart , is the

 3 government 's analysis      of the evidence .          It is the case ,

 4 as the   government     see s it , from the evidence        which has

 5 been adduced     here in the courtroom , and of course           it is

 6 sub ject to such interpretation          as you , as the jury ,

 7 feel is to be given to it .         In other words , it is

 8 present ed to show what the government           contends     has been

 9 prove n in the case .      It is -- the contention          is up to

10 you , as the    jury , to resolve      any issue s that may be in

11 your mind concerning       the chart .

12            Now , what would be the problem        with that being a

13 limiting    instruction    that I give to the jury in

14 connection     with this exhibit ?

15            MR. MITCHELL:     Could I ask a quick question ?

16            THE COURT:     If anybody    has any case s or better

17 law than that , tell me what it is .

18            MR. MITCHELL:     I haven't    read this chart , but

19 when was that chart present ed to the jury ?               At what

20 point in the trial ?       Was it in closi ng argument         or was

21 it --

22            THE COURT:     No , it was during    the -- through       a

23 witness .    Let me double     check , because        I can only speed

24 read so fast .     I can't turn page s the way I normally

25 could turn page s, so I'm moving          slow ly .




                                                                  Page 65
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 66 of 227



 1            MR. MONTEMARANO :       One hand , one foot,    it ain't

 2 no fun .

 3            THE COURT:      No .   It was a detective     who was a

 4 sponsoring    witness     of an organization      chart based upon

 5 evidence    adduced     at the trial , and that was the

 6 limiting    in struction     given by the district       judge and it

 7 -- the Court de scribe d it as an organizational               chart ,

 8 but essentially       a summary    exhibit    reflecting the

 9 compilation of testimony          already    adduced   at trial , and

10 that it -- they de scribe d the chart in more de tail .

11            They discuss     some of the rule s applicable        to

12 this and specifically         refer to Rule 611 A of the

13 evidence    rule s, which says the Court shall exercise

14 reasonable    control     over the mode and order of

15 interrogati ng witness es and present ing evidence              so as

16 to , one , make the interrogation           and presentation

17 effective    for the ass essment       of the truth ; two , avoid

18 need less consumption        of time ; and three , protect

19 witness es from harassment         or un due embarrass ment .

20            And then the Court went through          a fair ly

21 extensive    analysis     of Rule 611 A and how it had been

22 interpret ed , and then after stati ng what the principle s

23 were , they said we find the district            court did not ere

24 in admitting     the summary      chart .    First , it is like ly

25 that the summary        chart serv ed to aid the jury in




                                                                   Page 66
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 67 of 227



 1 ascertain ing the truth .       The record    reflect s in

 2 present ing its case over a seven -day period , the

 3 government     call ed over 30 witness es to testify            about

 4 the work ings of the drug conspiracy , on and on and on .

 5            Second , it says if we find the district             court

 6 appropriately     employ ed the safe guards     discuss ed above ,

 7 and then they gave a quotation          of a limiting

 8 instruction     that I quoted    to you when I came on the

 9 bench .

10            It would seem to me that it is well within              the

11 scope of the Fourth       Circuit   case I've mention ed to

12 allow that kind of a summary         chart to be utilize d, but

13 I'll be happy to give a cautionary           instruction        which is

14 virtually     word for word the same as the           Fourth    Circuit

15 approve d in that case .

16            MR. MONTEMARANO :    Thank you , Your Honor .

17            THE COURT:    I'll take this opportunity            to put

18 ice on my shoulder       while you're    talk ing .

19            MR. MONTEMARANO :    Feel free .

20            Wish we could offer you something           strong er than

21 ice .     Or something   that would go with the ice .

22            THE COURT:    I must make a pretty         picture    up here

23 with all this stuff under this robe .           You'd think I

24 have my lunch under here and a few other thing s.                  Go

25 ahead .




                                                                    Page 67
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 68 of 227



 1           MR. MONTEMARANO :      Without    actual ly reading      the

 2 case or having     a complete     understand ing of what that ,

 3 chart consisted , I'm probably , at least               to some degree

 4 at a loss to add ress the propriety            of the Fourth

 5 Circuit 's ruling , but nonetheless , it would appear                 that

 6 the ruling    control s.     That 's not in any way , shape or

 7 form --

 8           THE COURT:     Let me suggest      this to you , Mr.

 9 Montemarano , because       we 've got    a jury wait ing , why

10 don't we fin ish the       exam ination    of this witness .      I

11 don't know    when he 's going to be finish ed and when

12 cross-examination      is going to begin , but it seem s to me

13 that perhaps    it would be better         to get the jury back in

14 here , continue    to hear the testimony         from this officer .

15           If they finish     before   lunch , that 's fine , we 'l l

16 have a break , you can -- I'll give you a copy of the

17 case , you can read it , we can discus           it , and then

18 before    this witness     dis appear s from    the witness     stand

19 and the    memori es of the jury are fadi ng on his

20 testimony , we can give them a cautionary                instruction .

21 Would that be a fair way to approach             it ?

22           MR. MONTEMARANO :      Well , I would say that in

23 light of the language        of the instruction          that would

24 seem to be an adequate        instruction      without     in any way ,

25 shape , or form suggest ing amend ing my objection .




                                                                   Page 68
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 69 of 227



 1            THE COURT:      As I said , these thing s arise on the

 2 fly .    We all have to take a look at these thing s on a

 3 moment 's notice .      I will    ask my law clerk , if he 's

 4 still here , to make a few copies          for both parti es .       I

 5 as sume the government       may have    it as well .

 6            MS. JOHNSTON:      Your Honor , we have a copy of the

 7 case law .

 8            THE COURT:      I'll make a copy of it for you all .

 9 We're all professional        colleague s to he lp each other ,

10 and I think we can       have an intelligent      discussion      about

11 whether    you think that that instruction has probative

12 value or not.       In the absence      of anything     else , I'm

13 ready to      bring the jury in .

14            MR. SUSSMAN :     I just have one thing .

15            MS. JOHNSTON:      Your Honor , I would note to the

16 Court there are several          un report ed Fourth    Circuit

17 opinion s since then that have allow ed admission

18 like wise .

19            THE COURT:      You may want to give me citation s.

20            MS. JOHNSTON:      I don't know    if the Court needs

21 them at this point .

22            THE COURT:      No , I think this is the Seminole

23 case .

24            MR. MONTEMARANO :      Un report ed opinion s are not

25 bind ing authority      in this circuit .     I seem to recall




                                                                 Page 69
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 70 of 227



 1 see ing that language         somewhere   once before , Your Honor .

 2            THE COURT:      Yes , I know .    I al ways hate d that

 3 rule when I was a practitioner,             but there was no

 4 lightning     bolt going to hit you for citing         this one .

 5 This is a publish ed decision .

 6            MR. MONTEMARANO:       Fair enough , Your Honor .

 7            THE COURT:      Look , my job is to follow     the law ,

 8 not make it .        Unless   there 's any other reason    -- Mr.

 9 Sussman,    I'm sorry .

10            MR. SUSSMAN :      One quick thing on the chart that

11 I think the government          may get to during    the testimony .

12            MS. JOHNSTON:       I would hope so .

13            MR. SUSSMAN:       Honest ly , this is the first time

14 I've seen the chart .          That 's not my problem .    My

15 problem    is it 's a chart of check payment s, which I'm

16 not going to argue does n't fall within            the summary

17 exception .     I just -- there are memo s, you know , check

18 memo s that are -- when the check s came in , they were

19 fair ly un readable .

20            They've    since been highlight ed by the

21 government .     I don't think      the memo s have any real

22 relevance     other than perhaps      they list thing s as truck

23 de tail ing , chrome , an d I think it create s some notion

24 of that other bad act s, and I would ask that since --

25 that the memo -- some of them are legitimate,              and --




                                                                   Page 70
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 71 of 227



 1           THE COURT:      It seem s to me that all       this is is

 2 put ting down what was the memo on the check .

 3           MR. SUSSMAN :     I agree .

 4           THE COURT:      Report ing what's    said on the check .

 5 So if the check said "Christmas           gift ," maybe that 's

 6 what it said.

 7           MR. SUSSMAN :     Maybe I fell asleep at the switch

 8 the first time , but I think this should           be redact ed as

 9 potential ly other bad act s.

10           THE COURT:      Why is this other bad act s?

11           MR. SUSSMAN :     No one is going to argue that Ms.

12 Martin    was do ing truck de tail ing , and I don't believe

13 that in any inference       concern ing my client        put ting that

14 on the check has any probative           value .

15           MR. MONTEMARANO :     We'll stipulate , Your Honor .

16           MR. SUSSMAN :     Well , that help s.    I believe       that

17 it does n't shed any light , and it perhaps            prejudice s my

18 client    and it 's a line thing .       If somebody     says

19 Christmas    gift , that goes , too , so I'm being

20 even -hand ed about what I'm request ing .

21           MS. JOHNSTON:      That 's what's    written    on the

22 check .    Quite frankly , one could infer from that that

23 Ms. Hard en didn't     want people      to know why she was

24 pay ing Ms. Martin     for drug s, so she wrote on there

25 chrome    part s or truck de tail ing or whatever , but it 's




                                                                   Page 71
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 72 of 227



 1 what's    on the check .      This chart -- counsel       is not

 2 say ing that this chart is in accurate .             He 's -- and the

 3 check s are in evidence        with that information       on it .

 4            THE COURT:      It would seem to me if you have the

 5 exhibit    without     what was on the memo , it would be more

 6 harm ful than the way it is .           It gives    you a chance       to

 7 argue there were all these innocent               reason s for these

 8 check s that    had nothing     do with drug s.       Isn't this a

 9 more fair sum mar ization       of what those check s show by

10 including     what's    on the memo ?

11            MR. SUSSMAN :     Well , I believe      if there was a

12 fair sum mar ization       in term s of -- I believe      that

13 initial ly , like ly , it should        have been redact ed .      I

14 don't think     do ing the wrong thing twice is the

15 appropriate     action .     I think that these thing s connote

16 that they were being use d for tax purpose s or something

17 other than -- there 's no requirement              that you put a

18 memo on a check .

19            THE COURT :     Mr. Sussman , I considered       your

20 objection , and it 's over ruled .         I think that 's the

21 proper    summary    chart under the rule s and I'll permit                 it

22 and you're     free , as Ms. Johnston       is , to comment      on the

23 significance     of this evidence        during    closi ng argument .

24 Anything    further , Counsel , before we get the jury in ?

25            MR. MONTEMARANO :     We have not yet received          the




                                                                    Page 72
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 73 of 227



 1 Hard en chart from the government .            We'd like to get

 2 copies .

 3            MS. JOHNSTON:      It was hand ed out .

 4            MR. MONTEMARANO :         It was not .   Seven of us

 5 didn't     get it .    Ms. Johnston , maybe there was an

 6 over sight .

 7            THE COURT:      Counsel ?

 8            MS. JOHNSTON:      If you can't find it , I'll be

 9 glad to get you another         copy of it .

10            MR. WARD:     None of us got it .

11            MS. JOHNSTON:      If you had told me that -- I

12 don't know     what happened     with what , but I --

13            THE COURT:      Ms. Johnston , just have somebody

14 from your office        make them copies      and bring it to them .

15            MR. MONTEMARANO :         That 's all I ask,   Your Honor .

16            MS. JOHNSTON:      I will .     Had I been asked for

17 that at the beginning         of the recess , I could have had

18 it done rather        than have to do it now .

19            THE COURT:      Have someone     from your office      make

20 copies .

21            MR. MCKNETT :     Ms. Johnston     was told during      the

22 recess     that none of the     defense     counsel   had a copy .

23            MS. JOHNSTON:      No .     Mr. McKnett , you told me and

24 Mr. Sussman     told me he     didn't     have a copy .

25            THE COURT:      Counsel , stop wrang ling .




                                                                  Page 73
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 74 of 227



 1            MR. MCKNETT :     That is not what I said .

 2            THE COURT:      Enough , enough .     I'm in pain .

 3 Enough   of this .

 4            MR. MONTEMARANO :      I'm not , neither    can I.

 5            MR. SUSSMAN :     I would make one request      though .

 6 I don't see any reason         for the detective      reading    chart s

 7 line by line .       The chart is there , it can be shown to

 8 the jury and move on .

 9            THE COURT:      I've overruled      the objection .

10            All right , bring the jury in .

11                  (Witness     resume s the stand .)

12                  (Jury return s at 12 :03 p.m. )

13            THE COURT:      Ladies and gentlemen     , my apologi es

14 for the delay .       I had to resolve       a few legal matter s

15 with the parti es while you were out .             I'm also moving     a

16 little   slow er than normal       because    I look like a

17 pregnant    football     player   with his pads on , but we'll

18 plod right along .

19            Ms. Johnston , you may resume .

20            MS. JOHNSTON:      If I could .

21            BY MS. JOHNSTON:

22 Q.         Detective , before     we have you come down here and

23 go over some more chart s, we had complete d your summary

24 of the telephone        records   that 's contain ed on CH-4

25 concern ing Mr. Goodwin 's arrest        on November     25 of 2003 .




                                                                   Page 74
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 75 of 227



1 Do you recall        that testimony ?

2 A.          Yes, ma'am .

3 Q.          Let me show you what's       been mark ed as

4 Miscellaneous        40 and ask you if that refreshes       your

5 recollection        concern ing -- this is for identification

6 purpose s only -- concern ing the date upon which Mr.

7 Goodwin     was re lease d on bond as a result       of that

8 November      25 , 2003 , arrest ?

9 A.          It does .

10 Q.         What was the date of his re lease ?

11 A.         December    1st , 2003 .

12 Q.         Now , as a case agent , what was your

13 responsibility        in reference    to item s that were seize d

14 from various       location s?

15 A.         To re view them and make note of what may be of

16 interest     to the government .

17 Q.         In regards     to documents , did you re view the

18 document s that were obtain ed from         the various   search

19 location s?

20 A.         Yes .

21 Q.         I want to show you what 's been mark ed and

22 admitted     as Goodwin    2, and ask you in look ing at

23 Goodwin    2 and the back of Goodwin        2, do you recognize

24 any of the telephone        number s on there ?

25 A.         I recognize     the reference   to Nard .




                                                                 Page 75
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 76 of 227



 1 Q.         Who is Nard ?

 2 A.         Ra ynard Dorsey .

 3 Q.         On the other side , did you rec ognize          any of

 4 those number s or the information            concern ing Ms.

 5 Vessels ?

 6 A.         I recognize     her date of birth and what appear s

 7 to be a social      security    number .

 8 Q.         Let me show you Goodwin         10 .    Do you recognize

 9 any of the information         on there ?

10 A.         Yes .   It 's the Express Mail receipt         from Lobo's

11 Discount     Car Center    to Michael      Thurman    in North

12 Houston , Texas .

13 Q.         Is that the same address         that we heard testimony

14 from the FBI concern ing a search            warrant    executed    at

15 that ?

16 A.         Yes , it is .

17 Q.         Let me next show you what's            been mark ed as

18 Goodwin     16 and ask you if you're         familiar    with this

19 exhibit .

20 A.         Yes .

21 Q.         Did you examine     that exhibit ?

22 A.         Yes , I did .

23 Q.         Based on your examination , did you identify              any

24 phone number s that were familiar            to you as a result          of

25 this investigation ?




                                                                    Page 76
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 77 of 227



 1 A.         Phone number s and individuals ' name s.

 2 Q.         Show ing you , first , the green card .       Do you

 3 recognize     any of the information       on that card ?

 4 A.         Chico is a reference       to Chico Williams , Tiffany

 5 Vessels ' father , and Tiffany         is a reference    to Tiffany

 6 Vessels .

 7 Q.         And the orange    card , I'll show you the one          side

 8 first and then the re verse side and ask you if there 's

 9 anything     on that side that 's familiar .

10 A.         No, other than the Bro G. Goody was often

11 referred     to as Bro G on many document s.

12 Q.         How about , first of all , on this card here ?

13 Recognize     anything   on that ?

14 A.         Yes .

15 Q.         What is that ?

16 A.         Reference   to Toby .

17 Q.         Who is Toby ?

18 A.         Frederick   Mill er .

19 Q.         Do you know what his relationship          with Mr.

20 Goodwin     was ?

21 A.         He .

22            MR. MONTEMARANO :       Objection .

23            Basis for knowledge .

24            MS. JOHNSTON:     I'll withdraw       that question .

25            BY MS. JOHNSTON:




                                                                Page 77
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 78 of 227



 1 Q.         Let 's move on to the next -- the in side cover .

 2            Do you recognize     Ms. Martin 's name and Bexhill

 3 Court address ?

 4 A.         Yes .

 5 Q.         Is that an accurate     address    for her ?

 6 A.         That was her former     address    in Adelphi .

 7 Q.         Call ing your attention    to this page , the

 8 address .

 9            Do you recognize     that address    and the name

10 Larry ?

11 A.         Yes .

12 Q.         What does that refer to ?

13 A.         Larry Lane and the address        at 846 Oglethorpe

14 Street .

15 Q.         Are there any other number s on there that are

16 familiar     to you ?

17 A.         No.

18 Q.         Call ing your attention    to this next page .

19 Recognize     any of the name s or number s on this page ?

20 A.         Reference    to Gene Bird and a telephone         number .

21 Q.         And on this page ?

22 A.         A list of Paulette     Martin 's old er telephone

23 number s, (20 2) 27 6-18 91 and the 8988, and then there 's

24 -- look s like more continui ng onto the second           page ,

25 which I can't see .       Yes , and then there 's the 439 -8988




                                                                  Page 78
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 79 of 227



 1 and 3545 which were the same telephone             number s that

 2 were comi ng up on Juan Encarnacion 's air time records

 3 from February       21st , 2001 .

 4 Q.         Let me show you another        series   of exhibit s

 5 mark ed as Goodwin       20 and ask you if you recognize          any

 6 of the number s that are set forth in there .             Do you

 7 recognize     any of those telephone        number s?

 8 A.         Yes .

 9 Q.         Would you highlight        the one s that you recognize

10 so I can put them up on the screen ?

11 A.         (Witness   indicati ng .)

12 Q.         Just so the record        is clear , Goodwin   20 was

13 re covered    from what location ?

14 A.         The 36 Farragut     Place in Washington , D. C.

15 Q.         Okay .   The first one you gave me was this card ;

16 is that correct ?

17 A.         Yes .

18 Q.         Did you recognize        the number s on the   front of

19 that card or on the re verse ?

20 A.         The front .

21 Q.         What number s are those ?

22 A.         The (202) 635-1400 .

23 Q.         What number    is that ?

24 A.         That was a hard line at 5559 South Dakota

25 Avenue .




                                                                Page 79
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 80 of 227



 1 Q.         The next little       card that came out of there ,

 2 what number     do recognize       there ?

 3 A.         That 's the address      of Estelle 's Place , it 's a

 4 restaurant     formerly    own ed by Estelle      Brim .

 5 Q.         Was that own ed by Estelle         Brim during     the time

 6 period     -- at some portion       of the time during        the

 7 conspiracy     charge d here between         '97 and 2004 ?

 8 A.         I'm not sure what -- when she was operati ng ,

 9 when that changed        hands .    It 's now a Dutch Pot Cafe or

10 something     along those line s, last I know .

11 Q.         It 's not current ly Ms. Brim 's place ?

12 A.         No , it 's not .

13 Q.         The next one ?

14 A.         Goody 's pager , Learley      Goodwin .

15 Q.         (Indicati ng .)

16 A.         Gloria   Thurman     is Michael    Thurman 's mother .

17 Q.         Is that her home telephone          number ?

18 A.         I'm not certain       if that -- I don't -- I don't

19 believe     that 's her home phone number .

20 Q.         Well , what's      the significance    of those number s

21 to you ?

22 A.         Mr. Thurman     would obtain      telephone     number s in

23 his mother 's name and was also a point of contact .

24 Q.         What about this little        card here ?

25 A.         Mike T. is a reference        to Michael       Thurman .    His




                                                                       Page 80
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 81 of 227



 1 pager code was 5000 .        You will see that repeat edly .

 2 Q.         (Indicati ng .)

 3 A.         Reference   to Cuba .

 4 Q.         (Indicati ng .)

 5 A.         Top line , Nard 's girl .      Raynard    Dorsey 's girl .

 6 Q.         (Indicating.)

 7 A.         Louie is a --     (240 ) 35 3-8438 is a cellular

 8 telephone     number   for Louis Mangual , which I belie ve he

 9 shut off in about February         of 2004 .

10 Q.         Show ing you Goodwin    19 .    What information        do we

11 have on that that is significant            in your investigation ?

12 A.         Michael   Thurman 's mother 's address       and an

13 address     in Houston , Texas , which is the same address            as

14 listed    on the Express Mail receipt            you show ed me

15 earlier .

16 Q.         Any number s familiar       there ?

17 A.         A telephone     utilize d by LaNora      Ali and Dug ,

18 mis spell ed , is Dug Alton McKenzie .

19 Q.         That would be the Alton McKenzie           whose records

20 you discuss ed earlier       today ?

21 A.         Yes .

22 Q.         How about this on this page ?

23 A.         A reference     to Cuba , which is the same as the

24 previous     paper that you show ed me with his name .

25 Q.         How about that     piece of paper ?




                                                                     Page 81
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 82 of 227



 1 A.         Big Mike .    A reference      to Michael    Thurman .

 2 Q.         And in side of this , there are also some

 3 identification        cards in this exhibit ?

 4 A.         Yes .

 5 Q.         Whose picture     is on that identification        card ?

 6 A.         Mr. Learley     Goodwin 's .

 7 Q.         How about this one ?

 8 A.         The same .

 9 Q.         And Good win 22 , any number s on this exhibit            --

10 let me zoom out -- that you recognize ?

11 A.         At the bottom     of the page , there 's a reference

12 to John D., which is John -- his name is John D. Irby

13 but his nickname        -- his common     nickname     is John D.,

14 just be low the LSU Medical          Center , Shreveport ,

15 Louisiana     reference .

16 Q.         How about on this page ?

17 A.         Another    reference    to John D. be low the Charity

18 Medical    Center     and a Louisiana     area code .     And there

19 was a reference        to Becky , I believe     at the bottom       of

20 that page .        As you flip ped it , I saw Becky .       Yes .

21 Those are two telephone           number s utilize d by Lavon

22 Dobie .

23            MR. WARD:     May I see that phone number         again ,

24 please ?

25            MS. JOHNSTON:      Certain ly , Counsel .




                                                                  Page 82
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 83 of 227



 1            For the record , it 's 882-37 38 or 39 .

 2            MR. WARD:      Thank you .

 3            BY MS. JOHNSTON:

 4 Q.         Any number s you recognize       on this page ?

 5 A.         No .    Not today .

 6 Q.         The notation , the address       on this page ?

 7 A.         Yes , that 's the address      of Michael   Thurman 's

 8 mother .

 9 Q.         Anything     on this page here ?

10 A.         A 889-6771     code 5000 .    That 's Michael   Thurman 's

11 code .     Reference     to Tall Mike 20 2-409-3452 , code 5000 .

12 Q.         Referring     to whom ?

13 A.         Michael     Thurman .

14 Q.         Next let me show you Goodwin        29 , which is again

15 a group of little         piece s of paper and a wallet .      Do you

16 recognize     the driver 's license      that come s with this

17 exhibit ?

18 A.         Yes .

19 Q.         Whose picture      is on that driver 's license ?

20 A.         Learley     Goodwin 's .

21 Q.         Show ing you another       piece of paper that has some

22 telephone     number s on it and ask if you recognize          any of

23 those number s.

24 A.         Could you slide the paper up a little           bit ?

25 Q.         (Indicati ng .)




                                                                 Page 83
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 84 of 227



 1 A.         No .

 2 Q.         How about on the back ?

 3 A.         Reference    to Anthony        Hall .

 4 Q.         Who Mr. Hall , if you know ?

 5 A.         Associate    of Ms. Martin 's and Mr. Good win 's .

 6 Q.         Do you recall        whether    or not    he was discuss ed in

 7 any of the        telephone     con versations      that were play ed for

 8 this jury ?

 9 A.         Yes .

10 Q.         Okay .    What was that in reference           to ?

11 A.         There was a call with -- I believe              it was Ms.

12 Dobie discuss ing a gun and talk ing about Mr. Hall .

13 Q.         Do you recall        the conversation       that was play ed

14 having   to do with somebody          taking       over Mr. Goodwin 's

15 business     and that that happened           to put him into St.

16 Elizabeth 's ?

17 A.         Yes .

18 Q.         Who was that call between ?

19 A.         That was between        Ms. Martin       and Mr. Goodwin .

20 Q.         Who were they talk ing about ?

21 A.         They were talk ing about Tony Hall .

22 Q.         And here , I don't know          if you can see any of the

23 number s on these little           piece s of paper , any of them

24 look familiar        to you ?

25 A.         Yes .    John D. is listed        at the top of the left




                                                                     Page 84
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 85 of 227



 1 side paper , and then part way down is Nard , and I

 2 believe     be low that , for a second , I could see it is

 3 Cuba is listed     twice and on the --

 4 Q.        The other little     piece of paper ?

 5 A.        Yes , the right side paper , there 's a reference

 6 to Paula (30 1) 27 0-9007 , which was the telephone

 7 designate d target       Telephone    B -- Line B.

 8 Q.        And this card here , are you familiar         with this

 9 card ?

10 A.        Yes .

11 Q.        Okay .   Whose name is that ?

12 A.        That 's a MAMSI life insurance       card with the

13 member    name of Learley     Goodwin    and group name of

14 Paula 's School of Perform ing Arts .

15 Q.        Now , in your re view of the document s that were

16 re covered    from Paula 's School of Perform ing Art s, do

17 you recall     whether    or not    you found any employ ment

18 records     indicati ng that Mr. Goodwin      was employ ed at

19 Paulette 's School of Perform ing Art s between          July 1st

20 of 19 96 and June 30 of 2004 ?

21 A.        I can't recall     any at this time .

22 Q.        And you're     familiar    with that address ; is that

23 correct ?

24 A.        Yes .

25 Q.        Whose address     is that ?




                                                                Page 85
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 86 of 227



 1 A.         That 's Paulette     Martin 's address    in Adelphi , her

 2 former    residence .

 3 Q.         She was n't living        there in 2004 when the search

 4 warrant     was executed     or when Mr. Goodwin     was arrested ;

 5 was she ?

 6 A.         No , she was not .

 7 Q.         Here 's another    card like that , but it has some

 8 number s on it .       Do you recognize      the number s?

 9 A.         Just the upside      down one , not the Lobo number .

10 Q.         How about on the re verse ?        Do you recognize       any

11 of those number s?

12 A.         Yes .

13 Q.         Okay .   What number s do you recognize        there ?

14 A.         The (20 2) 27 7-8177 is a cellular        telephone      of

15 Ms. Martin 's .       The 635-8093      was a hard line at Paula 's

16 School of Perform ing Art s and (20 2) 526 -8641 was a hard

17 line telephone        at 804 Nicholson      Street , Northeast   where

18 Paulette     Martin    re side d brief ly between   moving   from

19 Bexhill     and moving    into Hayward .

20 Q.         Let me next show you what 's been previous ly

21 introduced     as Oglethorpe       5.    Do you recall   where this

22 item was re covered       from ?

23 A.         Oglethorpe     Street .

24 Q.         What is it ?

25 A.         It 's a -- I'm not sure if it 's a legitimate             DC




                                                                 Page 86
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 87 of 227



 1 driver 's license , but it 's a -- what appear s to be a DC

 2 driver 's license     bear ing the name Gary G. Vessels         but

 3 Mr. Goodwin 's photo .

 4 Q.       You recognize     the picture     on there ?

 5 A.       Yes .

 6 Q.       Who is that ?

 7 A.       Learley    Goodwin .

 8 Q.       Show ing you Oglethorpe      7.    Do you recognize     any

 9 number s in this note pad ?

10 A.       Yes .    Mr. Thurman 's cellular     telephone    with the

11 code 5000 , the (30 1) 213 -49 34 , and Larry Lane 's number

12 at the bottom      of the page .   It says Larry , new number .

13 Q.       How about on this page ?

14 A.       At the top is Mr. Thurman 's code 5000 again , and

15 half way down is John D., referring         to John Irby .

16 Q.       Any number s on this page ?

17 A.       In blue is ( 240 ) 223 -7729 with a code of 212 .

18 That 's Luis Mangual 's telephone , which we were

19 intercept ing from April through         June , 2004 . 212 , he 's

20 from -- he was original ly -- he 's call ed New York Louis

21 sometimes , and 212 would reference         the New York area

22 code .

23 Q.       During    the course   of your investigation , what if

24 any , contact     did you come across between       Mr. Thurman

25 and Mr. Mangual ?




                                                                Page 87
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 88 of 227



 1 A.         None .

 2 Q.         Or Mr. Man gual and Larry Lane ?

 3 A.         None .

 4 Q.         How about this page ?

 5 A.         Big Mike at the top .

 6 Q.         Is a reference      to whom ?

 7 A.         Michael     Thurman .

 8 Q.         Look ing at this page ?         Recognize    any of those

 9 number s?

10 A.         Could you slide it down a little             bit ?   Louis NY

11 is Luis Mangual .         That 's the telephone        number , (240 )

12 35 3-8438 , which we discuss ed a little             while ago .     It

13 was a phone which he shut off in -- I believe                   it was

14 February , 2004 .

15 Q.         And the one you just previously             talk ed about ,

16 was that the one that you had the wiretap                 up on ?

17 A.         No .     This was a predecessor      to that phone .

18 Q.         Again , on this page , any number s you recognize ?

19 A.         At the bottom , (30 1) 213 -49 34 is Thurman 's phone

20 with code 5000 be hind it .

21 Q.         And this number         here , I think you had reference d

22 before .     Do you recognize        that number ?

23 A.         Yes .

24 Q.         Whose number     is that ?

25 A.         Luis Mangual 's .




                                                                       Page 88
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 89 of 227



 1 Q.        When did he have that number ?         Do you recall ?

 2 A.        He had it from sometime        in the spring    of '04

 3 until his arrest .

 4 Q.        What would be -- you mention ed Mr. Thurman             in a

 5 lot of these notebook s had the code 5000 and now Mr.

 6 Mangual    had that code 212 after his number .          What ,

 7 based on your train ing and experience , is the purpose

 8 of the role that codes play in the drug business ?

 9 A.        It 's a way of identify ing your number ,

10 especially      if you're   using a pager , which is gradual ly

11 fadi ng out .     Very few -- people      are start ing to use

12 pager s less and less as cell phone s take over , but it 's

13 a way of dial ing a number       and leavi ng a code so the

14 person    know s who 's call ing , so they know whether       or not

15 they want to pick it up , whether          it 's important , or it

16 identi fies the     page so they know who 's calling        if they

17 don't recognize      the number , and they call it back .

18 Just like people      in everyday      life can use code with

19 family    and friends .

20 Q.        Now , similar ly , did you have occasion        to re view

21 item s that were seize d from the Hayward          address , the

22 home residence      of Ms. Martin      back on June 4th of 2004 ?

23 A.        Yes .

24 Q.        Are you also familiar        with Call B1311 on Page

25 16 2 of the transcript       book s?




                                                                Page 89
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 90 of 227



 1 A.          Yes .

 2 Q.          Do you have that in front of you ?

 3 A.          No , I do not .

 4 Q.          Here , let me give you a book , Page 16 2 and 3 is

 5 that call .

 6             Was that an in comi ng call to Ms. Martin 's home

 7 phone or an outgoing          call ?

 8             MR. MONTEMARANO:          Objection , Your Honor .      We've

 9 already     had testimony      about this call and it 's been

10 play ed .     It 's cumulative .

11             THE COURT:     Over ruled .

12             THE WITNESS:      It 's outgoing .

13             BY MS. JOHNSTON:

14 Q.          Do you recognize       the number    that it was outgoing

15 to ?

16 A.          Yes .

17 Q.          What number    is that ?

18 A.          (240 ) 687 -317 2.

19 Q.          Let me show you a couple         of exhibit s, Hayward       2

20 and Hayward         9, and ask you to take a look at those

21 exhibit s whether        or not that telephone       number   is

22 reference d in either         one of those exhibit s.

23 A.          It is in Hayward       2, and in Hayward    9.

24 Q.          And the number       reference d on Page 16 2, let me

25 show you first Hayward           2.    Where does that appear       in




                                                                      Page 90
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 91 of 227



1 Hayward      2?

2 A.        That 's the same number          that was reference d in

3 Call B13 11 and instead         of Bob , it 's Bop .

4 Q.        And you also mention ed that it 's in Hayward               9;

5 is that correct ?

6 A.        Yes, ma'am .

7 Q.        Show ing you Hayward        9.

8 A.        Under the 13 th , the second         number   down be low

9 Deborah      Darby .

10 Q.       There appear       to be several     different   number s

11 that have been cross ed out ; is that correct ?

12 A.       One number is cross ed out and then the number                   --

13 the call -- telephone         number   call ed in B1311 is written

14 above it , next to Bop , and then be low that is another

15 -- is a repeat        of more number s with Bop .

16 Q.       Of the same number         that was on the     call that was

17 intercept ed ; is that correct ?

18 A.       Yes .

19 Q.       Now , in addition , there are some other stick ie s

20 on here .        Do you recognize   some of the other -- for

21 example , in Hayward       9, some of the other telephone

22 number s?

23 A.       That 's a reference        to Gwen Levi and a hard line

24 telephone        at 5844 Digger 's Lane .

25 Q.       How about here on this page , recognize            any ?




                                                                 Page 91
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 92 of 227



1 A.         Bo lo , (202 ) 498-1051 is Derrick      Bynum 's

2 telephone .

3 Q.         Recognize    any of the other number s on that page ?

4 A.         One that says Bro, but I'm not --

5 Q.         Was there -- in term s of Mr. Bynum , were those

6 number s that you intercept ed ?        Do you recall ?

7 A.         1051 we intercept ed , and I believe        the 853-6766

8 was also intercept ed .

9 Q.         Then on this page ?      Recognize    any of the

10 number s?

11 A.        Louis and Jade .     That 's reference    to Luis

12 Mangual     and Jade Falu [ph.], (240)       353- 8438 is th at

13 same Sprint telephone       that he got rid of in February         of

14 '02 -- '04.

15 Q.        And the number s underneath        that one ?

16 A.        The (301 ) 587 -8298 is a hard line he had either

17 at Spring Street or Eisley        Street .     He had an apartment

18 at both location s.

19 Q.        And the next page ?

20 A.        John D., John Irby .

21 Q.        The next page ?

22 A.        G-B ird .   It 's Gene Bird 's .

23 Q.        And again , in February     of '03, do you recognize

24 that number ?

25 A.        No .




                                                                 Page 92
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 93 of 227



 1 Q.        How about on March 3rd of 03?            Recognize   any of

 2 those number s?

 3 A.        Nathan      and Liz .   That 's a reference   to Nathan

 4 King and Elizabeth         Evans and their telephone        number   in

 5 Mississippi , and Black at the top is a reference               to

 6 Gerald    Isl and .

 7 Q.        And this page here , December          of '03, do you

 8 recognize    any of that information ?

 9 A.        That 's Detective       Mike Johnson    is the arresting

10 officer    of Nathan      King when he was arrested       in

11 Indian apolis      in October     of 200 3, and beneath     that is a

12 317 area code telephone           number , which is   Indian apolis

13 area in Indiana .

14 Q.        Are there similar        number s in the other exhibit ,

15 for example , Hayward        2?

16           MR. MONTEMARANO :        Objection , lead ing .

17           THE COURT:       Re phrase   the question .   You can do

18 that non -lead ing .

19           BY MS. JOHNSTON:

20 Q.        What did you do with Hayward           2 in term s of

21 telephone    number s and the book ?

22 A.        Re view ed it to see if any number s struck          me as

23 being relevant        to the case .

24 Q.        Okay .      On this page , are there any other number s

25 that are relevant         to the case ?




                                                                  Page 93
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 94 of 227



 1 A.         Luis and Jade , (240 ) 35 3-8438 .

 2 Q.         How about on this page ?

 3 A.         Bop , who we jus t s poke about a minute        or so ago .

 4 Q.         On this page , there 's a reference         to a John nie

 5 Short .

 6 A.         Yes .

 7 Q.         Was Ms. Short intercept ed during          the course    of

 8 this trial ?

 9 A.         She was , during the intercept .

10 Q.         How about this page here ?

11 A.         Yes .   Paula .   Paulette    Martin    had another

12 cellular     tel ephone   that was use d very in frequent ly .

13 Q.         And that 's the number       for that one ?

14 A.         Yes, ma'am .

15 Q.         That 's not the one you were intercept ing her on ;

16 is that correct ?

17 A.         That 's correct .

18 Q.         And this reference       here .   Do you recognize      that ?

19 A.         That 's Luis Mangual 's address         in Washington , D.

20 C.   It 's actual ly not his address .            It 's -- 6213 is his

21 address , and Sheridan       is a cross street .        He live d at

22 621 3 14 th Street .      Sheridan    is the cross street        right

23 next to his house .

24 Q.         Let me show you what 's been previous ly

25 introduced     as Hayward    28 .    Do you recognize     this page ?




                                                                    Page 94
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 95 of 227



 1 A.       Yes .

 2 Q.       Can you tell us what's       depict ed on that page ?

 3 A.       The top of the page , it bear s the initial s RCW,

 4 which is Reece Whiting 's initial s, and then there is a

 5 ledger   of activity .

 6 Q.       What time period      is covered    by that activity ?

 7 A.       March of 2000 through       April of 2002 .

 8 Q.       What's   the balance    owe d?

 9 A.       $11,530 .

10 Q.       Find any indication      in here where that was

11 continued     on on another   page or actual ly zeroed       out to

12 nothing ?

13 A.       No , not that I found .

14 Q.       Now , in term s of -- were you -- strike          that .

15          On June 1st of 2004 , were you work ing on that

16 date ?

17 A.       I'm sorry ?

18 Q.       Were you work ing on June 1st of 2004 ?

19 A.       Yes , I was .

20 Q.       Did you actually      go to any of the     search

21 location s?

22 A.       I went to two location s.

23 Q.       What were those location s?

24 A.       810 Hayward     Avenue and 5559 South Dakota        Avenue ,

25 Northeast , Washington , D. C.




                                                                Page 95
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 96 of 227



 1 Q.         While you were at Hayward         Avenue -- strike     that .

 2            Did you go to Hayward         Avenue first ?

 3 A.         Yes .

 4 Q.         What did you obtain         at Hayward   Avenue ?

 5 A.         I obtain ed the key s for the door at 5559 South

 6 Dakota   Avenue .

 7 Q.         Where did you re cover them from ?

 8 A.         From a purse in the base ment .          I believe   it was

 9 a Louis Vuitton .

10 Q.         Excuse     me ?

11 A.         I believe         it was a Louis Vuitton   purse .

12 Q.         How many women were in the base ment ?

13 A.         Pardon ?

14 Q.         How many women were in the base ment when you

15 re covered    the key s from       that purse ?

16 A.         Just one .

17 Q.         Who was that ?

18 A.         Paulette     Martin.

19 Q.         What did you do with those key s?

20 A.         I took them to 5559 South Dakota           Avenue and use d

21 them to un lock the door so we would not have to breach

22 that door .

23 Q.         Now , we did talk a little        bit about pin

24 register s.        Did you prepare      a summary   chart show ing pin

25 register     contact     between    Ms. Martin    and various   member s




                                                                   Page 96
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 97 of 227



 1 of -- various       defendant s and other individuals         involve d

 2 in this case ?

 3 A.         Yes .

 4 Q.         If I could have you step down and we'll re view

 5 that chart with the jury .

 6            THE COURT:    Ms. Johnston , you have a small

 7 version    of this one so I can follow           along ?

 8            MS. JOHNSTON:       Court 's indulgence .

 9            This is CH-2 , Your Honor .         I thought    we had

10 provided     them last week , but let me see if I have an

11 extra copy .       Detective   Eveler      has one that does n't have

12 any notes on it .

13            THE COURT:    This is what he 's re view ing now ?

14            MS. JOHNSTON:       That 's what he 's re view ing now ,

15 Your Honor .

16            THE COURT:    Okay .

17            BY MS. JOHNSTON:

18 Q.         Why don't we take this and mark this item as

19 CH-2 A for identification         only .     If you could look at

20 CH-2 A and tell the jury what that stack of materials

21 is .

22 A.         These are the -- this is a printout             of the

23 search    I did in our database         where we keep all the DNR

24 data , when the pin register         DNR data is place d into a

25 computer     system , so then we can then count it rapidly




                                                                   Page 97
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 98 of 227



 1 and notice      trends   and relationship s that would be very

 2 difficult     to do look ing at one record      and then look ing

 3 at another      and sitting   there count ing them by hand .

 4 Q.       Using that record , did you prepare          a chart that

 5 summarize d contact s between      Ms. Martin 's known

 6 telephone s and number s associate d that you identifi ed

 7 as being associate d with individuals          in this case ?

 8 A.       I did .

 9 Q.       If you could start , first of all , with the

10 center   of that chart -- let me give you the laser

11 point er .    If you could , back ing up and start ing in the

12 center , tell ing the ladies and gentlemen          what those

13 number s are .

14 A.       The first three number s listed , the 27 1, 27 6,

15 and 27 7 number s were all cellular        telephone s of Ms.

16 Martin 's .     The (20 2) 526 -8641 is a hard line telephone

17 that was locate d at 804 Nicholson         Street in D. C. where

18 she re side d for a period      of time ; (202) 635-8093        is a

19 hard line for Paula 's School of Perform ing Art s and

20 (301 ) 270-9007     is the hard line we intercept ed during

21 the wiretap .

22 Q.       You don't have any of the        number s, for example ,

23 the hard line at Bexhill        Court included     on this chart .

24 A.       No .    I did not have a pin register        on that

25 telephone .




                                                                Page 98
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 99 of 227



 1 Q.        Why was that ?

 2 A.        We obtain ed a pin register           for her cell phone a

 3 very short time after she move d from Bexhill .

 4 Q.        So although    there were other in vestigations,

 5 your investigation       --

 6           MR. MONTEMARANO :      Objection , lead ing .

 7           BY MS. JOHNSTON:

 8 Q.        Prior to -- when did you start your

 9 investigation ?

10 A.        October    of 2002 .

11 Q.        Do you recall , based on the land records             you

12 testifi ed to last week , when she move d to Bexhill

13 Court ?

14 A.        I believe    the sale was in November         of '02.

15 Q.        If you could continue        then .     How did you arrange

16 the name s of these people       on the chart around        Ms.

17 Martin 's number s in the center ?

18 A.        I just place d them in alphabetical           order

19 start ing with Ms. Ali and going around .

20           (Witness    indicati ng .)

21 Q.        There 's no particular       significance     to where

22 they're   place d on the chart ; is that correct ?

23 A.        That 's correct .

24 Q.        Why are some in red and other s in black ?

25 A.        The red mere ly indicate s whether          they are a




                                                                   Page 99
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 100 of 227



 1 defendant      in court today .

 2 Q.          If you could start and explain        what number s and

 3 what the contact        was between     Ms. Martin 's number s in

 4 the center      beginning   with Ms. Ali .

 5 A.          Ms. Ali , we have    the telephone    contact s between

 6 these five telephone        number s.     The 853 number s are hard

 7 line telephone s at her residence           at Sheridan    Street .

 8 The 219 and the 646 are both cellular            telephone s --

 9 Cingular      wire less cell phone s, and this telephone           --

10 I'm sorry .      That is the -- her work telephone           number ,

11 the (20 2) 645 -4439 .

12 Q.          Could you explain     to us what's    reflect ed on the

13 chart in relation        to Ms. Ali 's telephone     number s and

14 contact      with Ms. Martin ?

15 A.          DNR data , pin register      data , show ed between

16 April 8 of 2001 and May 31 of 2004 , there were 2,441

17 contact s between th ese telephone s an d Ms. Martin 's

18 telephone s.

19 Q.          Could you explain     for the ladies and gentlemen

20 of the jury      what you mean by "contact "?

21 A.          It mean s that there was enough       that it was

22 enough      for the DNR to capture       that the number     was

23 call ed .     So it could be a -- as long as        you dialed      the

24 digits      complete   and the phone company     actual ly

25 connect ed the call , enough       for your phone to be




                                                                 Page 100
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 101 of 227



 1 activate d.      That 's a contact .

 2 Q.       Okay .    Does that include      call s that would not

 3 actual ly be conversation s?

 4 A.       Yes .

 5          And hang -up s and voice mail s and stuff like

 6 that .

 7 Q.       Is there any way -- those include             call s during

 8 what time period      again ?

 9 A.       April of 2000 through         May of 2004 .

10 Q.       So would there be call s includ ed in there that

11 were not intercept ed during        the time that the wire was

12 up ?

13 A.       Yes .

14          Those also include       -- those do not include        --

15 these contact s do not include , if you notice             during

16 when you look ed at the transcript s, there were some

17 call s that mere ly show ed up as in comi ng .         Sometimes      the

18 equipment     does not cap ture the number .       It does not

19 mean there was not a contact , it just mean s th at the

20 number   was not captured , so it would go into the

21 account .

22 Q.       If you would go into the next one .

23 A.       These are four telephone         number s for Mr. Bynum .

24 He was intercept ed over , I believe , over every one .

25 These are all telephone         number s that he was intercept ed




                                                                 Page 101
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 102 of 227



 1 utilizi ng .    The 853 is a hard line at Ray Road .           The

 2 49 8- 1051 is his cellular       telephone , and then there 's

 3 two other cellular      tel ephones    sub scribe d to other

 4 individuals     that he was intercept ed using , and from

 5 August     7, 2001 , through    May 27 , 2004 , there were 858

 6 contact s between     Mr. Bynum 's telephone s and Ms.

 7 Martin 's telephone s.

 8 Q.         Is that a Ms. Dobie .

 9 A.         These three telephone s, the 882 and -- the two

10 882 number s are hard line telephone s at 7427 9th

11 Street .     The 39 0-48 05 is a cellular    telephone .     From

12 September , 2003 , to June 1, 2004 , there were 1,268

13 contact s.

14 Q.         Mr. Goodwin ?

15 A.         The (282) 38 8-9033 is the hard line at Lobo's

16 Discount     Car Center .   The 726 number s are -- the 39 0 is

17 a cell phone , which he was intercept ed using .            The

18 9033 , he was also intercept ed using .         The 583-4389      is a

19 hard line at Anacostia         Road -- 1323 Anacostia      Road

20 Southeast .     The 726 and -- both 726 number s are hard

21 line phone s at 36 Farragut        Place where Mr. Goodwin        was

22 arrested , and the (20 2) 839 -0259 is a hard line at 846

23 Oglethorpe     Street , which is intercept ed using also .

24 Q.         What's   the total number    of contact s over what

25 time period ?




                                                               Page 102
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 103 of 227



1 A.         There were 856 contact s between         November     12 ,

2 200 2 and June 1st , 2004 .

3 Q.         If you could go to Ms. Hard en , the next name on

4 the list .

5 A.         Between   December    15 , 200 2, and May 31 , 2004 ,

6 there are 216 contact s between            -- the (202) 321-5105        is

7 a -- is her cellular         telephone     and the (410 ) 28 5-4227

8 is the hard line at her residence .             She was intercept ed

9 over both .

10 Q.        Mr. Harris , who is Mr. Harris ?

11 A.        Mr. Harris      is a customer    of Ms. Martin 's .     I

12 believe   he play ed -- well , we play ed some of his call s.

13 The eight -- the (30 1) 843 number s are hard line

14 telephone    number s at his residence        in Waldorf ,

15 Maryland , and the (30 1) 848 is his cellular           telephone .

16 From February , '03, to June , '04, there were 267

17 contact s.

18 Q.        Continui ng with Mr.        -- Ms. Gwen Levi .

19 A.        (20 2) 48 7-1373 was our Target Telephone           No. 5 or

20 Line B, that was her cellular           telephone .   The (4 10)

21 579 -8565 and (410) 796-4622          were both hard line s at her

22 residence    at 5844 Digger 's Lane , that 's the residence

23 where we execut ed the       search    warrant .   There were 39 5

24 contact s between      June 16 , '03, and April 25 of '04.

25 Q.        Continui ng ?




                                                                 Page 103
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 104 of 227



 1 A.         Did I say June ?        It 's July .     I think I said

 2 June .

 3 Q.         What is it ?

 4 A.         It 's July 16 , '03, to April '04.            I may have

 5 said June .

 6 Q.         Okay .    The next one , Mr. Mangual .

 7 A.         The next one is -- the first phone is (202)

 8 49 8-1 844 .     That is a cellular       telephone    that was our

 9 Line C, Target Telephone            3, utilize d by Luis Mangual .

10 Q.         When you sa y " line ," you mean it was

11 intercept ed ?

12 A.         Yes .    We had an authorization          for wiretap    on

13 that phone .

14            (240 ) 223 -7729 is a NexTel           phone that was our

15 Line D that was utilize d by Mr. Mangual , and he was

16 intercept ed on both of these ; (240 ) 35 3-8438 was the

17 predecessor        phone .     That was the phone he got rid of in

18 February       of '04.       And the ( 30 1) 537 -9292 and 587-8298

19 were hard line telephone s that had at the apartment                      at

20 Silver Spring that he use d, and between               October     31 ,

21 200 2 and May 31 , 2004 , there were 49 8 contact s between

22 Mr. Mangual 's phone s and Ms. Martin 's phone s.

23 Q.         Continue      with Mr. Nunn .

24 A.         Mr. Nunn in -- there were (20 2) 727 -7705 wa s a

25 hard line at 423 Jefferson            Street , which is his




                                                                    Page 104
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 105 of 227



 1 parent 's -- his mother 's address .           He was stay ing there

 2 sometimes , and in the process           of moving     to the Mesrot

 3 Road add ress, and he also had a telephone               (202)

 4 299-7677 , which is         a cellular   telephone .     He was

 5 intercept ed on both , a conversation           with Ms. Martin ,

 6 and there were 514 contact s between            October    17 , 200 3,

 7 and May 29 , 2004 .         The next phone is -- next person           is

 8 Perne ll Philpot .

 9 Q.         Who was Mr. Philpot ?

10 A.         He was the individual         arrested   in Wyoming    in

11 March of 2004 on his way from California                to Maryland .

12            These are all telephone s utilize d by Mr.

13 Philpot .     They're      all hard line s except      for the (20 2)

14 528 -29 28 , which is a cell .       All the rest are hard line s

15 at his residence , and there were 216 contact s between

16 November     28 , 200 2 and May 18 , 2004 .

17 Q.         If he was arrested      in -- when was he arrested

18 Mr. Philpot      in Wyoming ?

19 A.         Mi d- March .

20 Q.         Of when ?

21 A.         2004 .

22 Q.         Why have you associate d some call s going into

23 May 18 of 2004 with Mr. Philpot ?

24 A.         Call s were being three -way ed from the jail .             He

25 was in the Clark County Detention             Center and there 's




                                                                    Page 105
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 106 of 227



 1 another     detention     center   that alludes      me at the moment

 2 in Wyoming , through        the hard line s of his residence           to

 3 Ms. Martin , so they were still speak ing even after his

 4 arrest , as well as Ms. Martin            contact ed his wife and we

 5 play ed that call in court .

 6 Q.          Okay .    If you could go to the next one .          William

 7 Turn er .     First of all , who is Mr. Turn er ?

 8 A.          Mr. Turn er is William       "Dog " Turn er .   That 's Gwen

 9 Levi 's partner /boy friend        and he was in the house when

10 we executed      the search    warrant     on Digger 's Lane on

11 April 24 , 2004 .

12 Q.          Explain    the con tacts,    please .

13 A.          This is his cellular        telephone , and there were

14 25 contact s between        July 15 , 200 3 and April 25 , 2004 .

15 Q.          Tiffany    Vessels ?

16 A.          Tiffany    -- this is a cell phone subscribe d to

17 Tiffany     Vessels .     There were 22 contact s between        July

18 27 , 200 3, and May 26 , 2004 , and both Mr. Goodwin             and

19 Ms. Vessels      were intercept ed over this line .

20 Q.          And Milburn    Walker ?

21 A.          Milburn    Walker , this is his cellular        telephone ,

22 (20 2) 904-34 14 , and between          November    1st , 2002 , and

23 June 1st , 2004 , there were 585 contact s, and I believe

24 we play ed some of those call s.

25 Q.          Who was Mr. Walker , based on the call s we




                                                                   Page 106
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 107 of 227



 1 play ed ?

 2 A.          He 's a customer    of Ms. Martin 's .

 3 Q.          And to the last one , Reece Whiting .

 4 A.          This is Mr. Whiting 's cellular     telephone , and

 5 there were 351 contact s between         April 12 , 200 1 and May

 6 28 , 2004 .

 7 Q.          This chart .   Is it limited    to telephone        number s

 8 you've      identifi ed with these individual        people ?

 9 A.          Yes .

10 Q.          Based only on the data that you got from Ms.

11 Martin 's phone as opposed         to data from the individual 's

12 phone s?

13 A.          It 's based on her pin register     data and air time

14 record      data .

15 Q.          From Ms. Martin ?

16 A.          Yes .

17 Q.          So you -- did you have pin register s on all of

18 these other individual 's phone s?

19 A.          No .

20 Q.          And why would n't you have pin register s on these

21 other people 's phone s when you had them on Ms. Martin 's

22 phone s?

23 A.          One , we were conduct ing a --

24 Q.          Other than , I guess , Mr. Mangual .

25 A.          Well , prior to the wiretap , we were try ing to




                                                                   Page 107
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 108 of 227



1 identify     who her associate s were , so we just did the --

2 they're    very ex pensive    and you have to have -- one , you

3 have to have a court order to obtain              a pin register ,

4 and two , it 's ex pensive .     You don't just run around

5 willy -nilly , slap ping pin register s on people 's phone s.

6 You have to pick and choose         where to ex pend your time

7 and assets .

8 Q.         In addition   to Ms. Martin , did you run pin

9 register s on a couple       of people 's phone s that are on

10 this list ?

11 A.        Yes .   We had pin register s on Gwen Levi 's

12 phone s, Louis Mangual , and I can't -- I can't recall              if

13 we had one on William       Turner's    phone or not .

14 Q.        Why did you , based on your train ing and

15 experience , elect to go from Ms. Martin 's pin register s

16 to the pin register s on Ms. Levi and Mr. Mangual 's

17 phone and possibly      Mr. Turner's ?

18 A.        Once they were identifi ed as her source s of

19 supply , and we want ed to obtain        authorization    to

20 intercept     their telephone   conversation s with their

21 source s of supply , you have to have air time and DNR

22 records , that 's a requirement        as part    of your court

23 authorization     to show these connection s.

24 Q.        Again , these -- does this chart show what they

25 were speak ing about ?




                                                               Page 108
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 109 of 227



1 A.          No , it does not .

2 Q.          For the time -- the period         of time here , during

3 what period         were you able to intercept      two of Ms.

4 Martin 's phone s?

5 A.          March 8    through    June 2nd 2004 .

6 Q.          Did you also have a pin register          on the

7 telephone      of Paulette 's School of Perform ing Art s?

8 A.          Yes .

9 Q.          Do you recall       when you had that pin register       up ?

10 Let my show you --

11 A.         Right here ?

12 Q.         -- Miscellaneous       39 and ask you if you can

13 identify     those records .

14 A.         Yes .

15 Q.         What are those ?

16 A.         This is a printout        of the pin register      activity

17 for the hard line -- one of the             hard line 's of Paul a's

18 School of Perform ing Art s.

19 Q.         If I can put it up on the chart so everyone             can

20 see it , and you can use the laser and explain             to the

21 ladies and gentlemen of the jury             what we're look ing at

22 here , start ing right at the top with the caption .

23 A.         At the top is -- this is just the type of report

24 I asked the computer           to do .   All this is is

25 chronological        listing    of the telephone   number s dialed




                                                                  Page 109
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 110 of 227



 1 in and out of the business .

 2 Q.       Start ing with the first column , what's            that

 3 telephone   number    in there ?

 4 A.       That 's the target      telephone .     That 's the

 5 telephone   that you have to get        the DNR.

 6 Q.       Target    telephone,    and this particular        target

 7 telephone   was locate d where ?

 8 A.       This was locate d at Paula 's School of Perform ing

 9 Art s at 5595 South Dakota         Avenue .

10 Q.       When did this start ?

11 A.       The first date we received           was January    9, 2003 ,

12 at 12 :44 hour s.

13 Q.       What 's the call duration would           tell us what?

14 A.       How long the call lasted .

15 Q.       How long did the first call last ?

16 A.       One second .

17 Q.       Number    dialed , what does that tell us ?

18 A.       If it -- this just show ed us as an in comi ng

19 call .   It's straight    in comi ng call , and we did not --

20 the cap equipment      did not capture        the dial in digits .

21 Q.       If we go further       down there , there 's one that

22 says in dash and there 's a number            (30 1) 972-37 68 .     Can

23 you de scribe     to the ladies and gentlemen         of the jury

24 what that is ?

25 A.       That 's an incomi ng call from (301) 972-3768,               and




                                                                  Page 110
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 111 of 227



 1 the equipment       actual ly captured      it .

 2 Q.        This data on this chart goes from October                 29 ,

 3 2003 , until what date ?

 4 A.        December     15 , 2003 .

 5 Q.        And what happened          on December    15 of 2003 ?

 6 A.        We shut it down .

 7 Q.        Why did you shut down the pin register ?

 8 A.        It was not -- the phone was the only -- it was

 9 not only , but rare ly receiving           anything    but in comi ng

10 call s with very little        duration     to show there was no

11 mean ing ful activity      on that phone .

12 Q.        If we could look at some of the number s on

13 there , if we go down , there is an indication              of four

14 minute s for a call .       That 's on November        3 at eight --

15 is that 8:57 in the morn ing ?            Eight o'clock    and 57

16 seconds    in the morn ing or during         the night ?

17 A.        That 's in the morn ing .

18 Q.        Okay .     And then what 's the      duration    of that

19 call ?

20 A.        Four minute s.

21 Q.        Do you , by chance , recognize           the number   next to

22 it ?

23 A.        No .     It was n't any one of significance .            It was

24 later identifi ed -- it was n't anyone             we intercept ed

25 later in the wiretap .         I do have a note somewhere            who




                                                                   Page 111
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 112 of 227



 1 that is , but it alludes            me .

 2 Q.         Excuse     me ?

 3 A.         I do have the note of who that is , but I don't

 4 have it with me at the moment .

 5 Q.         And then there is a -- look s like a 17 -minute

 6 call on November         3rd .

 7 A.         Yes .

 8 Q.         The same date .

 9 A.         Yes .

10 Q.         Were you able to tell who that call was from ?

11 A.         No .     The equipment      did not capture    the digits

12 dialed .     It dialed       in .

13 Q.         And in re view ing this , do those appear             to be the

14 only call s of any significant             duration ?

15 A.         There was one other call that day .             There 's a

16 three -minute       call right there .

17 Q.         Again , on what date was that ?

18 A.         That 's November         3rd also .

19 Q.         Of 2003 ?

20 A.         Yes .

21 Q.         Okay .     Again , that (20 2) 48 7-6517 number , do you

22 recognize     that number ?

23 A.         Not as being a significant            number , no .

24 Q.         Would have been the business            phone ; is that

25 correct ?




                                                                     Page 112
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 113 of 227



 1 A.         Yes .

 2 Q.         To your knowledge , were there any other business

 3 line s at that school ?

 4 A.         Yes .

 5 Q.         How did they relate      to this line ?

 6 A.         You can have as many phone line s as you were

 7 willing    to pay for at a business .

 8 Q.         Were they roll over line s?

 9 A.         I don't know    how they were engineer ed .       There

10 was 635-8093       at that same location .

11 Q.         Do you know whether      or not that had more

12 activity     than this one ?

13 A.         I can't recall .

14            MS. JOHNSTON:      Your Honor , I don't know      if the

15 Court want s to take a re cess at this time .

16            THE COURT:     You're   not almost   finish ed , are you ?

17            MS. JOHNSTON:      Not in five minute s, Your Honor .

18 I have two more chart s to do .

19            THE COURT:     Ladies and gentlemen    , we'll take a

20 recess    until 2:15 by that clock .

21            Counsel , I'll return     to the bench at 2:05 by

22 that clock .

23                    (Jury excused at 1:05 p.m.)

24                    (Off the record    at 1:05 p.m. )

25                    (On the record    at 2:13 p.m. )




                                                                Page 113
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 114 of 227



 1           THE COURT:      Counsel , have you had a chance         to

 2 look at the case that I brought           to your attention

 3 during    the luncheon     recess ?

 4           MR. MONTEMARANO:         Yes , Your Honor .

 5           THE COURT:      Does anyone    have some better      idea s

 6 than I did about how to treat this issue ?               Go to it .

 7           MR. MONTEMARANO:         Well , Your Honor , I am not

 8 going to proceed        precise ly from the Court 's phrasi ng

 9 because    then I'd sound sarcastic .

10           THE COURT:      I'm being facetious .         That 's all

11 right .

12           MR. MONTEMARANO:         I would adhere   to my initial

13 point of view that this chart , with those particular

14 entri es , cannot      be use d.   The Johnson   case make s

15 pain fully clear that summary          chart s were summari es of

16 actual    evidence .     At the very least , testimony        of a

17 person    who delivered     or pick ed up CDS from the

18 defendant s in question .

19           If that were based upon a delivery             by Mangual     or

20 a delivery     to Mangual , which Mr. Mangual        had testifi ed

21 about , I would , like it or not , have to concede

22 honest ly , if not for the record , because          I do represent

23 Ms. Martin .     It's not my job to agree with the

24 government     on anything    that it fit within        the rubric

25 de fine d by Johnson .      I submit , however , there is no




                                                                  Page 114
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 115 of 227



 1 evidence     even through     the mouth of the lie on

 2 cooperator     of a delivery     on th ese specific      date s and

 3 time s set forth on the summary           chart .

 4            Those date s, so the record        is clear , are the

 5 reference     on 3/10 of '04, 3/13 of '04, 3/17 of '04,

 6 3/24 twice , 3/26 , 4/29 , and that is it .            It 's just

 7 three page s.        In each case , not only did it talk about

 8 Martin   receive s cocaine      from Luis Mangual       over and over

 9 again , but it is broken        into section s.      Cocaine

10 delivery     one , cocaine    delivery    two -- the fact is

11 there 's no evidence       of delivery , there 's evidence           of a

12 meet ing .    There is no evidence        of cocaine    or any other

13 drug or any drug -- cocaine            in lieu of any other drug ,

14 and the simple        fact is that is opinion       testimony    from

15 Sergeant     Sakala .

16            It is not evidence     in this case which can be

17 summarize d.     In essence , an opinion       is summary .      I

18 summarize     what is given to me and I draw hyp othesis

19 from it .     This is a summary        of that summary , and for

20 that reason , I submit        cannot    be permitted    to come in .

21            Johnson    is pain fully clear .     It does not stretch

22 this far and the dicta in Johnson            discus sing some of

23 the other situations         where it does and does n't come in ,

24 and the base s for the admission           of this particular

25 evidence     make s clear what it does not permit , this what




                                                                   Page 115
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 116 of 227



 1 we have in this case is one --

 2          THE COURT:      Show me where it says it does not

 3 permit   this if you have the opinion          in front of you .

 4          MR. MONTEMARANO :        It does not say it does not

 5 permit   this .   What it   says is it permit s other things

 6 and it is very clear why it permit s it .

 7          Court 's indulgence .

 8          For exam ple, approximately          -- if you look on

 9 Page 1157 in the first column .

10          THE COURT:      I'm sorry , what page ?

11          MR. MONTEMARANO :        1157 , in the left-hand     column .

12          THE COURT:      Wait a minute .       Which -- give me the

13 page numb er from the Lexus version , the upper

14 right-hand    corner .    Are you look ing at that version ?

15          MR. MONTEMARANO:         I am look ing at the report er 's

16 version , which I would glad to provide .            Mr. Krinsky       is

17 going to provide      it to you .

18          THE COURT:      Tell me what page .

19          MR. MONTEMARANO:         1157 .

20          THE COURT:      Okay .

21          MR. MONTEMARANO:         Left-hand    column .

22          THE COURT:      Wait a minute .       Let me get there .

23          MR. MONTEMARANO:         Head note six .    It 's

24 subsection    A for alpha within       the opinion .      It 's head

25 note six per the report er .




                                                                 Page 116
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 117 of 227



 1            THE COURT:    Okay .

 2            MR. MONTEMARANO :      It says the organizational

 3 chart was , in essence , a summary          exhibit    reflect ing a

 4 compilation     of testimony      already   adduced    at trial .     It

 5 listed    source s of crack and the principal s, including

 6 appellant , and the connection s between           them .    I'll

 7 quote , name s print ed in black represent            the person s

 8 who , based upon the testimony , either          bought     crack from

 9 or distributed     crack for only one principal ; name s

10 print ed in red represent         the person s who work ed for

11 more than one principal .

12            Both appellant s stipulate d that the column s of

13 name s under their respect ive name s accurate ly depict ed

14 the testimony     of other witness es who had allegedly

15 received     crack from them .      We have no t stipulate d that

16 there was a delivery        that day of anything , let alone

17 cocaine .

18            The government    make s two leap ing leap s, (a) a

19 delivery , (b) that it 's cocaine .          In deed , there 's

20 nothing     from the evidence      which Sergeant      Sakala   has

21 adduced     his conclusion s from that let s us know it 's

22 cocaine .

23            Now , let 's be entire ly candid .      Not that long

24 thereafter , about a month and a half , two , two and a

25 half month s, I'd be a fool to suggest           otherwise , there




                                                                   Page 117
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 118 of 227



 1 is the seizure      of over a half a kilogram         of cocaine    in

 2 various     form s from my client 's place of business .           That

 3 does not mean it was cocaine          two and a half month s

 4 before , it does n't mean it was drug s two and half

 5 month s before .

 6            There is no seizure       at or near the day and time

 7 in question .      It 's not a controlled     buy or purchase ,

 8 all of which could have been summarize d.              This simply

 9 cannot .     Going from 3/17 to 6/1 is just too great a

10 leap .     This is , I think -- this opinion         is limited    to

11 its fact s to adduce       more because    it make s clear that

12 the admission      under 611 under such a sum mary is a very

13 limited proposition.         The opinion , in its lengthy

14 explanation, makes that clear.            It goes    to great

15 length s to explain       why this one was okay .

16            We cannot    shoe horn the fact s of this case within

17 this lengthy     explanation    as provided    by Judge Williams

18 because , simply       put , it does n't fit with in that

19 explanation .      Judge Williams ' explanation        is key to

20 fact s of the    Johnson    case .

21            THE COURT:     What about an exhibit       that said so

22 and so grams of cocaine        received    on X date and that is

23 based upon a lab oratory       analysis    and the opinion      of an

24 ex pert that it was , in fact , point        so and so grams of

25 cocaine ?     That is put ting on a summary         chart an




                                                                  Page 118
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 119 of 227



 1 opinion ; isn't it?

 2            MR. MONTEMARANO :      I submit     that is not an

 3 opinion    of an ex pert .      It is reducible     to scientific

 4 fact .    It pass es the Daubert      test .    In deed , it would be

 5 difficult      for me , as an officer    of the court , where a

 6 person    with 50 year s in the face of God 's green earth

 7 to suggest      I could n't do that very same test give n the

 8 material      and re agent s.

 9            THE COURT:    Does n't Sergeant       Sakala 's testimony

10 have to pass the Daubert          test as well ?

11            MR. MONTEMARANO :      Our argument     is that it came

12 nowhere    near .

13            THE COURT:    I recognize    that , but I have

14 permitted      him to testify , based upon his knowledge         and

15 experience      as a police officer , and specifically

16 knowledge      and experience     in the drug trafficking

17 business , to give opinion s about what people            meant when

18 they use d certain      language    in conversation s that are

19 record ed .

20            MR. MONTEMARANO :      The very language     of Daubert

21 makes it clear       it is not mere ly scientific       principle s,

22 it is not re producible         under controlled     circumstance s.

23 You know, it's sort of like cold fusion.               Oh, wow, what

24 a great idea, really cool.           Nobody's ever reproduced

25 that.     I submit    that in a different       situation , ticket s




                                                                Page 119
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 120 of 227



 1 might well mean something        else .

 2           THE COURT:     All right .

 3           MR. MITCHELL:      May I add one thing , Your Honor ?

 4 In my view of this opinion         on Page 1157 , 703 of the

 5 Federal   Rule s of Evidence     allow s an ex pert witness       to

 6 base his opinion       based on earlier     trial testimony .      The

 7 opinion   continue s to talk about testimony .          Nowhere    in

 8 this opinion     does it say that opinion        testimony    may be

 9 use d in these chart s and the Court s distinguish            between

10 testimony     and opinion   testimony     because   they're   vast ly

11 different .

12           One is an opinion     testimony .     In fact , they even

13 refer to this officer       using his opinion       based on prior

14 testimony .     So , if the Court meant for opinion

15 testimony     to come in in these chart s, they would have

16 said it all they're       talk ing about is testimony .

17           THE COURT:     That issue was n't necessarily        before

18 them , but the core princ iple applied         by the Fourth

19 Circuit   in the Johnson      case was to apply the language

20 of --

21           MR. MITCHELL:      Bit to [ph.] ca se .

22           THE COURT:     -- of Rule 611 (a) as the basis for

23 permitting     this because    it would make the presentation

24 effect ive for the ascertain ment of the truth .

25           MR. MITCHELL:      Agreed , but they only refer to it




                                                                 Page 120
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 121 of 227



 1 --

 2            THE COURT:    When you have     a case that is as long

 3 and as complex       as this one , where we're now in the

 4 middle    of the 25 th day of trial , and hope fully an end

 5 in sight , with , you know I don't know           the number    of

 6 wit nesse s, but a very large number         of witness es , and a

 7 very complicate d case that 's already           been cut into four

 8 part s to fit , this is not a class ic example           of where

 9 this type of summary        testimony    to assist    the jury in

10 ascertain ment of the truth , does that not make it

11 appropriate     especially    in this case ?

12            MR. MITCHELL:     I think you have to distinguish

13 between    opinion    testimony    and fact s.    Fact s, the jury

14 -- fact s, the jury has heard that they need to put

15 together    into some cohesive        group ing so they understand

16 it .   That 's a vast ly -- from all the phone call s that

17 Sergeant    Sakala    use d to form an opinion       and that

18 opinion    has already     been ex press ed to the jury .        This

19 -- the John son case does not say that opinion             testimony

20 can then go on chart s to be explained            to a jury .    I

21 just don't think that 's -- you asked Mr. Montemarano ,

22 does this case prohibit        it .    I think by their own

23 language , their specific         words they use , they didn't

24 include    opinion    testimony    to go in these chart s, but an

25 opinion    --




                                                                  Page 121
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 122 of 227



 1            THE COURT:     Why would it be -- this is my

 2 question , Mr. Montemarano :         Why would it be

 3 in consistent    with this decision          in the Johnson      case to

 4 permit    the use of opinion       testimony     being put up on

 5 chart s, especially      where you've        got a case where

 6 somebody     look ed at some white powder         and said that 's

 7 cocaine , and somebody         else look ed at another      powder      and

 8 said that 's heroin , and somebody            else look ed at some

 9 hard stuff and said it 's crack .             These are all opinion s

10 reasons ; aren't      they ?

11            MR. MITCHELL:       Here 's the    problem .   You have one

12 officer     giving   his opinion    of another     officer 's

13 opinion .

14            THE COURT:     I don't think       that 's what this

15 exhibit     is intend ed to do at all .

16            MR . MITCHELL:      In fact , what the government

17 accomplish es by that is they have one officer

18 corroborati ng and bolstering         another     officer 's opinion .

19 So you've     got two officer s' opinion s based on the same

20 evidence , and I don't think         that 's appropriate         either .

21            THE COURT:     Well , I'll let the government           speak

22 for itself , but it appear s that this exhibit              is

23 intend ed to show that on certain             date s, there were

24 arrangements     made for Mangual      to deliver       cocaine    to

25 Martin , follow ed by an immediate            series   of phone call s




                                                                     Page 122
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 123 of 227



 1 to various     customers     or co -con spirators      to distribute

 2 the cocaine .      I assume    that 's what this is for .

 3           MR. MARTIN:       Let me answer     the question .

 4           THE COURT:       Wait , let me finish     with it .

 5           MR. MARTIN:       All right .

 6           THE COURT:       I'm say ing , assuming      that that 's

 7 what this is for , and I'll let the government                tell me

 8 whether   my assumption       is correct    or not .

 9           MR. MARTIN:       Your Honor I have an objection,            but

10 go ahead .

11           MR. MITCHELL:       Of course    that 's what they intend

12 to prove .

13           THE COURT:       All right .    Well , let me hear what

14 Mr. Martin     has to say .

15           MR. MARTIN:       Brief ly , Your Honor .      You had asked

16 earlier   about what's       the difference    between     the Johnson

17 case and the case we now have before            us .     I think the

18 Court has to keep in mind that we didn't                have 16 or 17

19 corroborati ng witness es come in here and testify               and

20 then have a summary        of that , and the Court says

21 specifically      now -- I draw your attention           to Page 1162 ,

22 Paragraph    9.    I'm not going to read the whole thing .

23 The bottom     line there is --

24           THE COURT:       1162 ?

25           MR. MARTIN:       Yeah , 1162 , Paragraph      9.   I'm not




                                                                   Page 123
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 124 of 227



 1 going to read the whole thing , but the           Court goes into

 2 reading   why there 's danger      in allowing    this type of

 3 testimony , and the bottom       line is the Court says it

 4 does n't like it ; however , due to the large number            of

 5 witness es and ex tensive      evidence    -- I'm near the bottom

 6 now -- as well as the       curative    in structions    offer ed by

 7 the district     court , we conclude      that the district     court

 8 act ed within    its discretion .

 9           Well , there are difference s here .          We don't have

10 stipulation s to any of these chart s.           We don't have 16

11 or 17 cooperating       witness es here , and I submit      to the

12 Court , and I renew my earlier         objections    to these

13 summari es that this case is different           from the Johnson

14 case and the Johnson       case does n't stand for the

15 principle s, that the government          said that this is

16 something    that is the ordinary .

17           This case says that this is something            that is

18 extraordinary .      It 's out of the usual .       For that

19 reason , I think the Court should          be hesitant    to allow

20 this kind of testimony       in , and again , I would ask that

21 it be stricken .

22           THE COURT:     I have to look at the record          to see

23 the exact status       of it , but has -- to two thing s:        One ,

24 the defense     was put on notice      of the   government 's

25 intention    to use this a number       of day s ago and it did




                                                                Page 124
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 125 of 227



 1 not raise any objection         until today .    Second     question

 2 is this document       was referred   to by the witness        I don't

 3 know how many question s before         an objection      was raise d

 4 to it .

 5           MR. MARTIN:      That 's true .    That 's correct .

 6           THE COURT:      Under local rule , once it 's referred

 7 to without     objection , --

 8           MR. MARTIN:      The first part .

 9           MR. MONTEMARANO :      About this chart , I was out of

10 my seat .     I was wait ing for it .       This Martin /Mangual

11 chart , the very first time , refer ring to          this chart

12 Martin /Mangual , objection , Your Honor .         The record     will

13 reflect     that , with all due respect .

14           MR. MARTIN:      I think what His Honor was

15 referring     to was the Chart 4 or Chart 5, it was n't

16 until she was about -- Madam Counsel , three -quarter s of

17 the way down the chart , they stood up , and I think last

18 week there were objections .

19           THE COURT:      Let 's make sure we're all on the

20 same page .     The document     that 's in chart form that

21 you're    all concerned    about is   the one en title d

22 Martin /Mangual    cocaine distribution during         --

23           MR. MONTEMARANO :      Yes , Your Honor .

24           THE COURT:      That 's the one we're talk ing about ?

25           MR. MONTEMARANO :      Yes , Your Honor .




                                                                 Page 125
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 126 of 227



 1          MR. MARTIN:      I'm talk ing about all the chart s.

 2          THE COURT:      We have to go one chart at a time

 3 then .   The only chart I'm deal ing with is this one , and

 4 what is the exhibit       number    of this ?

 5          MS. JOHNSTON:       Your Honor , CH-3 .

 6          THE COURT:      CH-3 .     So my question    was :    Why was

 7 not an objection      raise d when it was dis play ed by the

 8 government    previous ly , and second ly , why did you wait

 9 all the way until the examination           today ?

10          MR. SUSSMAN :     I did raise an objection           last

11 week .

12          MR. MONTEMARANO :         It was not dis play ed last

13 week .

14          MR. MITCHELL:       It 's never been dis play ed .

15          MR. MONTEMARANO :         First came into court today .

16          MS. JOHNSTON:       It was present ed to the Court

17 last week .    There was objections        made to the summary

18 chart s, and the     Court asked us to make correction s to

19 two of these chart s.       These chart s were submit ted to

20 the Court as a set last week , an d in term s of what was

21 asked of the witness , I don't believe           I got any further

22 with CH-3 than asking       him to identify      the chart when

23 Mr. Montemarano      object ed .

24          THE COURT:      Am I correct     that this exhibit ,

25 Chart No. 3, has been referred           to by a witness , an




                                                                  Page 126
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 127 of 227



 1 objection    was made , and nothing         further    happened    with

 2 that chart with this witness ; is that correct ?

 3            MR. MONTEMARANO :         Today , Your Honor .

 4            THE COURT:      Today .     All right .

 5            MR. SUSSMAN :     I think it 's important         to note I

 6 object ed to it before        Detective     Eveler    took the stand ,

 7 and I think the position           was , we'll deal with it when

 8 we get to it , not --

 9            THE COURT:      All right .     Well , we've gotten       to

10 it .   Now , I don't see any problem          with any of the other

11 chart s.    I thought    we had already       gone through      that .

12 This is the one that you're             focusing   your attention        on

13 Mr. Montemarano ; is that right ?

14            MR. MONTEMARANO :         Yes, sir .

15            THE COURT:      Well --

16            MR. MARTIN:      I would dis agree with the Court ,

17 and I renew my objection           that you over ruled earlier .

18            THE COURT:      You dis agree what ?        I'm sorry .

19            MR. MARTIN:      You said you didn't          think there was

20 a problem    with any of the chart s.

21            THE COURT:      They didn't     address .      I've had some

22 re pair s and adjustment s made to them .

23            MR. MARTIN:      No .     No , Your Honor .     I object ed to

24 the chart that listed         the chronology       of event s relating

25 to Mr. Goodwin , and I came to the bench and the Court




                                                                     Page 127
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 128 of 227



 1 has said that I approach ed the           bench late on that , and

 2 I would submit to         the Court that it 's not late if

 3 during    the testimony      I get up and I object       to it , and

 4 I'm not going to chase my tail on that , except              to say I

 5 think it was Chart 4.

 6           MS. JOHNSTON:       Chart 4 was the telephone        contact

 7 chart around     Mr. Goodwin 's arrest , September         3, so that

 8 is not a summary         of evidence    chart under Rule 611 , I

 9 believe    it is , or 610 .        That chart was a summary       of

10 voluminous    records      that would come in .

11           THE COURT:       106 ?

12           MS. JOHNSTON:       110 .06 .   This other chart was

13 CH -5 , which relat ed to the various           detective s and

14 referenc ed the    various     exhibit    numbers .    That would be

15 the chart under the Johnson            case .

16           MR. MARTIN:       That 's the   one I approach ed the

17 bench on , Your Honor .

18           THE COURT:       Which one ?

19           MR. MARTIN:       Five .

20           THE COURT:       Five ?    Can somebody     show me 5?       When

21 you're    show ing these to the jury , I can't see them , so

22 I need to see .

23           MS. JOHNSTON:       Your Honor , I apologize       I guess

24 between    last Wednesday      and this week , things      have

25 gotten    mis place d.




                                                                 Page 128
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 129 of 227



 1            THE COURT:     If I were more ag ile, I would jump

 2 up and go look at it .

 3            MS. JOHNSTON:     It is three different       boards ,

 4 Your Honor , which just -- I'll put the date of the

 5 exhibit     with what the concerns       and the exhibit    number .

 6            THE COURT:     All right .    Okay .

 7            MS. JOHNSTON:     Reference     to time frame s that Mr.

 8 Thurman     had testifi ed about .

 9            MR. MARTIN:     Do you want us to bring that

10 closer ?

11            THE COURT:     I can see it .     I can see it .

12            MS. JOHNSTON:     And they just continue .         There 's

13 just three of them , and that 's what it does .

14            MR. MARTIN:     This is the one th at I approach ed

15 the bench on , and it is true that she , that is

16 government     counsel , was more than half way through          this

17 when I jump ed up and I real ized exact ly what was taki ng

18 place , and I think you over ruled my objection .             I just

19 want ed to renew it .

20            THE COURT:     I over rule it again .

21            MR. MARTIN:     All right .

22            THE COURT:     I think that 's a proper     exhibit .

23            All right .

24            MR. WARD:     Your Honor , I do want to pre serve the

25 record     in one regard .    I complain ed earlier     that we had




                                                                 Page 129
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 130 of 227



 1 not been notifi ed that this witness            was being call ed an

 2 ex pert .    I've since consult ed with all other counsel ,

 3 Mr. Martin     has all of the letter s in this case on his

 4 computer     and check ed them all , and confirm ed my view

 5 that no written      note was given in this case that this

 6 witness     would be call ed as an ex pert this in this case ,

 7 so .

 8             THE COURT:   Let me hear what Ms. Johnston             has to

 9 say .

10             MS. JOHNSTON:       Your Honor , attach ed to the --

11 first of all , on May 3 -- defense            counsel    filed motion s

12 in May object ing to our designation            of ex pert s.    Ms.

13 Hard en filed a motion          on May 11 .   Mr. Montemarano      filed

14 one in term s of Ms. Martin          in May , and so did , I

15 belie ve, Ms. Ali , although         that particular      one escape s

16 me .    This was after we sent out the letter             March 8 --

17 May 8.      Attach ed to o ur May 8 letter       were copies     of

18 letter s that     had been previous ly sent to defense

19 counsel .

20             Those were the letter s that designated          the

21 ex pert s in the first two trial s, the November             trial and

22 the March 21 trial , that did not occur .               That letter

23 was date d February      22 .     Both of those letter s were

24 attach ed to the Government 's May 8 correspondence .

25 More important ly , on May 30 , the government             filed a




                                                                   Page 130
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 131 of 227



 1 response    to -- let me get the right plead ing , Your

 2 Honor .

 3            On May 30 , the government       filed a response     to

 4 the defendant 's ex pert witness          motion s filed by Martin ,

 5 Ali , and Harden .       In that response , the government        set

 6 forth , finally , on May 8, 2006 , the government           provided

 7 notice    of its intention s to use drug ex pert s in the

 8 June 6 trial and attach ed copies           of the previous     ex pert

 9 drug designation        letter s.     Attach ed to that were copies

10 of the    October   letter   and the February      22 letter , both

11 of which designate d the case agent s as being ex pert

12 witness es and reference d those .

13            When we filed this motion        -- this response s on

14 May 30 , the Court held a hear ing in term s of ex pert

15 witness es and what the case agent s could say .            This is

16 the first time yesterday            that , other than the motion s

17 that were filed where counsel            said our not ice was

18 in adequate , that now someone          is say ing they never got

19 any notice .

20            We litigate d that with the Court pre trial , or at

21 the very beginning        of the trial , and it is set forth in

22 our response .      No one 's ever said before       they didn't

23 get those letter s attach ed to the May 8 letter .

24            THE COURT:     All right .     Mr. Ward , your objection

25 is over ruled .     I believe       that there 's been adequate




                                                                 Page 131
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 132 of 227



 1 notice    and that the case agent is permitted            to testify

 2 and give the opinion s.         Mr. McKnett , do you have

 3 anything     else ?

 4            MR. MCKNETT:      Yes , Your Honor .     I want to refer

 5 back to Chart 3.          I want ed to respond    to the question .

 6            THE COURT:      Wait a minute .     This is the one

 7 we 've been talk ing about .

 8            MR. MCKNETT:      Martin /Mangual    cocaine .

 9            THE COURT:      Let me steal your thunder .        Stop .

10 Don't snatch , okay ?        I'm going to sustain       the defense

11 objection     to this .     I think this can be use d during

12 closi ng argument , but I think this -- it 's a close

13 call , perhaps , and perhaps       could be admitted        under

14 Johnson    and I think all the other exhibit s are

15 admissible     under Johnson .     But this one , I think , goes

16 a little     bit too far .

17            I think it 's perfect ly proper        for the government

18 to use that as an argument         document     in closi ng

19 argument .     It will not be received         as evidence , so I

20 sustain    the defense      objection .   All right ?     Ready for

21 the jury ?

22            MS. JOHNSTON:      Your Honor , could I redact       some

23 thing s from that chart and have the Court re consider ?

24 We had this hear ing last week , and now all of a sudden ,

25 we're re-litigating         thing s in the middle    of testimony .




                                                                 Page 132
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 133 of 227



 1            THE COURT:    My problem    is , Ms. Johnston , I

 2 didn't have     this in front of me when we were do ing

 3 this .     I'm try ing to   be fair to all sides .      If this is

 4 going to come in , I share the concern           of the defense

 5 about these being receipt s of co ca ine , and perhaps           you

 6 can fix this by changi ng it to --

 7            MS. JOHNSTON:      I could have made change s over

 8 the five -day break that we've had , had that issue been

 9 raise d by defense      counsel , and they had copies       of it

10 last week .

11            THE COURT:    I'm not sure how to fix it , but it

12 would have to be along the line s of -- my problem              is I

13 can't remember     precise ly everything      that happened     on

14 these specific     date s, but I'm assuming       that on March

15 10 , 2004 , for example       there was a wiretap     conversation

16 that Sergeant     Sakala    interpret ed as mean ing that

17 Mangual     was about to deliver      and did deliver     cocaine    to

18 Martin .

19            MS. JOHNSTON:      And there was surveillance       on

20 that day .

21            THE COURT:    If you change     this to simply     be a

22 factual     thing , Mangual    says he is arrivi ng to deliver

23 ticket s, whatever      -- you know , whatever     it was on these

24 particular     date s, then it 's pure ly factual .

25            MS. JOHNSTON:      I could very well do that , but




                                                                Page 133
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 134 of 227



 1 here we are , you know --

 2            THE COURT:     I understand .

 3            MS. JOHNSTON:     -- at a quarter     to 3:00 .

 4            THE COURT:     I share you r pain .    I'm having    some

 5 other type of pain , but I share your pain .            The de fen se

 6 should   have brought      this up earlier , but I think in my

 7 gatekeeper     function , this one is a little        bit too far

 8 into an argument        exhibit , and I think that it 's

 9 perfect ly fair game to use this exhibit           in your closi ng

10 argument .

11            MS. JOHNSTON:     Your Honor , I appreciate       we can

12 use pretty     much almost    anything    in our closi ng

13 argument .

14            THE COURT:     Not everything .

15            MS. JOHNSTON:     In term s of summarizi ng evidence ,

16 but the problem      is that we're in a position        now where

17 we're delay ing the jury , we've now delay ed them almost

18 20 minute s, and we're not -- we don't have an

19 opportunity     to fix that chart because , quite frankly , I

20 can put in on there surveillance           of Louis Mangual     and

21 Paulette     Martin 's house .

22            THE COURT:     I will tell you this :      You can

23 conclude     your examination    of the    pend ing witness    on all

24 mat ter s, and I'll allow you to recall          him if this chart

25 can be re fix ed to my satisfaction , maybe not to the




                                                                 Page 134
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 135 of 227



 1 defense 's satisfaction , but to take out the notion                 that

 2 these are cocaine        ship ment s, which does appear      to be a

 3 little     bit fa rther along the line than the Johnson              case

 4 might permit , or at least         in my discretion , to not

 5 permit .     And I'll allow you to recall        him .

 6            MS. JOHNSTON:       Well , we will do that , then , Your

 7 Honor , because       it can be remedi ed very quick ly .          If we

 8 had had notice , we would have done it before              now .

 9            THE COURT:     All right .    Ready for the jury ?

10 Okay .     Bring them in .

11                     (Witness   resumes   the stand .)

12                     (Jury return s at 2:41 p.m. )

13            THE COURT:     I have to see 12 or 15 heads up

14 before     I can proceed .     You may proceed .     Sorry about

15 the delay , ladies and gentlemen         .   I apologize .

16            BY MS. JOHNSTON:

17 Q.         Detective    Eveler , when we -- right before           the

18 recess , you had talk ed about a second          number    at Paula 's

19 School of Perform ing Art s.         Do you remember      that

20 testimony ?

21 A.         Yes, ma'am .

22 Q.         Over the luncheon      recess , did you have an

23 opportunity        to check the pin register     data for that

24 telephone ?

25 A.         Yes .




                                                                 Page 135
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 136 of 227



1 Q.          What did you conclude      based upon that re view ?

2 A.          It 's near ly the same type of activity         as on the

3 1400 phone .

4 Q.          What time frame would that have been ?

5 A.          I believe   it was June through        the fall of 2003 .

6 Q.          Based on your train ing and experience , can you

7 explain      to the jury why you did not request           authority

8 in 2004 to intercept           conversation s occurring     over

9 either    the phone s at the school ?

10 A.         There was in sufficient      activity    to establish

11 probable     cause to obtain      authorization    for the wiretap .

12 Q.         Now , in reference     to Mr. Bynum let me show you

13 what 's been previous ly marked        as Miscellaneous      19 and

14 introduced     as Miscellaneous      19 .    Are you familiar     with

15 that document ?

16 A.         Yes .

17 Q.         What is that a record      of ?

18 A.         It 's a docket     information    for Mr. Bynum 's case

19 in Montgomery      County .

20 Q.         Was he convict ed in that case based on the

21 records ?

22 A.         Yes .

23 Q.         And based upon those records , do the records              set

24 forth whether      or not     he received    a sentence   in excess

25 of one year ?




                                                                Page 136
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 137 of 227



 1 A.        Yes .

 2 Q.        Was it more than one year ?

 3 A.        Yes , it was .

 4 Q.        Also , to your knowledge , has that conviction

 5 ever been set aside or has Mr. Bynum ever been

 6 pardon ed ?

 7           MR . MITCHELL:      Objection .       Knowledge .

 8           BY MS. JOHNSTON:

 9 Q.        Well , look at the date of this record .            Do you

10 see the date on the top of that ?

11 A.        Yes, ma'am .

12 Q.        What's    the date on that ?

13 A.        7/20 /2000 .

14 Q.        On the very date on the top indicati ng as of

15 what date was that record          print ed ?

16 A.        October    19 , 2004 .

17 Q.        Going through      that record , would you advise       us

18 whether   or not there 's any indication            at any time prior

19 to October    19 , 2004 , that that conviction          was ever set

20 aside or re verse d by any court ?

21           MR. MITCHELL:       Renew the objection , Your Honor .

22           THE COURT:       Over ruled .

23           THE WITNESS:       No , there 's nothing     to indicate

24 that .

25           BY MS. JOHNSTON:




                                                                 Page 137
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 138 of 227



 1 Q.      Indeed , based on your train ing and experience ,

 2 if someone 's conviction        had been stricken    or expunge d,

 3 would you be able to get a copy of the record ?

 4 A.      No .

 5 Q.      Now , let me show you what 's been mark ed as CH-1 4

 6 and ask if you recognize         this exhibit .

 7 A.      Yes .

 8 Q.      Did you prepare         and view this exhibit    for

 9 presentation     in court ?

10 A.      Yes .

11 Q.      Could you tell the jury what CH-14 does ?

12 A.      It 's a summary        of the narcotic s evidence      that

13 was either     stipulate d to or had drug laboratory

14 personnel    testify   to the result s of the chemical

15 analysis .

16 Q.      During    the week s since this trial has commence d,

17 ther e have been many dru g exhi bits admitted; is that

18 correct ?

19 A.      That 's correct .

20 Q.      If we look at column         one , what does that refer

21 to ?

22 A.      That would be the exhibit         number .

23 Q.      And column     two ?

24 A.      That is the drug .

25 Q.      And column     three ?




                                                               Page 138
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 139 of 227



 1 A.         Where that item was re covered .

 2 Q.         And column    four under witness .

 3 A.         Either    the witness ' name or the stipulation

 4 number .

 5 Q.         Does that accurate ly summarize       the evidence     that

 6 came into this jury concern ing drug s that were seized

 7 in relation        to your part of the investigation       of this

 8 case ?

 9 A.         Yes .

10 Q.         During    the time of the charge d conspiracy ; is

11 that correct ?

12 A.         That 's correct .

13 Q.         Now , finally , if I could ask you to step down , I

14 think we have two more chart s to re view with the jury .

15 Show ing you first what 's been mark ed as CH-13 .           Do you

16 recognize     that chart ?

17 A.         Yes .

18 Q.         Let me next show you Government 's Exhibit s R-14 ,

19 R-15 , R-16 , R- 17 , R-18 and R- 19 .       Do you recognize

20 those records ?

21 A.         Yes .

22 Q.         How do those records     relate    to the chart , CH-13 ,

23 and if you could stand back to the side .

24            Do you have the laser ?      Thank you .

25 A.         The Exhibit s R-14 , 15 , 16 , 17 , 18 and 19 are all




                                                                Page 139
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 140 of 227



 1 bank records      Sun Trust , Bank of America , Chevy Chase,

 2 and this is a summary       of certain    activity    that 's

 3 reflect ed in these bank records .

 4 Q.        Does that include     the check s that were re view ed

 5 with the individual      custodian s when they were here in

 6 court ?

 7 A.        Yes .

 8 Q.        If you could just de scribe      for the ladies and

 9 gentlemen of the jury       what you've    depict ed on this

10 chart .

11 A.        In the first column     is the last four of the

12 account    number .   Instead   of put ting the entire      account

13 number , just the last four digits         of the account       number

14 are reflect ed in the first column .         The second     column

15 is the date the check was posted .          The third column       is

16 the date of the -- listed        on the check .      The next is

17 the check number , the next column         is the pay or, which

18 account    the check was title d in , the amount        of the

19 check , if there was a reference         to memo that I could

20 read , it 's reflect ed in the memo section .

21 Q.        Were there some you were not able to read ?

22 A.        Some were illegible .

23 Q.        Were some blank ?

24 A.        Some were blank and some I just could not read .

25 Either    the handwriting    -- I couldn't    make it out .




                                                               Page 140
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 141 of 227



 1 Street   address    of the pay or and city and state .

 2 Q.       In reference     to those , the memo portion , is that

 3 your reading      of what was on the check ?

 4 A.       Yes , it is .

 5 Q.       Call ing your attention , do you recall          testimony

 6 concern ing March 29 , the surveillance            by officer    on

 7 that date ?

 8 A.       Yes .

 9 Q.       And surveillance        was of whom ?

10 A.       Ruby Harden .

11 Q.       And who else ?

12 A.       Paulette     Martin .

13 Q.       Was there any check s written           on that date ?

14 A.       Yes .    There was a check written         on bank account

15 0609 on that date , Check No. 15 19 for $125 .

16 Q.       Based upon your train ing and ex perience,             what is

17 $125 consistent       with the purchase     of ?

18 A.       An eight ball .

19 Q.       An eight ball ?

20 A.       An eighth     of an ounce of cocaine .

21 Q.       In reference     to your investigation , there are

22 some notation s on here that the check s were written                 for

23 chrome   de posit , truck lettering      and truck part s and

24 truck de tail ing .

25          During    the course     of your re view of all of the




                                                                   Page 141
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 142 of 227



 1 doc uments   re covered   from Ms. Martin 's house and her

 2 school , what if any , evidence           did you find that she was

 3 involve d in truck lettering           or truck de tail ing or truck

 4 part s?

 5 A.        There 's no evidence         to indicate   she was involve d

 6 in de tail ing , chrome     sale s, or truck part s.

 7 Q.        Thank you .

 8           Now let me go , finally , to the last chart unless

 9 I've forgot ten something , CH-1 .           Are you familiar      with

10 CH -1 ?

11 A.        Yes .

12 Q.        Who prepared     CH -1 ?

13 A.        I did .

14 Q.        Now , other than the handwritten           note s that

15 individual    witness es have put on there in term s of

16 identify ing people , did you select           the photograph s that

17 were to be put on there ?

18 A.        Yes .

19 Q.        And the language      de scribi ng the different         box es ?

20 A.        Yes .

21 Q.        If you could , start ing with the top , the first

22 box tell us why they're         in a square     together   and why

23 you labeled       it heroin .

24 A.        The investigation          show ed that Moises   Uriarte ,

25 who was -- who testifi ed and was locate d in New York ,




                                                                 Page 142
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 143 of 227



 1 was the heroin       source    of supply    for Gwendolyn   Levi and

 2 William     Turner   based on his testimony       and ledger s and

 3 our surveillance s and wiretap .

 4 Q.        That would be based upon the testimony            that was

 5 heard here in court ?

 6 A.        Yes .

 7 Q.        And from what witness es ?

 8 A.        Mr. Uriarte    himself .

 9 Q.        What other evidence        that was present ed here in

10 court ?

11 A.        The wiretap    call s as well as the ledger .

12 Q.        The -- anything       else in term s of search

13 warrant s?

14 A.        The evidence      from 5844 Digger 's Lane as well .

15 Q.        Who re side d there ?

16 A.        Gwendolyn    Levi .

17 Q.        You have an arrow that goes down here in the

18 vi cinity    of the center      box where Ms. Mart in and     Mr.

19 Goodwin     are locate d.      Why is that arrow there ?

20 A.        That 's to indicate      the distribution     of heroin    or

21 the supply     of heroin      from Ms. Levi , Mr. Turner , Mr.

22 Uriarte     to all Paulette      Martin .

23 Q.        Is that your opinion        based upon the testimony

24 that the juror s heard here today -- here during              the

25 trial , as well as the document s and the other item s




                                                                Page 143
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 144 of 227



 1 that were seize d and the call s that were play ed ?

 2            MR. MARTIN:      Objection , compound       and lead ing .

 3            THE COURT:      I could n't hear the objection .

 4            MR. MARTIN:      Objection .     Compound     question   and

 5 lead ing .

 6            THE COURT:      All right .     Sustained .

 7            BY MS. JOHNSTON:

 8 Q.         What is that based upon ?

 9 A.         It 's based on the intercept ed call s, the

10 testimony     of Mr. Uriarte , the evidence           seize d from both

11 Digger 's Lane , from the Furniture           Queen in New York ,

12 the surveillance , the traffic           stop of Ms. Levi , the

13 intercept ed call s with       Mr. Turner     after the arrest , as

14 well as the search         warrant    at Paulette     Martin 's

15 residence .

16 Q.         If we could go to the next box here , that says

17 California     cocaine .     Could you explain        to the ladies

18 and gentlemen of the jury            what evidence     they heard or

19 they saw that cause d you to put those individuals

20 together     and categorize     them as California        cocaine ?

21 A.         Based on the     testimony     of Nathan    King , as well

22 as the   intercept ed jail call s after Nathan            King 's

23 arrest , as well as the        traffic    stop of Nathan      King in

24 Indian apolis    and the testimony        of the police officers

25 there and other intercept ed call s, as well as evidence




                                                                     Page 144
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 145 of 227



1 re covered    from Hayward      Avenue , Steve Brim was

2 identifi ed as the California          source   of supply   who was

3 using his son as a courier          to transport    narcotic s from

4 Compton     area of California      to Maryland -DC area .

5 Q.         And in addition      to Nathan    King , did another

6 individual     identify    Mr. Brim as being a source        of

7 cocaine ?

8 A.         Yes .

9 Q.         Who was that ?

10 A.        Emilio   Echarte .

11 Q.        What about Mr. Philpot ?         What evidence   did the

12 jury hear that cause d you to         box him up there as the

13 California    source   of supply ?

14 A.        The testimony    of the Wyoming      state police

15 officer    intercept   telephone     call s and the testimony      of

16 Mr. Echarte .

17 Q.        Now , again , there are arrows .        There 's an arrow

18 comi ng down this way from Mr. Philpot           down above Ms.

19 Martin 's rectangle .      Why did you put an arrow going

20 that way ?

21 A.        That 's to indicate      the flow of cocaine     from Mr.

22 Philpot    to Ms. Martin .

23 Q.        In between   Mr. Brim and Mr. King and Ms. Martin ,

24 the arrow s seem to go both way s.          Can you explain      that

25 to the ladies and gentlemen of the jury           , based upon the




                                                               Page 145
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 146 of 227



 1 testimony     they've    heard and the evidence     they've

 2 received ?

 3 A.        The arrow s two way s, one to indicate          the flow of

 4 cocaine    from Steve Brim via Nathan        to Ms. Martin , and

 5 the arrow the other way to indicate           the flow of money

 6 back .    Mr. King would transport        the currency , the

 7 payment    for the cocaine     received    to California .

 8 Q.        In term s of the relationship       between     Mr. Brim

 9 and Ms. Martin , is there an arrow miss ing here ?

10 A.        Mr. Brim and Ms. Martin ?

11 Q.        Between    Mr. Brim and Ms. Martin , had the arrow

12 going to Mr.        --

13 A.        There should     be a direct    arrow going from Ms.

14 Martin to     Mr. King .

15 Q.        What is that base d upon ?

16 A.        Based upon Mr. King 's testimony .

17 Q.        Any other evidence     in addition    to Mr. King 's

18 testimony ?

19 A.        DNR contact s and --

20 Q.        Any other witness es discuss       Mr. Brim ?

21 A.        Oh .   Mr. Echarte .

22 Q.        What about intercept ed calls ?       Were there any

23 call s relating      to Mr. Brim and Ms. Martin      without    Mr.

24 King 's involve ment ?

25 A.        There were call s referenci ng Mr. Brim , but all




                                                                 Page 146
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 147 of 227



 1 intercept s occurred      after his death .

 2 Q.         If we could go to the next square           or rectangle

 3 across the top , it says Maryland          cocaine .    Could you

 4 de scribe   for us in reference      to each of those three

 5 individuals     why you box ed them in there and what

 6 evidence    the jury heard or document s they've             received

 7 or call s they listened       to that were on the base of your

 8 block ing those people       together    as the Maryland       cocaine

 9 source ?

10 A.         These were all more local ized , more local

11 source s of supply     for Ms. Martin .      Luis Mangual       saw

12 pole camera     tape s of him arrivi ng at the residence

13 after intercept ed call s.       After she was receiving          a lot

14 of item s from Mr. Mangual , he show ed up either

15 photograph ed 35 millimeter        photo s, pole camera , other

16 surveillance s.

17 Q.         Do you remember     some of those item s we heard

18 about ?

19 A.         Ferragamo   shoe s, Versace    sunglasses , book s,

20 novel s, orange s.

21 Q.         Mr. Encarnacion ?

22 A.         Mr. Encarnacion     testifi ed about his involve ment .

23 He was -- we also have air time records           dati ng back to

24 2001 when he was involve d with Ms. Martin             and

25 surveillance s of Mr. Encarnacion          at the residence       as




                                                                  Page 147
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 148 of 227



 1 well as -- and we have his testimony .

 2 Q.        And the next person       is Cuba LNU?

 3 A.        Cuba LNU .   We have intercept ed call s between

 4 Cuba and Mr. Goodwin       when Mr. Goodwin       was utilizi ng Ms.

 5 Martin 's telephone , and we also have documentary

 6 evidence .    In Mr. Thurman 's testimony , he document s

 7 with Cuba 's phone number         on them as well as Thurman 's

 8 testimony    regard ing Cuba .

 9 Q.        Is that in addition       to the call s between         Mr.

10 Goodwin    and Ms. Martin    discuss ing Cuba ?

11 A.        Yes .

12 Q.        Then finally , way over on the end , we have the

13 Texas cocaine .      If you could de scribe       who is present        in

14 that box and what evidence          you use d or the jury heard

15 that cause d you to     put those people        together .

16 A.        Steve Campbell    was identifi ed as a Houston

17 cocaine    source   of supply .     Kelly LNU was identifi ed as

18 the El Paso Texas source          of supply .

19 Q.        If you could summarize       the evidence        that

20 support s your conclusion         that they were identifi ed

21 during    this trial as source s of cocaine         in Texas .

22 A.        Mr. Thurman 's testimony       regard ing both

23 individuals , as well as documentary            evidence     which

24 support ed that , telephone        number s re covered     from Mr.

25 Goodwin 's residence , documentary         -- other -- the




                                                                     Page 148
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 149 of 227



 1 intercept ed telephone       call s regard ing Ms. Vessels        being

 2 on a trip and then comi ng back , the bad cocaine

 3 telephone    call which Ms. Martin        spoke to Bob LNU about

 4 the bad cocaine .        And the testimony    of Mr. Thurman ,

 5 which was support ed by those telephone            call s.

 6 Q.         What about any document s -- or were any

 7 document s seize d that support ed your position             of

 8 Campbell    as a Texas source        of cocaine   as well as Kelly

 9 LNU?

10 A.         Yes.     On the earlier    chart today , the one

11 de tail ing all of the trip s by Mr. Thurman          and then the

12 exhibit    number     that goes with each zero , one would

13 support    that .

14 Q.         That would be CH-5 ?

15 A.         Yes, ma'am .

16 Q.         The three boards     that were CH-5 ?     And then

17 underneath        that , there is a box of individuals        mark ed

18 as courier s.

19            Can you tell us who 's in that box and what

20 evidence    this jury has heard or seen that corroborate s

21 your identify ing those individuals          as courier s?

22 A.         All the item s on CH -5 , which I just discuss ed a

23 second    ago , all the documentary       evidence , Tiffany

24 Vessels ' hotel records       from El Paso , Mr. Alton

25 McKenzie 's Net Spin account         records , as well as Mr.




                                                                 Page 149
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 150 of 227



1 Thurman 's testimony , which touch ed on that the

2 intercept ed phone call s which discuss ed the out -of -town

3 trip s, which coincides      with the document       we have on

4 CH -5 , which show that trip .

5             We also have the arrest     of Mr. Thurman     and Mr.

6 Moor e, which -- on their trip back from -- one trip

7 down and then after the return          of the -- Mr. Thurman 's

8 return     trip , which result ed in his arrest , documentary

9 evidence     surround ing Mr. Irby and the       intercept ed call s

10 between    Ms. Martin   and Mr. Irby .

11 Q.         Now , again , there are line s going both way s in

12 between    the box with Mr. Goodwin      and the courier s and

13 the Texas source     of cocaine .    Can you explain      why those

14 arrow s go both way s?

15 A.         The courier s would return     with payment    to Texas,

16 so the drug s flow ed from Texas to Maryland -DC, and the

17 money flow ed from Maryland -DC to the southwest           bord er.

18 Q.         In the center , there 's a box with Mr. Goodwin

19 and Ms. Martin 's picture s, and they were partners on

20 different drug deals.       Can you explain      for the ladies

21 and gentlemen of the jury       why it is you group ed them

22 together    and call ed them partner s based upon the

23 evidence    that was present ed here in court ?

24 A.         Based upon testimony     of Mr. Echarte , Mr.

25 Thurman , as well as the intercept ed phone call s where




                                                               Page 150
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 151 of 227



1 Mr. Goodwin , if he had cocaine         from Cuba , would contact

2 Ms. Martin     to see if she want ed any or they were going

3 to go in together , where if he want ed some cocaine , he

4 would contact      Ms. Martin    based on calls,     and she would

5 contact    Mr. Mangual     to obtain   cocaine   for her brother ,

6 Goody .

7 Q.        Then in the bottom , there is a group of people

8 mark ed distributor s plus or minus facilitato rs.              Could

9 you explain     to the ladies and gentlemen of the jury

10 what is meant by distributor s plus or minus

11 facilitato rs in term s of the people         in that box ?

12 A.       These are people      who obtain ed cocaine     from Ms.

13 Martin   and /or heroin    and would distribute      that and also

14 would facilitate     the organization       by providi ng support .

15 Q.       What evidence     was there to support      that

16 conclusion    that they were support ing Ms. Martin 's

17 activities    in the drug conspiracy ?

18 A.       Purchasi ng narcotic s for re sale , purchasi ng or

19 assisting    in secret ing contraband       for Ms. Martin ,

20 assisting    her in moving     contraband    from one location     to

21 another , providi ng support      to the organization       through

22 advice   -- legal advice .

23 Q.       You've   jus t highlight ed Mr. Whiting .       Why did

24 you highlight     him when you said that ?

25 A.       The telephone     intercept s where he would look --




                                                               Page 151
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 152 of 227



 1 he was going to look into certain           -- surround ing the

 2 arrest     of certain    individuals , he was going to conduct

 3 an investigation        to try to find out what was going on ,

 4 and also ask for paper s as to -- so he could re view

 5 them and see -- look into the legal matter .

 6 Q.         Now , is there a reason    why some people     are in

 7 red and other s are in black ?

 8 A.         Those were people    who were scheduled      for trial .

 9 Q.         Should   two of those people     be in black instead

10 of red ?

11 A.         Yes .

12 Q.         Who are the two that should       be in black ?

13 A.         Mr. Walker    and Mr. Harris .

14 Q.         Other than those two , are the remain ing people

15 in red the defendant s who are on trial here ?

16 A.         Yes .

17 Q.         Is there much more evidence       de scribi ng those

18 role s than what you just here touch ed upon brief ly ?

19 A.         Yes .

20 Q.         The handwriting    on here was done during        the

21 course     of the   trial ; is that correct ?

22 A.         Yes .

23 Q.         Were you present    as those people     look ed at these

24 photograph s with the name s covered         and made their

25 identification s?




                                                                Page 152
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 153 of 227



 1 A.       Yes .

 2 Q.       Are they accurate ly reflect ed on the board ?

 3 A.       Except    this one .

 4 Q.       Okay .    Which one is not accurate ?

 5 A.       The one -- I believe       Nathan   King said -- said

 6 that Lavon Dobie look ed a little         bit like Bridget        Brim .

 7 Q.       That was his testimony ; is that correct ?

 8 A.       Yes .

 9 Q.       He mis taken ly identifi ed Ms. Dobie ; is that

10 correct ?

11 A.       Yes .

12          MS. JOHNSTON:       I have nothing     further   of this

13 witness , Your Honor .

14          THE COURT:      All right .    Cross-examination     ?

15                          CROSS-EXAMINATION

16          BY MR. MONTEMARANO :

17 Q.       Would you leave the Chart 1 up , please ?            You can

18 stay there .      Just a few question s, if I could .        You're

19 the case agent ; correct ?

20 A.       Correct .

21 Q.       You've    been involve d with this investigation

22 from its very outset ; correct ?

23 A.       Correct .

24 Q.       As we stand here today , you don't know who Kelly

25 is ; right ?




                                                                Page 153
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 154 of 227



 1 A.         No , I don't .

 2 Q.         And you don't know who Cuba is ; right ?

 3 A.         No , I don't .

 4 Q.         When you were sitting       over there being shown

 5 document s on the ELMO by Ms. Johnston           before    lunch , you

 6 were shown a document , I think you -- it was before

 7 Goodwin    No. 20 .     I think maybe 19 .     There was a

 8 business     card , had Cuba 's phone number       on it ; didn't

 9 it ?   Do you recall      that ?

10 A.         The business     card or just the piece of paper ?

11 Q.         The piece of paper .

12 A.         I recall    see ing number s with Cuba and a phone

13 number , yes .

14            MR. WARD:     Your Honor , I don't know     if anybody

15 else is having        difficulty   hear ing , but I am .

16            MR. MONTEMARANO :       I'll try to speak up .

17            THE WITNESS:      I'll speak up .

18            MR. WARD:     Both of you .

19            BY MR. MONTEMARANO :

20 Q.         And that 's Cuba here ; correct ?

21 A.         Yes .

22 Q.         You can go take the witness         stand now , if you

23 would , please .

24            Now , this investigation      began when you -- at the

25 outset    with Juan Encarnacion ; correct ?




                                                                Page 154
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 155 of 227



 1 A.       I'm sorry ?

 2 Q.       This investigation       of Ms. Martin     and these folk s

 3 began with Juan Encarnacion ; is that correct ?

 4 A.       Ms. Martin    was not a target       of that

 5 investigation , but she came up in the investigation .

 6 Q.       And came up out of your inter view with Mr.

 7 Encarnacion ; is that correct ?

 8 A.       No .

 9 Q.       My correction     -- my mis take .

10          Court 's indulgence , please .

11          Eventually , you obtained       a pin register ; is that

12 correct ?

13 A.       That 's correct .

14 Q.       And that provid ed the      information     you show ed to

15 us on the phone chart ?

16 A.       Yes .

17 Q.       And at the center      were number s related      to Ms.

18 Martin ; correct ?

19 A.       Correct .

20 Q.       And then surround ing it were the number s of

21 act ual call s; correct ?      With -- from Ms. Martin 's

22 number s to the number s relating        to the other various

23 people ; correct , sir ?

24 A.       Yes .

25 Q.       Have you ever chosen       to break down those number s




                                                                Page 155
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 156 of 227



 1 by an average        number     of call s per month during      any of

 2 the periods        of time ?

 3 A.         No .

 4 Q.         You testifi ed that in response            to one of Ms.

 5 Johnston 's question s, were there any employ ment records

 6 at Paula 's School of Perform ing Art s; correct ?

 7 A.         I answered     a question       regard ing the   employ ment

 8 records ; correct .

 9 Q.         Correct .    You were asked that question           by Ms.

10 Johnston ?

11 A.         Yes .

12 Q.         Your response        was you didn't    find any employ ment

13 records     at the school ; is that correct ?

14 A.         No , that 's not correct .         That 's not what she

15 asked .

16 Q.         Why don't you relate           the question   that you

17 understood .

18 A.         Were there any records           related   to Mr. Goodwin 's

19 employ ment at Paula 's School of Perform ing Art s, and I

20 could not recall        any .

21 Q.         Were there any other employ ment records             that you

22 recall ?

23 A.         There were some , I guess -- I guess it depends

24 on what you would call employ ment records , W-2s and

25 such .     There may have        been .   I really    don't recall .




                                                                   Page 156
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 157 of 227



1 Q.          Did you look anywhere     else for employ ment

2 records ?

3 A.          I think we re covered    records     at various   search

4 location s.         That 's one thing we note -- tri ed to .

5 Q.          Nothing     else that you recall ?

6 A.          No .

7 Q.          Okay .    Now , there is the list of all the drug

8 seizure s; correct ?

9 A.          Yes .

10 Q.         And you had answered     some question s pose d by Ms.

11 Johnston     last week relating     to fingerprint s; correct ?

12 A.         Correct .

13 Q.         And you're     qualifi ed to at least    check for

14 latent s, maybe not do fingerprint         comparison s, but to

15 lift those ; is that correct ?

16 A.         I'm sorry ?     Could you -- there was a word in

17 there that --

18 Q.         You're qualifi ed to lift latent s?

19 A.         Yes .

20 Q.         Maybe not do comparison s like a fingerprint

21 ex pert says , like say this print and this print are the

22 same , but you can lift them and pre serve them ; is that

23 correct ?

24 A.         Yes .

25 Q.         It 's my understand ing from the evidence         in this




                                                                Page 157
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 158 of 227



1 case that there 's not a single         fingerprint    that law

2 enforcement      was able to lift -- usable       print from any

3 of the drug evidence       in this case ; is that a fair

4 statement ?

5 A.       There 's none that I'm aware of .          That 's a fair

6 statement .

7 Q.       You're    a case agent ; right ?

8 A.       Yes .

9 Q.       All those clear plastic        bag s, no print s;

10 correct ?

11 A.      That 's correct .

12 Q.      All that package      material , no print s; correct ?

13 A.      Correct .

14 Q.      Tape use d to package      cocaine , no print s;

15 correct ?

16 A.      Correct .

17 Q.      That would even go back to as far as            the seizure

18 from John Mart in's car in -- heavens , 2002 ?           July 4,

19 give or take ?     The 25 wrapper s.     Let 's forget    the date .

20 You know the one we're talk ing about ?

21 A.      No , I know the date .      I know the date .       If there

22 were any , I'm un aware of them .

23 Q.      That would be around       July 4 of '02; is that

24 correct ?

25 A.      It had occurred      on July 4th , 2002 , but that was




                                                               Page 158
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 159 of 227



 1 not done as part of thi s investigation .           That evidence

 2 was present ed , but I don't have        any -- any knowledge      of

 3 latent     print s in that case .

 4 Q.         All of the other seizure s, all of the Pyr ex and

 5 glass and thing s like that , no print s?

 6 A.         Not that I'm aware of , no .

 7 Q.         And the toolbox es seize d from Larry Lane 's , no

 8 print s?

 9 A.         Not that I'm aware of , no .

10 Q.         Was there any Pyrex or      glassware   use d for

11 cook ing cocaine       that you found when you search ed Ms.

12 Martin 's home ?

13 A.         Her home ?

14 Q.         810 Hayward .

15 A.         No , not that I know of .

16 Q.         She had been living      there for a while ; correct ?

17 Surveillance        made that pretty   clear ; correct ?

18 A.         Yes .

19 Q.         She use d the hard line -- land line , telephone

20 line there;        correct ?

21 A.         Yes .

22 Q.         There 's a kitchen   upstairs ; correct ?

23 A.         Yes .

24 Q.         So there 's a stove and you need a stove or you

25 can use a stove to make crack cocaine ; correct , sir ?




                                                               Page 159
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 160 of 227



 1 A.      Yes .

 2 Q.      But the fact is , you don't even         need a stove ;

 3 correct ?

 4 A.      That 's correct .

 5 Q.      All you really      need is an electrical       outlet ;

 6 correct ?

 7 A.      Well , you need a heat source .

 8 Q.      Yeah .    Microwave ?

 9 A.      Yes .

10 Q.      You don't need a stove .        You could have       a

11 microwave , or you need     an electrical     outlet ; right ?

12 A.      Yes .

13 Q.      It could have been done in the base ment at 810

14 Hayward , could n't it ?

15 A.      Yes .

16 Q.      If there had been a microwave ; correct ?

17 A.      Sure .

18 Q.      Because    there was certain ly electricity          down

19 there ; right ?

20 A.      Yes .

21 Q.      No microwave ; correct ?

22 A.      I don't know .

23 Q.      Weren't    you the seizi ng agent at 810 Hayward ?

24 A.      No .

25 Q.      Did you participate       in the search     of 810




                                                                Page 160
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 161 of 227



 1 Hayward ?

 2 A.         Other than re covering          Ms. Martin 's key s to open

 3 South Dakota     Avenue , no , I didn't         participate   in the

 4 search .

 5 Q.         So you don't recall          if there was a microwave

 6 there ?

 7 A.         No , I don't .

 8 Q.         Baki ng soda ?     Pyre x?

 9            MS. JOHNSTON:       Objection , basis of knowledge .

10            MR. MONTEMARANO :       He is the case agent , Your

11 Honor .

12            THE COURT:       Over ruled .

13            MR. MONTEMARANO :       He 's welcome    to say he does n't

14 know it .

15            THE COURT :      Over ruled .

16            MR. MONTEMARANO :       Okay .

17            THE WITNESS:       I don't recall .

18            BY MR. MONTEMARANO :

19 Q.         And then you were talk ing about the thing s you

20 do during     a search    and seizure .        Do you remember    those

21 question s last week from Ms. Johnston              about the thing s

22 you seize d?

23            You were asked actual ly some question s earlier

24 today as well about search es and seizure s, what you

25 look for .     Do you remember       that question     -- those




                                                                    Page 161
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 162 of 227



 1 question s?

 2 A.        There were several       question s.

 3 Q.        It 's fair to say , because       you've   been sitting

 4 here during     the trial , you've     heard some of the other

 5 search    and seizure    witness es who have testifi ed for a

 6 search    and seizure    warrant    for a particular    location

 7 come s with something         attach ed to it call ed Schedule      A;

 8 right ?

 9 A.        Whatever    you label it .     It could be Schedule       A,

10 B?

11 Q.        Schedule 1 ?

12 A.        Whatever , yes .

13 Q.        Attachment     A.

14 A.        Yes , there 's usually     an attachment .

15 Q.        There 's something , and what it is , for lack of a

16 better    term , it 's a shop ping list .      These are the

17 thing s you can grab ?

18 A.        I think that 's kind of mis stati ng it .        It 's not

19 a shop ping list .      It 's a list of thing s you're

20 permitted     to seize under the law .

21 Q.        Permitted    to seize based upon what you are

22 look ing for ; correct ?

23 A.        Based upon probable       cause articulate d in the

24 affidavit .

25 Q.        The simple     fact is , you're    not going there




                                                               Page 162
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 163 of 227



 1 look ing for evidence      that will exculpate      anybody ; are

 2 you , sir ?

 3 A.        I don't know     we're allow ed to seize exculpatory

 4 evidence .

 5 Q.        You go look ing for evidence        of a crime ; correct ,

 6 sir ?

 7 A.        I'm going there search ing for evidence          on that

 8 list .

 9 Q.        Correct ?

10 A.        That 's all I'm permitted     to -- I can't just

11 willy -nilly      seize anything   I feel like in the house .          I

12 have to seize item s on the list .

13 Q.        The thing s that you -- you were the affiant              with

14 regard    to the search    warrant   as the   person   who create s

15 that list ; correct ?      It 's not created     by the judge who

16 sign s off on it ?

17 A.        I know the -- well the U. S. Attorney 's office

18 has some in put as to whether        they agree with the scope

19 of the list .

20 Q.        So between     you and the folk s in U. S. Attorney 's

21 office , you create      a list of those thing s which you

22 believe    there 's probable    cause to seize ; is that a fair

23 statement ?

24 A.        Yes .

25 Q.        Those thing s, for lack of a better          term , are




                                                                Page 163
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 164 of 227



 1 evidence     of the crime being investigate d; correct , sir ?

 2 A.         Yes .

 3 Q.         Now , if you chose to put exculpatory         evidence     on

 4 the list in your understand ing , could you ?

 5 A.         Not my understand ing , no .

 6 Q.         Could you , while you were ther e, seizi ng those

 7 item s on Schedule       A -- we're going to call it Schedule

 8 A, for lack of a better        term , okay ?

 9            While you're    seizi ng those thing s, if you seize

10 something     that might contradict      the theory    of the case ,

11 could you at least        write down that it 's there ?

12 A.         Sure .

13 Q.         In fact , you do , in essence , write it down , for

14 lack of a better        term , when you take photograph s;

15 correct , sir ?

16 A.         It document s it , yes .

17 Q.         It document s it exact ly .     That was the next one .

18 Very good .        Now you could be a lawyer , too .

19            Maybe not .    What would your mother      say , right ?

20            The fact is , when you go into a house , there are

21 lot s of thing s there you don't take , but you at least

22 try to get an idea what was there by taking

23 photograph s; correct ?

24 A.         That 's one of the method s.

25 Q.         Okay .    You could also make list s of thing s that




                                                                Page 164
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 165 of 227



 1 are there ; right ?

 2 A.       You could do many thing s while you're          there .

 3 Q.       And you could also make de tail ed list s of thing s

 4 that might well deflate        your theory   of the case ; is

 5 that a fair statement ?

 6 A.       If those thing s were to exist , you could , but we

 7 would be there all day if we made a list of every item

 8 in the house that was , you know , 12 Ajax bottle s under

 9 the sink and three sponge s, and you could be there

10 forever .     We're not -- that 's not what we're there for .

11 We're there to conduct        a search   as part of a criminal

12 investigation .

13 Q.       That 's not what you were there for ; right ?

14 A.       Right .

15 Q.       Writing     down all the kinds of clothi ng in Ms.

16 Martin 's base ment , that would have taken time ; right ?

17 A.       Sure .

18 Q.       And writing     down all the kinds of shoe s in Ms .

19 Martin 's base ment , that would have taken time ; right ?

20 A.       Su re .

21 Q.       It would have taken yet more time to match size s

22 to the kinds of garments;        would n't that be a fair

23 statement ?

24 A.       Yes .     Anything   you do while in her house take s

25 time .




                                                               Page 165
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 166 of 227



 1 Q.       And all those thing s would be consistent             with

 2 Ms. Martin      sell ing clothi ng ; right ?

 3 A.       All of what thing s would be ?

 4 Q.       Garment , size s, shoe , those would be consistent

 5 with the suggestion       of perhaps     Ms. Martin    selling the

 6 clothi ng ; correct , sir ?

 7          MS. JOHNSTON:       Objection .

 8          Assumes     fact s not in evidence .

 9          THE COURT:      Over ruled .

10          THE WITNESS:       Or that Ms. Martin       wear s clothe s.

11          BY MR. MONTEMARANO :

12 Q.       Well , you don't know what size they were ;

13 correct ?

14 A.       No .

15 Q.       You don't know what size .         You don't know what

16 size Ms. Martin      wear s; correct ?

17 A.       That 's correct .

18 Q.       You didn't     write them down , so you don't know if

19 they were men 's clothe s there ?

20 A.       No , I do know there was men 's clothi ng there .

21 Q.       There was ?

22 A.       Yes .

23 Q.       Are you aware if Ms. Martin           wear s men 's

24 clothi ng ?

25 A.       I'm not aware of that , no .




                                                                  Page 166
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 167 of 227



1 Q.       As a train ed investigato r with all this

2 ex perience,     would it be reasonable      to assume , at least

3 a point of departure , that perhaps          Ms. Martin    only

4 wear s female     clothi ng ?

5 A.       I don't have     any basis for an opinion        as to how

6 Ms. Martin      at tire s herself   other than what I've seen .

7 Q.       You've never seen her in men 's clothing ; is that

8 a fair statement ?

9 A.       No .

10 Q.      In all that surveillance ?

11 A.      Not that I've seen .

12 Q.      And certain ly you participate d in some portion

13 in listening     to and monitoring     telephone    call s?

14 A.      Yes .

15 Q.      Those would include        the call s over Ms. Martin 's

16 land line ; correct ?

17 A.      Yes .

18 Q.      That 's the B line ; correct ?

19 A.      That 's correct .

20 Q.      And her cell phone , which is the A line ;

21 correct ?

22 A.      That 's correct .

23 Q.      And as part of that , you therefore          had a hand in

24 the composition     of the log s; correct , sir ?

25 A.      The person     monitoring    had a hand in the




                                                                 Page 167
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 168 of 227



 1 composition     of the log s.       I monitored   very few call s

 2 myself .

 3 Q.         Did you re view the log s?

 4            MS. JOHNSTON:     Objection .

 5            Beyond   the scope of direct .

 6            THE COURT:    Sustained .

 7            MR. MONTEMARANO :        May we approach ?

 8                     (At the bar of the Court.)

 9            THE COURT:    Where was that in the direct

10 examination ?

11            MR . MONTEMARANO :       Strict ly speaking,   Your Honor ,

12 there was no question        regard ing the log s of the call s.

13 However , his expertise       was based upon his knowledge          of

14 the investigation       and his re view of the evidence .         The

15 log s are a part of that .          I am entitle d, since he has

16 been proffered      as an ex pert by Ms. Johnston , to talk

17 about those thing s he did and did not consider              and the

18 basis or the weight        that he gave to those thing s he did

19 or did not consider .        They want ed him as an ex pert .

20 That 's their problem       now .

21            MS. JOHNSTON:     Your Honor , we call ed him for and

22 he gave very limited        ex pert opinion s.

23            THE COURT:    He gave very limited       ex pert opinion .

24            MS. JOHNSTON:     The one chart that had call

25 number s on it that we were going to reference             that




                                                                Page 168
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 169 of 227



 1 could possibly     have gotten     into that with the Court is

 2 not allow ing us to use , but further more, we didn't              ask

 3 him about the     call s, not any question s about the           call s

 4 that were intercept ed , not any question s about which

 5 one s were pertinent      and not .

 6            We covered    all of that with Agent Sergeant

 7 Sakala .    To now start do ing that with cross-examination

 8 with this witness       is in appropriate .     When I asked him

 9 question s ab out his opinion s, I asked him very

10 specifically , tell the ladies and gentlemen of the jury

11 what evidence     present ed here in court support ed your

12 opinion    and limited    it in that fashion .       So the notion

13 to get into log s that are not before           this jury is

14 in appropriate , way beyond      the scope of our direct

15 examination .

16            THE COURT:     I sustain   the objection .

17            MR. MONTEMARANO :    Thank you , Your Honor .

18                         (Back in open court .)

19            THE COURT:     Mr. Montemarano , how much long er do

20 you expect     to be with this witness ?

21            MR. MONTEMARANO :    Ten , fifteen    at the most .

22 Hard to say .

23            THE COURT:     Let 's take an afternoon      recess    until

24 20 of 4:00 .

25                  (Jury excused at 3:24 p.m.)




                                                                Page 169
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 170 of 227



 1                     (Off the record     at 3:24 p.m )

 2                     (On the record at     3:49 p.m. )

 3            THE COURT:     Ms. Merez is check ing on the jury .

 4            I want ed to talk about scheduling        issues .     I

 5 believe    there was a juror who         had a doctor 's

 6 appointment tomorrow morning            that won't permit us to

 7 start until     10:00 .    I'll give you an update         in a

 8 minute .

 9            I'm going    to go to 5:00 today and Wednesday .           I

10 have a guilty       plea , so we can only start at 10:00 on

11 Thursday .     Friday , I'm probably       going to start at 10:00

12 because    I have    a sent encing    that was set for 8:00 that

13 I'm going to have to move to 9:00 .            Take s me long er to

14 get dress ed , so -- take s me a little         long er to get in ,

15 so -- what is the government 's -- I want to be able to

16 tell the jury where we are .            Government 's estimation      of

17 how long they're        going to go ?

18            MS. JOHNSTON:     I think this is our last witness ,

19 Your Honor .

20            THE COURT:     Okay .

21            MS. JOHNSTON:     We have to check on some exhibit s

22 and thing s.

23            THE COURT:     I've give n you leave to recall him

24 for that Exhibit 1 , if you want to change              that exhibit .

25            MS. JOHNSTON:     Just in general , make sure we've




                                                                 Page 170
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 171 of 227



 1 got everything     in .

 2           THE COURT:       From the de fense perspective , how

 3 much time do you think you're            going to need for this

 4 witness ?

 5           MR. MONTEMARANO :       Finish    with him tomorrow

 6 morn ing , at some time tomorrow           morn ing , I think , Your

 7 Honor .

 8           THE COURT:       All right .     Well , I'm going to tell

 9 the jury that we're not really             on time , but we're close

10 and --

11           MR. MONTEMARANO :       I'm sorry ?

12           MS. JOHNSTON:       We do have the issue of the

13 government 's motion       in limine , and in term s of those

14 400 page s of transcript s.         I think it 's now --

15           THE COURT:       Why don't we do this ?       Bea, am I

16 correct     the jury can't come in until 10:00          tomorrow ?

17           THE CLERK:       Exact ly .    Yes .

18           THE COURT:       Why don't we do this ?       Why don't you

19 come in at 9:15 , and we'll slug out the remain ing

20 issue s on that , or 9:30 .        No , 9:30 will be enough     time ,

21 don't you think , to get that wrap ped up ?

22           MR. WARD:       And we'll go to 5:00 tomorrow ?

23           THE COURT:       We'll go to 5:00 tomorrow .

24           MR. MONTEMARANO :       How late do you want to go on

25 Friday , Your Honor ?




                                                                 Page 171
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 172 of 227



 1            THE COURT:    Probably    to 3:00 .     I'll talk to the

 2 jury during     the week .    I don't want to make that final

 3 decision     now , but I don't want to go until 5 o'clock             on

 4 Friday .

 5            MR. MONTEMARANO :      Your Honor , also, could you

 6 give them the possibility of          Monday    or not ?

 7            THE COURT:    Monday , we're going to have a charge

 8 conference     at 2:00, and in absence         of flow ing some

 9 other case s off of my calendar , that 's the best I can

10 do .    And if we have to pick up a Monday          to make this

11 case finish     on time , it would have to be Monday            the

12 7th .

13            MS. JOHNSTON:     I'm scheduled       to be out of town

14 that day , Your Honor .

15            THE COURT:    Well , then , we will just push this

16 along and we will get it done .

17            MS. JOHNSTON:     Your Honor , the other thing is we

18 would like a list of witness es by order , including

19 their date s of birth,       so we can run a criminal

20 histori es if need be from the defense            this evening , so

21 we can be prepared       to start their case tomorrow , since

22 Mr. Montemarano       is done .

23            MR. MARTIN:     I'll do what I can to get date s of

24 birth .     I have   given the government       notice     as to who I

25 expect     to call tomorrow , Your Honor , so I'll make some




                                                                  Page 172
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 173 of 227



 1 phone call s tonight .

 2            MS. JOHNSTON:     It would help us very much to

 3 know what order we're going in , not going from one

 4 witness     for Mr. Goodwin      to one witness       from Mr.

 5 Martin .

 6            THE COURT:    Collectively , the defense          is

 7 required     to tell the prosecution , just like she had to

 8 tell you , who the anticipate d witness es are for

 9 tomorrow .     So , do that .     I don't care who 's call ing

10 them , just do it .

11            MR. MONTEMARANO :      I can tell the Court with

12 regard     to Ms. Martin , Mr. McKnett        and I plan to start

13 with Mr.      -- Sergeant    Sakala    and call s.      I have issue d

14 subpoena s and they were present ed to Your Honor on

15 Thursday , but un fortunate ly didn't          go out until

16 yesterday , returnable       Tuesday      of next week .     Those

17 three people     are Matthew      Shannon,    a member     of the DC

18 Bar ; Gilbert    Williams , with whom Ms. Johnston               is

19 imminent ly familiar ; and Marcia           Jean West, like wise .

20            MS. JOHNSTON:     That would not be correct , Mr.

21 Montemarano .     I'm not imminent ly familiar           with Mr.

22 Williams.      He may have      written    a letter    to me .        I'm not

23 im minently    -- that bring s up other issue s.            My concern

24 is we were suppose d to be in the defense               case this

25 week , if it hadn't     been for losi ng last Thursday .




                                                                     Page 173
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 174 of 227



 1 THE COURT:         Why can't they be here         this week , Mr.

 2 Montemarano ?

 3            MR. MONTEMARANO :        I thought     it would be

 4 appropriate        to give these people         enough   time .

 5            THE COURT:      Call them up and ask them if they

 6 can come in early .         I don't want any empty space .

 7            MR. MONTEMARANO :        I will     do that .

 8            THE COURT:      Let 's bring the       jury in .       I will see

 9 you tomorrow        morn ing at    9:30 .

10            MR. WARD:      9:30 ?    I thought     you said 9:15 , your

11 Honor .

12            THE COURT:      I'm sorry ?

13            MR. WARD:      I thought     you said 9:15 .

14            THE COURT:      Is half an hour going to be enough

15 to slug this out ?        It sounds         like it should    be .

16            MR. WARD:      9:30 is fine .

17            THE COURT:      Make it 9:30 sharp , not 9:40 .

18            MR. MARTIN:      I'll get up early,           Your Honor , so I

19 don't have    to speed to get here .

20            THE COURT:      I'm re-enforced, ready for another

21 hour.     I've taken two Tylenol , extra strength , and I'm

22 re ady to   go .

23            Well, I'm going to give the jury what the

24 schedule    is , as best as I can tell them right now , but

25 it would be 10:00 tomorrow , 10:00 Thursday , and 9:00 --




                                                                        Page 174
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 175 of 227



 1 10:00 Friday .     I might be able to do 9:30 , if you trail

 2 a sentenci ng that 's set for 9:00 , if you want to try to

 3 do 9:30 .     We might have a slight        delay with that , so we

 4 can get more testimony        in .     Well , I'll give them that

 5 schedule    for the week .

 6                   (The witness       resumes   the stand .)

 7                   (Jury return s at 3:56 p.m. )

 8            THE COURT:     Let me re view with you the schedule

 9 for the rest of the week as best I can tell you what it

10 is right now .     We'll go to about 5 o'clock          today .

11 Tomorrow , we'll start at 10:00 and go to about 5

12 o'clock .     I am advise d that it appear s that        the

13 government 's last witness           will be the one that 's on the

14 stand now , and he should       be finish ed tomorrow         morn ing ,

15 so we will be going into the defense             case tomorrow .

16            On Thursday , we'll begin at 10:00,         and on

17 Friday , I'm not finally       resolve d on this , it might be

18 9:30 , and I'll try to see if I can get out earlier                 than

19 normal   on Friday , but depend ing on how slow we're

20 going , I may have       to go a little     long er , but I will

21 give you an update        on that as the week wear s on , but

22 you should     as sume that tomorrow , Wednesday        the 26 th and

23 Thursday    the 27 th , that we're going to be going both

24 day s from 10:00 to 5:00 .

25            All right .    You may proceed .




                                                                  Page 175
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 176 of 227



1             MR. MONTEMARANO :        Thank you , Your Honor .

2             BY MR. MONTEMARANO :

3 Q.          When we broke , Detective       Eveler , we were talk ing

4 about negative         fingerprint    result s with regard    to the

5 test s run on the evidence           in this matter ; is that a

6 fair statement ?         Correct , sir ?

7 A.          We discuss ed it , yes .

8 Q.          You also took a DNA sample        from my client ;

9 correct ?

10 A.         I didn't    take a DNA sample     from anyone .

11 Q.         Law enforcement     did ?

12 A.         Yes .

13 Q.         Pursuant    to a court order ; correct ?

14 A.         I don't know    if it was consensual      or court

15 ordered .

16 Q.         As a result    of the DNA testing , there were no

17 positive     result s regard ing Ms. Martin ; is that correct ?

18 A.         I don't recall .

19 Q.         During   the time of your investigation , there

20 were no controlled        buy s or purchase s regard ing Ms.

21 Martin ; were there ?

22 A.         By whom ?

23 Q.         By law enforcement .

24 A.         No .

25 Q.         You know what a controlled        buy is ; right ?    We've




                                                                  Page 176
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 177 of 227



 1 heard testimony ?

 2 A.         , I'm somewhat      familiar    with them .

 3 Q.         Somewhat    familiar    with them .

 4            And there were -- there was no -- there were no

 5 controlled        purchase s or anything      like that regard ing

 6 Mr. King ; correct ?

 7 A.         I'm sorry ?    Purchase s for Mr. King ?

 8 Q.         No controlled     purchase s for Mr. King ; correct ?

 9 A.         That 's correct .

10 Q.         In fact , before     his arrest     in Indianapolis , he

11 had never been surveil led at Ms. Martin 's home or

12 anything     like that ; correct ?

13 A.         Not by me .

14 Q.         Like wise , Mr. Philpot       had never been seen at Ms.

15 Martin 's home , had he ?         Correct ?

16 A.         Not by me .    By other witness es .

17 Q.         By law enforcement ?

18 A.         No .

19 Q.         Mr. Brim hadn't      been seen at Ms. Martin 's home ;

20 correct ?

21 A.         By whom ?

22 Q.         By law enforcement .

23 A.         No .

24 Q.         There weren't     any -- strike       that .

25            And Mr. Thurman      hadn't    been seen at Ms. Martin 's




                                                                Page 177
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 178 of 227



 1 home by law enforcement ; had he ?

 2 A.       No .

 3 Q.       Certain ly not Mr. Encarnacion , because           he was

 4 pretty   much in custody     from the beginning       of your

 5 investigation ; correct ?

 6 A.       He was seen during       the previous    investigation .

 7 Q.       How many time s?

 8 A.       Once that I recall .

 9 Q.       Once .   And Mr. Uriarte ?      Was he ever seen at my

10 client 's by law enforcement ?

11 A.       He was n't seen outside       of New York that I know

12 of by law enforcement .

13 Q.       And Mr. Echarte ?      He was n't seen at my client 's

14 home , correct , by law enforcement ?

15 A.       That 's correct .

16          MR. MONTEMARANO :      Court 's indulgence , please .

17          No further    question s ,Your Honor .       Thank you .

18          THE COURT:      All right .    Further   cross ?

19          MR. MARTIN:      Thank you , Your Honor , with the

20 Court 's permission .

21                          CROSS-EXAMINATION

22          BY MR. MARTIN:

23 Q.       Good afternoon , Detective .

24 A.       Good afternoon .

25 Q.       You're   the case agent , and so you've         summarize d




                                                                Page 178
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 179 of 227



1 the evidence         for the jury ; correct ?

2 A.          I've answered     the question s put to me .

3 Q.          That was in an effort        to summarize   the evidence

4 that has been admitted ; correct ?

5 A.          I would presume     so .

6 Q.          You would presume     so .

7             You were sitting     here through    most of the trial ;

8 right ?

9 A.          Every day .

10 Q.         And you've    been involve d in this investigation

11 since what year ?

12 A.         2002 .

13 Q.         2002 .    So , it would be fair to say that you're

14 familiar     with this case better       than most people ; would

15 that be an accurate        statement ?

16 A.         I would guess so .

17 Q.         Now with respect     to Mr. Goodwin , there was no

18 surveillance        of his home ; is that correct ?

19 A.         None that come s to mind .

20 Q.         And there was no Title 3 wiretap        on his phone ;

21 is that correct ?

22 A.         That 's correct .

23 Q.         And with respect     to the organizational      chart

24 that we're look ing at -- you put that together ; right ?

25 A.         Yes .




                                                               Page 179
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 180 of 227



1 Q.          Did you have any help do ing that ?

2 A.          Yes .

3 Q.          Who help ed you ?

4 A.          Our analyst    did some of the work at my

5 direction .

6 Q.          And with respect        to your testimony   here today ,

7 you've     not had an opportunity , other than me see ing you

8 in the hall way and say ing hi or good day , you and I

9 have never really         spoken    about this case ; have we ?

10 A.         Once or twice , you asked to have some title s

11 return ed to Mr. Goodwin , and you asked about the --

12 some drug analysis .

13 Q.         That 's correct .       But in term s of your testimony ,

14 I haven't     had an opportunity        to prep you or prepare      you

15 for the question s that I'm going to ask you , have I?

16 A.         You didn't    ask .

17 Q.         Is it your testimony , Detective        Eveler , that if

18 I had asked , you would have been more than willing              to

19 sit down and talk to me about this case ?

20 A.         I don't know .        I've never -- I don't know    I've

21 ever been asked .        I think one time in my whole career           a

22 defense    attorney     has spoken    to me .

23 Q.         Now , with respect       to the chart s -- let 's move

24 straight     to this chart here , that I believe        is the

25 telephone     chart .    It 's sort of a global     -- I wish --




                                                                 Page 180
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 181 of 227



 1 let 's see .       Can you see that , sir ?

 2 A.         Yes .

 3 Q.         Did you put that together ?

 4 A.         Yes .

 5 Q.         This chart here has the contact           frequenci es on

 6 it ; correct ?

 7 A.         That 's correct .

 8 Q.         And when we talk about contact         frequenci es ,

 9 we're not talk ing about actual        phone conversation s; are

10 we ?

11 A.         Just the one s that would have occurred          -- the

12 telephone      contact s that occurred      during   the wiretap .

13 During the course of the wiretap , those would be

14 included     in there , along with DNR contact s that

15 occurred     prior to the wiretap .

16 Q.         Understood .     But a contact     would be a phone

17 message    left on an answering      machine ?

18 A.         Could be .

19 Q.         A contact    could also be a ring of three or four

20 time s with no answer ; could n't it ?

21 A.         Could be .

22 Q.         So when you -- what you have here on this chart ,

23 for example , in the case of Learley           Goodwin , 856

24 contact s between       November , 2002 , and June , 2004 .

25 Would n't you agree that that 's mis lead ing ?




                                                                Page 181
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 182 of 227



 1 A.         No .    We've -- I think I explained          it to the jury

 2 when we went over that that it includes                 -- all it show s

 3 is telephone        contact s.   It does not show the nature            of

 4 the call .        It does not show the duration          of the call ,

 5 and it does not show the content              of the call .

 6 Q.         Given that, would n't it have been more accurate

 7 to say that over that period           of time , that there were

 8 43 phone conversation s between             Paulette    Martin   and

 9 Learley     Goodwin ?    Would n't that have been a more

10 accurate     depiction     of what's   going on here ?

11 A.         Well , that give s you a small window .            We were

12 monitoring        her phone line s for approximately          85 day s.

13 That 's a very small window         given that this conspiracy

14 is charge d from 19 97 to 2004 .

15 Q.         I agree .     That 's a small window .        There were

16 10 ,000 contact s, right ?        Over 10 ,000 .       Isn't that the

17 testimony     we heard ?

18 A.         That 's probably      a pretty    good ballpark .

19 Q.         And out of 10 ,000 , 856 contact s is a small

20 window    as well , to use your own words ; isn't that

21 correct ?

22 A.         I'm sorry , could you repeat         that ?

23 Q.         Out of 10 ,000 , would n't you agree that 856 is a

24 relative ly small number ?

25 A.         Those are the number s that I chose to put on




                                                                    Page 182
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 183 of 227



 1 there as I believe       the -- your client      use d many more

 2 phone s than were included       on that chart .

 3 Q.        And 43 is a number      that 's even small er than 856 ;

 4 would n't you agree ?

 5 A.        I agree that 43 is less than 856 .

 6 Q.        You said that my client       had several     phone s and

 7 you 've listed    a number    of phone s here , and I've put

 8 note s on this , and that 's the only reason          I'm not

 9 show ing this to the juror s.

10           MR. MARTIN:     But if I might approach , Your

11 Honor .

12           THE COURT:     You may .

13                        MR. MARTIN:     Thank you , sir .

14                          CROSS-EXAMINATION

15           BY MR. MARTIN:

16 Q.        Here where it says Learley        Goodwin .    Would you

17 agree with me that there are seven phone number s listed

18 there --

19 A.        Yes .

20 Q.        -- under his name ?

21 A.        Yes .

22 Q.        Thank you , sir .    And this is the same chart

23 we've been talk ing about , Chart No. 2 ; right ?

24 A.        Yes .   That 's a small er version     of it , yes .

25 Q.        With respect    to these seven phone number s, you




                                                                Page 183
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 184 of 227



 1 didn't     introduce    any records     of who these phone number s

 2 were listed     to ; did you ?

 3 A.         Some were stipulate d to , I believe .        I can check

 4 my list here and see if any were stipulate d to .

 5 Q.         Well , is it your testimony       -- are you tell ing

 6 the ladies and gentlemen of the jury            that all seven of

 7 these phone number s are in Mr. Goodwin 's name ?

 8 A.         I didn't    say that .

 9 Q.         And you're    also not able to tell the ladies and

10 gentlemen of the jury         that out of these 856 contact s

11 that you've     listed     here , all of those contact s were

12 made by Learley        Reed Goodwin .

13 A.         No , I cannot , just like I cannot       say that every

14 telephone     call made utilizi ng Ms. Martin 's hard line

15 were made by her .         Some were made by Mr. Goodwin         and

16 other s.

17 Q.         You've   also listed     here Tiffany   Vessels   at the

18 top of this chart .         And from the period , just so you

19 can see , sir -- can you see that ?           I think this is Ms.

20 Vessels     right here .     Can you see that , sir ?

21 A.         Yes , I can see it .

22 Q.         You 've listed    here from July 27 , 2003 , to May

23 26 , 200 4, 22 contact s between         Ms. Vessels   and Ms.

24 Mart in ; correct ?

25 A.         That 's correct .




                                                                Page 184
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 185 of 227



 1 Q.       That 's about one a month ; correct ?

 2 A.       I don't know     how it break s down .      I didn't   do a

 3 month ly -- it may have      been one in July and four two

 4 month s later .

 5 Q.       I said about .      Approximately .     Would you agree ?

 6 A.       Approximately , sure .

 7 Q.       Approximately .      Almost   exact ly -- I mean

 8 as suming   that it was one      a month , if we make that

 9 assumption .

10 A.       I don't even know how I'm suppose d to answer

11 that .

12 Q.       All right .

13          But you've     listed   Tiffany   Vessels   here , and you

14 don't really      know who use d Ms. Vessels      phone to make

15 those call s; do you ?

16 A.       I do on a few occasion s.         She was intercept ed on

17 that phone .

18 Q.       She was intercept ed ?

19 A.       So was your client .

20 Q.       And the intercept s on that particular           phone when

21 Ms. Vessels    was talk ing to Ms. Martin , that was for

22 direction s to Ms. Martin 's house ; right ?

23 A.       I'd have to go back .

24 Q.       You'd have to go back and look at them .             That 's

25 fair .   If you don't recall , that 's --




                                                                Page 185
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 186 of 227



1             Now , there were also some telephone        contact s

2 that you talk ed about in Chart No. 4 regard ing Mr.

3 Goodwin 's friends        and associate s maki ng phone call s

4 after November         25 , 2003 .   Do you remember   that ?

5 A.          Yes .

6 Q.          Would you agree that if somebody         is arrested ,

7 that one of the first thing s they're            going to do is

8 call their family ?

9 A.          Could be .

10 Q.         Would you agree that one of the first thing s

11 their family        is going to do is call a lawyer ?

12 A.         Possibly .

13 Q.         Would you agree that one of the first thing s

14 that the lawyer        is going to do for a family      member    is

15 call a bondsman ?

16 A.         Sure .

17 Q.         Based on your experience , the fact that somebody

18 is call ing a lawyer        or a bondsman , that in and of

19 itself   does n't mean that they're        -- that there 's

20 anything     un usual about that ; is there ?

21 A.         Those call s weren't      between   Mr. Goodwin .    They

22 were call s -- the call s were surround ing Paulette

23 Martin   and her involve ment, and I don't believe             she 's a

24 relative     of Mr. Goodwin .

25 Q.         You believe     that Ms. Mart in is a relative       of Mr.




                                                                  Page 186
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 187 of 227



 1 Goodwin ?

 2 A.        I believe      that she is not a relative        of Mr.

 3 Goodwin .

 4 Q.        But she 's a friend ; is she not ?

 5 A.        Sure .

 6 Q.        And from the different       information    that you

 7 have , you've      establish ed that they're      pretty   close

 8 friends ; right ?

 9 A.        Sure .

10 Q.        Okay .    Now , you've   also got this Chart 5 that

11 Madam Government         had shown you earlier .     I'm not sure

12 which one that is .         I think that 's the one tha t show ed

13 the various       activities   of Mr. Thurman .     Do you remember

14 this ?

15 A.        Yes .

16 Q.        And I don't know      if you've   had occasion      to count

17 the number       of time s Mr. Goodwin 's name appear s on this

18 chart .     Have you ?

19 A.        No .

20 Q.        Have you had occasion       to count the number       of

21 time s that Mr. Thurman 's name appear s on this chart ?

22 A.        No .

23 Q.        Did you know that Mr. Thurman        work ed for Mr.

24 Goodwin     at Lobo's ?

25 A.        Yes .




                                                                 Page 187
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 188 of 227



 1 Q.         Did you check to see if he was a bona fide

 2 employee     there ?

 3 A.         As -- you said check to see if he 's a bona fide

 4 employee ?     You mean with wage and records         or ?

 5 Q.         Yeah .

 6 A.         I think during    one of the -- either      he or one of

 7 the other -- for some reason , I belie ve he may have             had

 8 a DC sales man 's license      or a card -- identification

 9 card associati ng him with Lobo's .

10 Q.         Exact ly .   A business   card that you saw at some

11 point in your investigation ; right ?

12 A.         I -- that 's what I'm thinking      of .

13 Q.         And as such , he had reason     to be at Lobo's ;

14 correct ?

15 A.         I think he had multiple      reason s to be at Lobo's ,

16 yes .

17 Q.         Well , assuming   that you think he 's there for

18 drug deal ing and assuming       that I think that he 's there

19 for some legitimate        purpose , we would agree that he has

20 a reason     for being there ; correct ?

21 A.         He could be there for dual purpose s.

22 Q.         He could be there for dual purpose s, exact ly .

23 With respect        to that dual purpose   analysis , would you

24 also agree that Mr. Thurman 's going to Texas in Lobo 's

25 vehicle s could have been for dual purpose s?




                                                                Page 188
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 189 of 227



 1 A.        I have nothing       to support    that .

 2 Q.        Well , isn't it a fact that there were some

 3 people    who drove with Mr. Thurman           to and from Texas ,

 4 who as far as      you know , had nothing        to do with drug

 5 trafficking ?

 6 A.        Yes .    Some people    went along for vacation        -- for

 7 the ride .

 8 Q.        For the long drive ; correct ?

 9 A.        Sure .

10 Q.        And when he went to Texas , you have absolute ly

11 no way of know ing whether         or not he engage d in any

12 legitimate     business      while he was there ; do you ?

13 A.        Who , Mr. Thurman ?

14 Q.        Yes , Mr. Thurman .

15 A.        I have nothing       to support    that he did .     I don't

16 have any records       or anything    to support      that .

17 Q.        And the reason       you don't have any records        to

18 support     that is because      Michael    Thurman   didn't   tell you

19 that he was do ing anything         legitimate     in Texas ; is that

20 correct ?

21 A.        I don't believe       I re covered    any document s or saw

22 any document s that coincide d with those trip s that

23 show ed he engaged      any legitimate       business   while in

24 Texas .

25 Q.        Please    listen    to the question , sir .      Michael




                                                                  Page 189
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 190 of 227



1 Thurman    never told you that he was going to Texas to

2 conduct    legitimate    business ; did he ?

3 A.         I don't recall      that , no .

4 Q.         And with respect      to the Fed Ex package s that

5 came from Texas to Maryland , you had no way of know ing

6 what was in that Fed Ex package ; do you ?

7 A.         That 's correct .

8 Q.         In fact , for all you know , that Fed Ex package

9 could have contain ed deal er license              plate s; correct ?

10 A.        Could have contain ed many thing s.

11 Q.        Could have contain ed many thing s.            Would you

12 concede   that one of the many thing s it could have

13 con tain were deal er license          plate s?

14 A.        Sure .

15 Q.        Would you also concede          that the evidence    show ed

16 that at least      one of the vehicle s, if not more , that

17 Mr. Thurman    use d on his trip s to and from Texas was

18 registered    to Lobo's     Dis count ?

19 A.        The tag was a Lobo's         tag .   I don't know   where

20 the vehicle    was technically         registered .

21 Q.        Did Mr. Thurman      ever mention       to you that one of

22 the thing s that he did while in Texas was also -- was

23 meet with other auto dis count deal er s?

24 A.        Did he mention      that ?

25 Q.        Yeah , did he ?




                                                                  Page 190
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 191 of 227



 1 A.        Not that I recall .

 2 Q.        Did he mention      to you that one of the thing s

 3 that he might have been do ing in Texas was pick ing up

 4 auto suppli es ?

 5 A.        Drive to Texas to pick up auto suppli es ?

 6 Q.        Yeah .    Did he mention    that to you ?

 7 A.        No .

 8 Q.        Did he mention      to you that one of the thing s

 9 that he might have been do ing was arrang ing for

10 meet ings so that Mr. Goodwin        would be able to ship back

11 auto suppli es from Texas ?

12 A.        No .

13 Q.        In fact , when Michael      Thurman   contact ed you , he

14 contact ed you through        his mother ; right ?

15 A.        Yes .

16 Q.        And at that time , she indicated        to you that

17 Michael    Thurman    was ready to turn himself       in ; right ?

18 A.        She made some indication .

19           MS. JOHNSTON:       Objection .   Objection .

20           Call s for hearsay .

21           BY MR. MARTIN:

22 Q.        It was your understand ing when you went there

23 that Michael       Thurman   was going to turn himself      over to

24 you ; right ?

25 A.        He was maki ng himself      available   for us to speak




                                                                Page 191
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 192 of 227



 1 to hi m.     I don't think       he want ed to be arrested .

 2 Q.         He didn't     want to be arrested , and when you said

 3 that he made himself          available     for you to   speak to him ,

 4 what you mean is he was going to tell you what he

 5 thought     you want ed to know ; right ?

 6 A.         No .    I think he was going to tell us he was

 7 going to answer         the question s we asked him .

 8 Q.         And you didn't       ask him about any legitimate

 9 business     purpose s in Texas .         You asked him about drug s;

10 right ?

11 A.         That 's correct .

12 Q.         And Michael       Thurman   never told you -- I withdraw

13 that .     Dis regard    that , please .

14            Did Michael       Thurman   admit to you that he was

15 involve d in drug s before         he met Mr. Goodwin ?

16 A.         Yes .

17 Q.         Did Michael       Thurman   tell you that he was sell ing

18 drug s out of Anacostia          Road ?

19 A.         I don't remember       if we were spe aking about where

20 he was distributing , but I do believe             he mention ed drug

21 trafficking        prior .

22 Q.         Did Michael       Thurman   tell you that he was engage d

23 in the distribution          of drug s even after Mr. Goodwin      was

24 arrested ?

25 A.         I know he was arrested          with drug s after Mr.




                                                                 Page 192
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 193 of 227



 1 Goodwin     was arrested .

 2 Q.        Then he was still , as far as        you know , still

 3 involve d in the drug trade after Mr. Goodwin            was

 4 incarcerate d; right ?

 5 A.        He was still in Texas try ing to arrange            the

 6 pick up of narcotic s that Mr. Goodwin          had sent back to

 7 El Paso .

 8 Q.        That he told you Mr. Goodwin         had arrange d for

 9 the ship ment back from El Paso ?

10 A.        Well , I think we had some corroborative            evidence

11 of that .

12 Q.        You don't know that yourself         because   you didn't

13 have any wire s on him or anybody          else at the time ; did

14 you ?

15 A.        No , I'm pretty      certain   of what happened .

16 Q.        You're    certain    because   that 's what Michael

17 Thurman     told you ; right ?

18 A.        Certain    because    that 's what we heard during        the

19 wiretap , that 's what Mr. Thurman         told us , that 's what

20 the doc uments      show us , that 's what the other evidence

21 show s us.

22 Q.        At that time , you didn't        have any wire tap s on

23 him ; did you ?

24 A.        No, we didn't .

25 Q.        You didn't    have any wire s on Mr. Thurman ; right ?




                                                                 Page 193
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 194 of 227



 1 A.        No , he was intercept ed on Paulette           Martin 's

 2 line , but we didn't       have a wire on him specifically .

 3 Q.        So again , the only reason           you know that is

 4 because     Michael    Thurman    told you that ; isn't that

 5 correct ?

 6 A.        The only reason         I know what ?

 7 Q.        The only reason         you know that drug s were being

 8 sent from Texas to Maryland            for Mr. Goodwin      is because

 9 Michael     Thurman    told you that ; right ?

10 A.        No .    Other people      told me that .

11 Q.        Well , the other people           -- I withdraw   it .

12           The other people         who told you that , would it

13 have included       his girlfriend         who drove back with him ?

14 A.        Whose girlfriend ?

15 Q.        Michael     Thurman .     He had two women who had

16 driven    with him .     Do you remember        that ?

17 A.        Yes , I remember        that .

18 Q.        Did those ladi es tell you that he went down

19 there to collect        drug s?

20 A.        I've only spoken         to one of them very brief ly .

21 That was n't part of the conversation .

22 Q.        Michael     Thurman     told you that he knew Tiffany

23 Vessels ; did he not ?

24 A.        Yes .

25 Q.        Did he tell you whether            he went to Texas with




                                                                      Page 194
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 195 of 227



 1 Tiffany    Vessels ?

 2 A.        I don't recall    that .    He did mention      he made

 3 several    trip s, and some were very specific           and some he

 4 had trouble       recall ing all the specific       de tail s.

 5 Q.        Also , as an employee      of Lobo's , did Mr. Thurman

 6 tell you whether       or not he had access        to credit     cards

 7 or deb it cards that might have been in Mr. Goodwin 's

 8 name that were issue d through         Lobo's ?

 9 A.        No .

10 Q.        Did you ask him ?

11 A.        Not specifically , no .

12 Q.        So with respect     to these package s that are sent

13 from Texas back here to Maryland , you don't really                 know

14 who paid for that ; do you ?

15 A.        No , I just know whose bank account           it was

16 reflect ed in .

17 Q.        Now , Mr. Thurman , I think it was establish ed ,

18 rent ed a car with the help of a fellow             by the name of

19 Julio Martinez .       Do you remember    that ?

20 A.        Yes .

21 Q.        There was nothing     during   your investigation         that

22 indicated    that Mr. Martinez       rent ed that car to Mr.

23 Thurman    at the insistence    or request        of Mr. Goodwin ; is

24 there ?

25 A.        No .




                                                                    Page 195
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 196 of 227



 1 Q.        In fact , Mr. Thurman      arrange d for that by

 2 himself , as far as      you know ; right ?

 3 A.        I really   don't know .

 4 Q.        Well , did Mr. Thurman      tell you that Mr. Goodwin

 5 had asked Julio Martin ez to rent him a car ?

 6 A.        No , I don't think      it came up .

 7 Q.        Rodney   Green .     Mr. Thurman    and Rodney    Green are

 8 friends ; correct ?

 9 A.        I don't know       what their relationship       is .    I

10 don't know     if it 's a business     or a friendship .          I don't

11 know .

12 Q.        But you do know that they traveled           from Houston

13 to BWI together ; right ?

14 A.        Yes .

15 Q.        And do you know that because           Mr. Green told you

16 that or do you know that because             Mr. Thurman   told you

17 that ?

18 A.        I know that based on the airline           records      and Mr.

19 Thurman .

20 Q.        But we've already       establish ed here that when

21 someone     is board ing an aircraft , they have to show ID;

22 right ?

23 A.        This post -S eptember     11 .

24 Q.        But they don't show ID all the time , if I recall

25 the testimony , that of one of the witness es ; correct ?




                                                                     Page 196
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 197 of 227



 1 Is that your recollection            as well ?

 2 A.         Yes , but I don't know        if he qualifi ed that , if

 3 they carry -- if they had -- I don't think                 he qualifi ed

 4 that in any way .            I think it was a -- he was n't

 5 specific     about that .

 6 Q.         Well , let 's be a little       more specific .       We've

 7 seen here photo s of people           who have driver 's license s

 8 with one photo and different             name s.    Do you recall

 9 that ?

10 A.         Yes .

11 Q.         So would it be fair to say that based on your

12 experience , it 's not un usual for a person              to present     an

13 ID with somebody        else 's name on it ?

14 A.         I don't think        it 's usual .

15 Q.         Based on your experience             as a police officer ,

16 it 's not un usual ; is it ?

17 A.         You don't see it as much as             you would think --

18 apparent ly as much as           you would think .      I don't see it

19 that often .        I mean , I see it , but it 's not an every day

20 occurrence .

21 Q.         Let 's talk about in the world of deception                and

22 trafficking        drug s.     Do you see it often in that

23 environment ?

24 A.         You see it .        It 's not -- you're     asking   for

25 general ization       and sometimes      you see it and sometimes




                                                                    Page 197
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 198 of 227



 1 you don't .

 2 Q.        Well , I'm asking     for your opinion , based on your

 3 status    as an ex pert .

 4 A.        Yes , I do see it .

 5 Q.        So , we really     don't know if Rodney      Green was on

 6 board that aircraft         except   for the fact that Michael

 7 Thurman    told you that ; right ?

 8 A.        Yes .

 9 Q.        And Michael     Thurman     had the use of different      ATM

10 cards while he was in Texas ; right ?

11 A.        He had the use of his ATM card while he was in

12 Texas .

13 Q.        That 's right .     His ATM card , and it was his

14 family    member s that     he was visiting    in Texas ; right ?

15 A.        He testifi ed he had family        in Houston .

16 Q.        And he had friends         in Houston ; right ?

17 A.        I would guess so.

18 Q.        In fact , all the drug connection s in Texas were

19 contact s that Michael        Thurman    had ; correct ?

20 A.        No .

21 Q.        Well , did you hear Michael        Thurman   testify   that

22 he told Mr. Goodwin         that he knew where to get the

23 cocaine    cheap in Texas ?

24 A.        From Houston , not from El Paso .         El Paso was Mr.

25 Goodwin 's connection .




                                                               Page 198
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 199 of 227



 1 Q.         So it 's your recollection          that the El Paso

 2 connection     was Mr. Goodwin 's connection           even before    he

 3 met Michael        Thurman ?

 4 A.         Yes .

 5 Q.         Do you have any evidence , other than Michael

 6 Thurman    tell ing you , that Mr. Goodwin          was transport ing

 7 goods from El Paso illegal           or otherwise      to Maryland

 8 prior to meet ing Michael          Thurman ?

 9 A.         Do I have other evidence        of that ?

10 Q.         Yes .

11 A.         Yes .

12 Q.         Let 's move on to November          25 , 2003 .   Do you

13 remember     that ?

14 A.         Yes .

15 Q.         That 's the incident       where Mr. Goodwin       was

16 arrested     in Mr. Dorsey 's car .

17 A.         That vehicle        -- it was register ed to a Mr. Dor

18 -- it was n't registered          to Raynard     Dorsey .

19 Q.         That 's correct .       In fact , it was a female ,

20 was n't it , with a last name Dorsey ; was n't it ?

21 A.         I'm not certain        on the first name .

22 Q.         We'll agree that the last name was Dorsey ;

23 right ?

24 A.         I believe    so .

25 Q.         It was a Cadillac ; right ?




                                                                   Page 199
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 200 of 227



 1 A.        I believe    so .

 2 Q.        Did you have occasion           to speak to Mr. Dorsey

 3 subsequent       to that arrest ?

 4 A.        Yes .

 5 Q.        Did you have occasion           to talk to Mr. Dorsey

 6 prior to that arrest ?

 7 A.        No .

 8 Q.        Do you know where Mr. Dorsey           is now ?

 9 A.        He 's in the Federal       Bureau of Prison s in Terre

10 Haute , Indiana .

11 Q.        With respect        to people    being outside    of the

12 jurisdiction , Park Smith was n't in this immediate               area ,

13 was he , before      comi ng here to testify ?

14           MS. JOHNSTON:         Objection    as to the   relevance .

15           MR. MARTIN:         I withdraw    the question , Your

16 Honor .

17           BY MR. MARTIN:

18 Q.        We will agree that the car was not registered                 to

19 Mr. Goodwin ; correct .

20 A.        That 's correct .

21 Q.        We'd also agree that the car was primarily                 use d

22 by Mr. Dorsey       prior to Mr. Goodwin        having   it ; correct ?

23 A.        No , I can't agree to that .          I don't have    any

24 information       to support    that .

25 Q.        Well , you spoke to Mr. Dorsey ; right ?




                                                                  Page 200
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 201 of 227



 1 A.         Yes .

 2 Q.         Mr. Goodwin    never told you that was his car ; did

 3 he ?

 4 A.         I didn't    speak to Mr. Goodwin        about that matter .

 5 Q.         You've   spoken      to many people    and nobody    told you

 6 that was Mr. Goodwin 's car ; did they ?

 7 A.         I don't know        that I've asked anyone      about that

 8 car .

 9 Q.         Now , with respect       to the drug s that were seize d

10 from that car on that particular            date , my recollection

11 is that that was in a false bottom               contain er .   Do you

12 recall     that ?

13 A.         It was in some sort of false contain er .             A

14 bottle .

15 Q.         Like a Pepsi bottle        or something     like that ?

16 A.         I believe    so .

17 Q.         And the Pepsi bottle        would have been made out of

18 plastic ; right ?

19 A.         Yes .

20 Q.         Have you actual ly seen the bottle ?

21 A.         I saw it here in court .

22 Q.         You saw it in court ?        And I think also you had

23 testifi ed earlier       about fingerprint s and how hard it

24 was to lift print s from plastic .           That was your

25 testimony ; was n't it ?




                                                                   Page 201
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 202 of 227



 1 A.         I believe    we were talk ing about plastic       bag s at

 2 the time .

 3 Q.         Well , let 's talk about plastic      bottle s now .       Is

 4 it hard to get usable        print s from a plastic       bottle ?

 5 A.         Depends    on the circumstance s.

 6 Q.         Actual ly , usable     isn't the right term .     What is

 7 the term that law enforcement           use s with    print s that --

 8 A.         Latent    of value .

 9 Q.         Of value .    It depends    on the circumstance .         If

10 somebody     touch es a bottle     and place s it in a particular

11 place and it 's not wipe d down , the oil s from           the ridge s

12 on your finger s would leave print s; would they not ?

13 A.         Not of value .    It would depend .        It depends     on

14 how you place it , it depends         on how touch it , it

15 depends    on how oily your hands are .         It depends    on the

16 weather    condition s, it depends       on many thing s.     You

17 have to -- if you have to set it down , if you smear it

18 as you set it down , if your finger s slide , you've

19 de value d that latent .

20 Q.         That 's why we're not only talk ing about print s

21 when we're dus ting .       We're also taking        impression s, I

22 guess , of the thumb as well as the          finger s and maybe

23 the sides of the finger s as well .          Would that be

24 accurate ?

25 A.         The sides of finger s are not --




                                                                 Page 202
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 203 of 227



 1 Q.        In other words , you would roll the finger          when

 2 you're    taking   a print ; would n't you ?

 3 A.        Yes .

 4 Q.        The reason   you'd roll the finger       is just for the

 5 reason s you 've state d.      Sometimes   when somebody    touch es

 6 a bottle , they don't touch it flat , they may touch it

 7 at an angle ; right ?

 8 A.        That 's not my understand ing as to why we roll a

 9 print .

10 Q.        Do you roll the print ?

11 A.        To get a good impression       of the pad of the

12 finger , the center     portion   where the roll s, loop s are

13 in the center      portion   of the   finger .

14 Q.        Aside from the central       portion   of the

15 fingertip s, what other portions of the hand are rolled,

16 based on your experience ?

17 A.        I routine ly do the palm and the        thumb .

18 Q.        The palm and the thumb ?

19 A.        Yes .

20 Q.        If you grab the bottle , would those part s of the

21 hand be involve d in pick ing up the bottle ?

22 A.        If you use your entire       hand and not your

23 finger tips.

24 Q.        If you use your fingertip s, you would probably

25 lea ve print s; would you not ?




                                                               Page 203
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 204 of 227



 1 A.         You could .

 2 Q.         Okay .     Well , let 's not quibble .    Can we agree

 3 that if you were able to link that bottle              to Learley

 4 Reed Goodwin , that that would be compelling             evidence ?

 5 A.         Sure .

 6 Q.         But that was n't done in this case ; was it ?

 7 A.         No .     We don't have a latent    of value from that

 8 bottle .

 9 Q.         Now , let 's go to Drug s 31 , which was at 36

10 Farragut     Place , Northwest , Washington , D. C. ; remember

11 that ?     The bag that the officer        testifi ed was found in

12 the cabinet        in the base ment ?    Were you here for that ?

13 A.         I was here for that .        There was a lot of drug

14 exhibit s.        I'm try ing to   differentiate    between   the

15 different      drug exhibit s.      The kilo in the base ment in

16 the file cabinet ?

17 Q.         Correct .

18 A.         Yes .

19 Q.         Remember     that ?

20 A.         Yes .

21 Q.         Again , that was also in a plastic         contain er ;

22 was n't it ?

23 A.         It was wrap ped in plastic       wrap , I believe .

24 Q.         Plastic     wrap ?    Can we agree that some medium s

25 are better        than other s for get ting print s of usable        --




                                                                 Page 204
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 205 of 227



 1 of value , I think , as you put it ?

 2 A.        Sure .

 3 Q.        Can we agree on that ?

 4 A.        Yes , we can .

 5 Q.        For example , it might be hard er to get print s

 6 off of wood than it would be to, perhaps , paper ?                Or

 7 vice versa ?

 8 A.        It would depend      on the finish    of the wood .

 9 Q.        That 's true .     Or maybe it would be hard er to get

10 print s, if not im possible , off cloth , but it would be

11 easier    to get it off of paper .       Could we agree on that ?

12 A.        Possibly .

13 Q.        Would we agree that plastic        is one of the      better

14 medium s for get ting print s of value ?

15 A.        It depends .      Plastic   is a petroleum   product      and

16 fingerprint s de grade when in contact         with plastic       over

17 a long period      of time .

18 Q.        Agreed .

19           Can we also agree that , like the bottle           in the

20 car , if print s could have been taken off of that

21 plastic    wrap ping that had Mr. Goodwin 's fingerprint s on

22 it , that that would have been compelling            evidence ?

23 A.        Sure .     There 's a lot of thing s that would be

24 compelling     evidence .

25 Q.        I'm just talk ing about that particular          kilo .




                                                                Page 205
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 206 of 227



 1 Can we agree that if his fingerprint s were found on

 2 that , that would be something         that you would put

 3 forward     before   the ladies and gentlemen of the jury       ?

 4 A.         Sure .

 5 Q.         That was n't done in this case ; was it ?

 6 A.         There were no latent s of value .       The Saran wrap

 7 was very wrinkle d, so there was no latent s of value .

 8 Q.         Did you dust it ?

 9 A.         No .

10 Q.         Did you send it to the lab ?

11 A.         I've seen the wrapper .

12 Q.         Did you send it to the lab for testing ?

13 A.         No , I did not .

14 Q.         So you really      don't know that ; do you ?

15 A.         Don't know what ?

16 Q.         That there were no print s of value on the bag ?

17 A.         We have   a report    say ing there 's no latent s of

18 value .

19 Q.         So in other words , there are no print s of

20 Learley     Reed Goodwin   that you know of on that bag ;

21 right ?     On that wrap ping ?

22 A.         There are no late nts of value on any item s of

23 evidence     in this case for Mr. Goodwin .

24 Q.         Let 's talk a little     bit more about Farragut

25 Place , Northwest .      Did you actual ly go to 36 Farragut ?




                                                               Page 206
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 207 of 227



1 A.        No .

2 Q.        At no time before      or after , you' ve not been

3 there ?

4 A.        No , I have been there afterwards .

5 Q.        Did you have occasion        to go in any of the

6 bedroom s?

7 A.        No , I've never been in side the front door of

8 that address .

9 Q.        Do you know who was living         there at the time ?

10 A.       Do I know who was living        there ?

11 Q.       Yeah , who was living     at 36 Farragut     on the day

12 that the search     warrant   was executed ?

13 A.       Mr. Goodwin .

14 Q.       Was anyone     else living    there ?

15 A.       Tiffany    Vessels , I believe .

16 Q.       Anyone    be sides Mr. Goodwin     and Ms . Vessels ?

17 A.       Could n't tell you .

18 Q.       Don't know ?

19 A.       Don't know .

20 Q.       What about Anacostia      Road ?    We heard a lot about

21 the apartment , the multiple       dwell ing unit there .      Did

22 you have occasion      to go there ?

23 A.       Yes .

24 Q.       And there were four unit s; right ?

25 A.       Yes .




                                                               Page 207
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 208 of 227



 1 Q.        And I think we heard some testimony              about

 2 Apartment    No. 4 , which was on the second          floor on the

 3 right-hand       side ?

 4 A.        That 's correct .

 5 Q.        And you 've been in that apartment ; right ?

 6 A.        No .

 7 Q.        You've     never been in there ?

 8 A.        No .

 9 Q.        Did you have occasion           to talk to Michael       Thurman

10 about that apartment ?

11 A.        Yes .

12 Q.        Did Michael        Thurman    tell you that he had access

13 to that apartment ?

14 A.        He said he had stay ed there before .

15 Q.        So he told you he had a key ; right ?

16 A.        I'm assuming        he had some method    of entry .

17 Q.        Did he tell you that Tiffany           Vessels    also had a

18 key to that apartment ?

19 A.        As a matter of fact          , I was there look ing for

20 Tiffany    Vessels        at that apartment .

21 Q.        Did you have occasion           to spe ak to anybody      else

22 in that build ing ?

23 A.        Yes .

24 Q.        Who was that ?

25 A.        The resident        of apartment    -- I believe    it was




                                                                  Page 208
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 209 of 227



1 three , direct ly across the hall .

2 Q.         Would that have been Margaret          Battle ?

3 A.         Could have been .

4 Q.         It was a female ?

5 A.         Yes , it was a male and a female .

6 Q.         Was the other -- was the male a fellow              by the

7 name of Pop s?        Do you recall ?

8 A.         Don't recall .

9 Q.         Don't recall ?      Did you have occasion         to go to

10 Lobo's    Auto Dis count over on Florida        Avenue ?

11 A.        Yes .

12 Q.        Did you have occasion        to talk to any of the

13 people    there ?

14 A.        Yes .

15 Q.        When you went over to Lobo's          Auto Dis count , was

16 Mr. Goodwin       there at the time ?

17 A.        No , he had been arrested .

18 Q.        He had already      been arrested .     Did you see any

19 drug activity       taking   place there at the time ?

20 A.        No .    Mr. Goodwin   had already     been arrested .

21 Q.        Well , that 's not what I asked you .        I asked you

22 whether    or not    you saw any drug activity,       so I guess

23 the answer       is no .   Is that your answer ?

24 A.        No , I said no .

25 Q.        When you went to Lobo's , was Michael             Thurman




                                                                  Page 209
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 210 of 227



 1 arrested     yet ?

 2 A.         Yes .

 3 Q.         Do you know Michael       Jackson ?

 4 A.         He 's a sing er .

 5 Q.         No , not that Michael      Jackson .    Michael   Jackson

 6 who work ed for Lobo's .

 7 A.         I'm familiar      with the name .

 8 Q.         Was he there at the time ?

 9 A.         No , he was not .

10 Q.         He was n't .   With respect    to the drug s that were

11 found -- well , let 's not jump ahead .           Were there any

12 drug s found at Lobo's ?

13 A.         Yes , in 2002 .

14 Q.         And were those found in the same kind of hidden

15 contain er s?

16 A.         The drug s were re covered     in hidden    contain er s,

17 yes .

18 Q.         Do you recall       who was there at the time that

19 that search        took place in 2002 ?

20 A.         There were a number       of people    there .

21 Q.         Mr. Goodwin    was n't there ; was he ?

22 A.         No , he was not .

23 Q.         And with respect       to those contain er s, they were

24 can s; right ?

25 A.         Yes .




                                                                 Page 210
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 211 of 227



 1 Q.        And you recall      whether   or not there were any

 2 fingerprint s of value taken from any of those can s?

 3 A.        The agent testifi ed -- I'm try ing -- I can't

 4 recall    what his response     was .   He did testify    about the

 5 process ing .

 6 Q.        Based on your recollection , there was no

 7 testimony    that Learley     Reed Goodwin 's fingerprint s were

 8 found on any of those can s, were there ?

 9 A.        As I said earlier , I do not have any latent s of

10 value in this case associate d with Mr. Goodwin            on any

11 item s of evidence .

12 Q.        Would you agree with me that fingerprint s can

13 also be found or taken from paper ?

14 A.        Yes .

15 Q.        And these items that you pick ed up from

16 Farragut , that you've      mark ed as Goodwin    1 through    33 .

17 There was a glass bowl taken from Goodwin            -- I'm sorry ,

18 from Farragut .     Do you remember      that ?

19 A.        Yes , the one locate d next to the kilo .

20 Q.        Right .   And would you agree with me that glass

21 is a good medium     also for taking      fingerprint s or

22 lift ing fingerprint s?

23 A.        Sure , if it 's smooth .

24 Q.        If it 's smooth .     There was also a Tanita      digital

25 scale ?




                                                               Page 211
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 212 of 227



 1 A.       A Tanita    scale .

 2 Q.       How do you say that ?

 3 A.       Tanita .

 4 Q.       Digital    scale , and what is that scale made from ?

 5 A.       Some sort of plastic , it appear s.

 6 Q.       Plastic    again ?

 7 A.       Yes .

 8 Q.       Like the plastic      of the Pepsi bottle s that we

 9 talk ed about earlier ?

10 A.       I'm not sure if it 's the      same chemical

11 composition      of that plastic , but yes , it 's some sort of

12 plastic .

13 Q.       And there was also baki ng soda , right , by the

14 bread box ?

15 A.       Yes .

16 Q.       And cardboard , we've already       -- well , we haven't

17 establish ed , but cardboard      being a wood product      similar

18 to paper , would you agree that it , too , was a good

19 medium   for taking    fingerprint s?

20 A.       Sometimes .

21 Q.       And no fingerprint s were taken of any of those

22 box es of baki ng soda ; right ?

23 A.       There are no latent s of value associate d with

24 your client      on any item s of evidence    in this case .

25 Q.       Did you label these exhibit s or was that done by




                                                               Page 212
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 213 of 227



 1 government       trial counsel ?

 2 A.        Did I label them ?

 3 Q.        Yeah .     In other words , these exhibit s are

 4 labeled     Goodwin       1 through    and 36, and they're   from

 5 Fa rragut    Place .       Did you label those or was that done

 6 by someone       else ?

 7 A.        I didn't        participate    in the label ing process .

 8 Q.        I'm just try ing to get , you know , the role s

 9 clear .     I know you made the chart s.          I was wond ering if

10 you also labeled           the exhibit s.

11 A.        No , I assisted .        I assisted   -- when we went

12 through     and mark ed the exhibit s, I assisted          with that .

13 Q.        When you say you assisted , did you actual ly say ,

14 well , this is from Farragut , this belong s to Goodwin ?

15 A.        No .     I said these -- when you go through         the

16 evidence , there 's a sort ing process           on -- because      you

17 can't cart everything           in here , so we said , well , you

18 know , this piece of paper is so -and -so 's phone number ,

19 this is this , this is why we care about this .               This is

20 why we care about that .              That was my participation      in

21 that process .

22 Q.        The reason        I ask is because    if we --

23           MS. JOHNSTON:         Objection    to counsel 's giving     his

24 reason s for do ing it .

25           THE COURT:         Over ru led .




                                                                 Page 213
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 214 of 227



1          BY MR. MARTIN:

2 Q.       Let 's move to Oglethorpe .         The evidence     that was

3 seize d from Oglethorpe       -- well , before     we get to that .

4          Oglethorpe     -- 846 Oglethorpe      Street , Northeast

5 was the home of Larry Lane ; right ?

6 A.       That 's correct .

7 Q.       And there were several         item s taken from

8 Oglethorpe      Street ; correct ?

9 A.       That 's correct .

10 Q.      But none of those item s are listed          as Lane 1 or

11 Lane 2 or Lane 3.       They're     all listed   as Oglethorpe     1,

12 2, 3, et cetera ; correct ?

13 A.      That 's correct .

14 Q.      So my question      is :    Did you decide   to label

15 these Oglethorpe     as opposed      to Lane , or did somebody

16 else do that ?

17 A.      Did I make that choice ?

18 Q.      Yes, sir .

19 A.      No .

20 Q.      So somebody     else did that ?

21 A.      Yes .

22 Q.      But you made this chart here put ting Learley

23 Reed Goodwin     and Paulette      Mart in in the center ?

24 A.      Yes .

25 Q.      With respect     to Oglethorpe , as long as        we're




                                                                Page 214
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 215 of 227



 1 summarizi ng the evidence       for the jury , there were

 2 toolbox es found there ; weren't        there ?

 3 A.       That 's correct .

 4 Q.       There were , what , four toolbox es ; right ?

 5 A.       At least .

 6 Q.       And three were dusted         for fingerprint s; right ?

 7 A.       At least    -- at least    three .

 8 Q.       At least     three , and the fourth      one , the small

 9 one , was not ; right ?

10 A.       I recall     that one was not -- a small er one was

11 not .

12 Q.       Again , Mr. Goodwin 's fingerprint s weren't           found

13 on any of those toolbox es ; were they ?

14 A.       There were no latent s --

15          MS. JOHNSTON:       Objection .

16          THE COURT:      Sustained .

17          MR. MARTIN:      Court 's indulgence      wh ile I'm

18 look ing at my note s.

19          BY MR. MARTIN:

20 Q.       You had said earlier       that El Paso , Texas was Mr.

21 Goodwin 's connection , if I heard you correct ly .             Is

22 that an accurate      statement    of your testimony ?

23 A.       Yes .

24 Q.       Do you have any surveillance         of Mr. Goodwin         in

25 El Paso , Texas ?




                                                                Page 215
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 216 of 227



1 A.          No , I do not .

2 Q.          Did you tell Michael      Thurman     that it would go

3 better     for him if he cooperate d?

4 A.          No .

5 Q.          You 've testifi ed , if I remember       correct ly , that

6 big Mike is Mike Thurman .

7 A.          Tall Mike is Mike Thurman , Cadillac         Mike is Mike

8 Thurman , and I believe         one of Michael      Thurman 's phone

9 number s was listed         next to Big Mike .

10 Q.         Are you certain      of that , that Big Mike and Mike

11 Thurman     are the same person ?

12 A.         I'm not sure that there aren't          two big Mike s.

13 Q.         Would you also agree that Mr. Goodwin           had --

14 be sides Lobo's , he had other legitimate            business es ,

15 such as a restaurant ?         Would you agree with that ?

16 A.         No .

17 Q.         The restaurant      was not a legitimate     business ?

18 A.         Whatever   front business        a drug trafficker     use s,

19 I don't know      that that make s it legitimate        if you're

20 using it to launder         your drug proceeds .      I would not

21 consider     a business     front a legitimate      business,

22 although     it may conduct     some "legitimate " business .

23 Q.         Let 's assume     for a min ute that Mr. Goodwin        is

24 presumed     innocent .     Would you indulge      me in that ?

25 A.         He is presumed      innocent .




                                                                   Page 216
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 217 of 227



 1 Q.         Is a restaurant       a legitimate   business ?

 2 A.         It can be .

 3 Q.         Again , with the same presumption        that Mr.

 4 Goodwin     is innocent    as he sit s here .

 5            MS. JOHNSTON:        Objection , Your Honor .

 6            MR. MARTIN:      Is an Auto Dis count Store ?

 7            THE COURT:      Over ruled .

 8            BY MR. MARTIN:

 9 Q.         Is an auto dis count store a legitimate           business ?

10 A.         It could be .

11 Q.         Are rental    properti es a legitimate     business es ?

12 A.         They can be .     They can also be front s for money

13 laundering .

14 Q.         Well , do you know how Mr. Goodwin        came into

15 possession        of his property ?

16 A.         Would you be more specific ?

17 Q.         Did you know that he inherited         property    from his

18 father ?

19 A.         No .

20 Q.         And Lobo's    being a business , irrespective        of

21 whether     you think it 's legitimate      or not , I think

22 you 've already       testifi ed that there were several        people

23 there at the time that you went there ; is that correct ?

24 A.         Th at 's correct .

25 Q.         Would it be safe to assume        that in run ning a




                                                                 Page 217
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 218 of 227



 1 business , sometimes       people   have to use the telephone ?

 2 A.        Yes .     In many type s of business , you have to use

 3 a telephone .

 4 Q.        Would it also be safe to assume         that because     Mr.

 5 Goodwin     is associate d with that business , that people

 6 might call him there look ing for him at that number ?

 7 A.        Sure .

 8 Q.        And that would include         close friends ; would it

 9 not ?

10 A.        Possibly .

11 Q.        Court 's indulgence .

12           MR . MARTIN:      Your Honor , I think I'm finish ed

13 with this witness .

14           THE COURT:       All right .

15           MR. MARTIN:       Thank you for your attention .

16           MR. HALL:      Thank you , Your Honor .

17                            CROSS-EXAMINATION

18           BY MR. HALL:

19 Q.        Detective , I'm going to ask you to step down so

20 that we can look at Chart No. 1 for a few minute s.

21 Let 's set this up in front of the jury for a few

22 minute s.     Why don't we put Chart No. 1 on there .

23           Do you sti ll have your laser point er ?

24 A.        No .     I gave it back to the government .

25 Q.        That 's okay .     We'll go without    it .




                                                                Page 218
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 219 of 227



1            MS. GREENBERG:      Here it is .

2            BY MR. HALL:

3 Q.         Let me ask you a couple      of question s.     First of

4 all , the individuals       that are on the top row across

5 this chart -- you have what is referred            to a box call ed

6 the Texas cocaine ; is that correct ?

7 A.         That 's correct .

8 Q.         Okay .    And then you have another      box call ed the

9 Maryland      cocaine ; correct ?

10 A.        That 's correct .

11 Q.        And then one call ed California       cocaine ; right ?

12 A.        Right .

13 Q.        And then one call ed heroin , which I guess we

14 could also call New York heroin ; right ?           Because    this

15 gentleman     up here came from New York ; is that right ?

16 A.        However , Gwen Levi and William       Turner   re side d in

17 Maryland .

18 Q.        All right .

19 A.        That 's the basis for that was --

20 Q.        My understand ing is you were the individual           who

21 put this chart together ; is that correct ?

22 A.        Yes .

23 Q.        Now , would it be fair to say that this whole

24 group of people      from all the way across here are people

25 who you allege      suppli ed Ms. Martin     and Mr. Goodwin ; is




                                                                 Page 219
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 220 of 227



 1 that correct ?

 2 A.         Yes .

 3 Q.         Okay .   And it would also be fair to say that

 4 there are presum ably people        above them ; is that

 5 correct ?

 6 A.         Yes , some of them have been arrested , yes .

 7 Q.         Okay .   Need less to say , none of these people       are

 8 the one s who grew the coca plant s or the pop py plant s,

 9 are they ?

10 A.         No .

11 Q.         To the best of your knowledge ; right ?

12 A.         No , Columbian   nat ional s.

13 Q.         So there 's -- presumably , there are people        above

14 this level of suppliers ; correct ?         They suppli ed Mr.

15 Campbell     or suppli ed Mr. En carnacion , et cetera ; is

16 that right ?

17 A.         Yes .

18 Q.         Okay .   And down here at the bottom      of the chart ,

19 you have a box call ed distributor s/facilitato rs;

20 correct ?

21 A.         Yes .

22 Q.         In that box , we have a number      of individuals     who

23 are on trial in this case , including         my client ; is that

24 right ?

25 A.         Yes .




                                                               Page 220
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 221 of 227



1 Q.       Okay .    Would you also agree , presumably , that

2 since you have been listed           as distributor s, that there

3 are , presumably , people         who would be underneath    this

4 chart ; is that correct ?

5 A.       Ye s.

6 Q.       Okay .    Would you also agree with me that out of

7 the evidence      that is present ed to the jury , you cannot

8 give a name for anybody           who Mr. Whiting    allegedly

9 distributed      to , can you ?

10 A.      That 's correct .

11 Q.      Okay .    Now , if you don't mind , if we could take

12 a look at another      chart , Chart No. 4 .

13 A.      Which one is that ?

14 Q.      Chart No. 4 is the one of the phone call s that

15 were made after Mr. Goodwin 's arrest .            I think it 's the

16 -- I see it there .

17 Q.      All right .     Now , I want to ask you a couple           of

18 question s about this .     First of all , this chart cover s

19 approximately     a seven -day time period      from the date of

20 Goodwin 's arrest    up here on the 25th down to December

21 2nd ; is that correct ?

22 A.      Yes , from the date of his arrest           to the date of

23 his -- he bond ed according         to court document s.

24 Q.      All right .     Now , let me ask you this :        Is --

25 these are all taken from the pin register ; is that




                                                               Page 221
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 222 of 227



1 correct ?

2 A.        That 's correct .

3 Q.        Okay .    And is -- let me ask you this :        Is this

4 every single       phone call that Ms. Martin      made during

5 that seven -day period , or just the one s that were

6 select ed by the trial team ?

7 A.        Just the one s that were select ed .

8 Q.        Okay .    All right .   And let me ask you about a

9 couple    of them .    The first one , which has Mr. Whiting 's

10 name on it , is up here on 11 /26 , that 's about four

11 minute s until 1:00 in the morn ing ; is that right ?

12 A.       That 's right .

13 Q.       Okay .    And would it be fair to say that you

14 cannot   tell from look ing at the records        that went in to

15 maki ng this chart , you do not know if Ms. Martin            and

16 Mr. Whiting      actual ly talked   on that occasion ; do you ?

17 A.       I can look and see if there 's a duration           for

18 that call .

19 Q.       Okay.     That 's not on this chart , the duration         of

20 any of these call s; is that correct ?

21 A.       That 's correct .

22 Q.       And as to the next call involving          -- and which

23 Mr. Whiting      is listed , again , we have one the follow ing

24 day at 9:07 ; correct ?

25 A.       That 's correct .




                                                               Page 222
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 223 of 227



1 Q.         Then again , we do not have a duration          to that

2 call ; is that right ?

3 A.         That 's correct .

4 Q.         Then when we move on down further , we have the

5 follow ing day , the 27 th of November , we have a call at

6 -- is that ten minute s past midnight ?

7 A.         Yes .    There 's two other one s.

8 Q.         All right .     Let 's back up to the other two

9 first .    11 /26 at 23:07, that would be seven after

10 11:00 in the evening; is        that correct ?

11 A.        That 's correct .

12 Q.        Okay .    And while we don't know the duration         of

13 that call , we do know that that call could not have

14 been for -- did not exceed         a minute ; did it ?

15 A.        Correct .

16 Q.        Because     there 's another   phone call place d

17 between   Ms. Martin      and Mr. Whiting 's number      in the same

18 minute ; is that correct ?

19 A.        Correct .

20 Q.        All right .     And when we move on down to the last

21 two phone call s to Mr. Whiting          on the 27 th , again , we

22 have a phone call at ten minute s past midnight , and

23 that one was for , we know , no more than a minute ; is

24 that correct ?

25 A.        The first one ?




                                                               Page 223
    Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 224 of 227



 1 Q.         Yes .

 2 A.         Yes .

 3 Q.         Okay .    And then another       phone call place d one

 4 minute   after that ; is that correct ?

 5 A.         Correct .

 6 Q.         Okay .    Now , let me ask you this :      I take it in

 7 select ing the call s you were going to place on this

 8 chart , you select ed a number          of cal ls that went to

 9 people   who you allege       to be co -conspirator s of Ms.

10 Martin ; is that correct ?

11 A.         Some are .

12 Q.         Some are .    Okay .     You also select ed a number      of

13 phone call s that went to a law firm ; is that correct ?

14 A.         That 's correct .

15 Q.         There 's nothing       illegal   about call ing a law

16 firm ; is there ?

17 A.         I guess it depends        on the advice   given by that

18 law firm ; but ostensibly , no .

19 Q.         And are you aware that that particular           law firm

20 does more than just criminal            law ?   They also do

21 domestic     law ?

22 A.         I know they do civil and criminal .

23 Q.         Okay .

24 A.         I'm more familiar        with their criminal .

25 Q.         That would make sense because          you are a police




                                                                  Page 224
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 225 of 227



 1 officer      and you deal mostly       in the criminal   field ; is

 2 that right ?

 3 A.        That 's correct .

 4 Q.        And there 's also phone call s to the bail

 5 bondsman .       Again , there 's nothing     illegal about call ing

 6 a bail bondsman ; is there ?

 7 A.        No .

 8 Q.        Okay .    All right .       Now , let 's take a look at

 9 this chart , which is CH-2 .           CH-2 would be the --

10           THE COURT:        Mr . Hall ?

11           MR. HALL:        Yes , Your Honor .

12           THE COURT:        Are you going to be much long er with

13 him ?

14           MR. HALL:        No , I'm not .

15           THE COURT:        I don't    want to rush you .

16           MR. HALL:        No more than ten minute s, but I know

17 that --

18           THE COURT:        I have    a conference   call with

19 part ies in      another   case at 5:00 .

20           MR. HALL:        Okay .

21           THE COURT:        We will go to Chart 2 tomorrow

22 morn ing .

23           MR. HALL:        That will be fine .

24           THE COURT:        That 's the one you want ed to go to ,

25 Chart 2?




                                                                Page 225
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 226 of 227



 1           Ladies and gentlemen     , we'll see you back at 10

 2 o'clock   tomorrow , and counsel      and the parti es should       be

 3 here at 9:30 .

 4                  (Jury excused at 5      :00 p.m. )

 5                  (Off the record at 5:00 p       .m.)

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                                                Page 226
     Case 8:04-cr-00235-DKC Document 1199 Filed 04/30/08 Page 227 of 227



 1                             CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, Criminal Action Number            RWT -04-0235 on

10 July 25 , 2006.

11

12       I further certify that the foregoing 2           26 pages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this 24th day of April 2008.

19

20

21                              __________________________

22                              TRACY RAE DUNLAP, RPR , CRR
                                OFFICIAL COURT REPORTER
23

24

25




                                                                Page 227
